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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                           Civil Action No. 2:12-cv-06371-SDW-MAH

   ______________________________________________________________________________

      Care One Management, LLC; HealthBridge Management, LLC; Care One, LLC; Care
      Realty, LLC; Care One at Birchwood, LLC, d/b/a Care One at The Highlands; Care One
      at East Brunswick, LLC, d/b/a Care One at East Brunswick; Care One at Hamilton, LLC,
      d/b/a Care One at Hamilton; Care One at Madison Avenue, LLC, d/b/a Care One at
      Madison Avenue; Care One at Mercer, LLC, d/b/a Care One at Ewing; Care One at
      Parsippany- Troy Hills, LLC, d/b/a Care One at Morris; Care One at Teaneck, LLC, d/b/a
      Care One at Teaneck; Care One at Wall, LLC, d/b/a Care One at Wall; Care Two, LLC,
      d/b/a Care One at Livingston; CareOne at Moorestown, LLC, d/b/a Care One at
      Moorestown; Elmwood Evesham Associates, LLC, d/b/a Care One at Evesham; HCC,
      LLC, d/b/a Care One at Holmdel; King James Care Center of Middletown, LLC, d/b/a
      Care One at King James; Millennium Healthcare Centers II, LLC, d/b/a Care One at
      Dunroven; Millennium Healthcare Centers II, LLC, d/b/a Care One at Valley;
      Millennium Healthcare Centers, LLC, d/b/a Care One at Pine Rest; Millennium
      Healthcare Centers, LLC, d/b/a Care One at The Cupola; 11 History Lane Operating
      Company, LLC, d/b/a Care One at Jackson; 301 Union Street, LLC, d/b/a Care One at
      Wellington; 493 Black Oak Ridge Road, LLC, d/b/a Care One at Wayne; the
      Rehabilitation Center at Raritan Bay Medical Center, LLC dba Care One at Raritan Bay
      Medical Center; Care One at Trinitas, LLC, d/b/a LTACH – CareOne at Trinitas
      Regional Medical Center; Care One at Harmony Village, LLC, d/b/a CareOne Harmony
      Village at Moorestown; 600 Kinderkamack Road Operating Company, LLC, d/b/a
      Oradell Health Care Center; 800 River Road Operating Company, LLC, d/b/a Woodcrest
      Health Care Center; 2 Cooper Plaza Operating Company, LLC, d/b/a South Jersey Health
      Care Center; 1621 Route 22 West Operating Company, LLC, d/b/a Somerset Valley
      Rehabilitation and Nursing Center; 341 Jordan Lane Operating Company II, LLC, d/b/a
      Wethersfield Health Care Center; 1 Burr Road Operating Company II, LLC, d/b/a
      Westport Health Care Center; 107 Osborne Street Operating Company II, LLC, d/b/a
      Danbury Health Care Center; 240 Church Street Operating Company II, LLC, d/b/a
      Newington Health Care Center; 245 Orange Avenue Operating Company II, LLC, d/b/a
      West River Health Care Center; 710 Long Ridge Road Operating Company II, LLC,
      d/b/a Stamford Health Care Center; 162 South Britain Road Operating Company II, LLC,
      d/b/a River Glen Health Care Center; 2028 Bridgeport Avenue Operating Company II,
      LLC, d/b/a Golden Hill Health Care Center; 745 Highland Avenue Operating Company,
      LLC, d/b/a The Highlands Health Care Center; 135 Benton Drive Operating Company,
      LLC, d/b/a Redstone Health Care Center; 178 Lowell Street Operating Company, LLC,
      d/b/a Lexington Health Care Center; 19 Varnum Street Operating Company, LLC, d/b/a
      Lowell Health Care Center; 199 Andover Street Operating Company, LLC, d/b/a
      Peabody Glen Health Care Center; 2101 Washington Street Operating Company, LLC,
      d/b/a Newton Healthcare Center; 221 Fitzgerald Drive Operating Company, LLC, d/b/a
      New Bedford Health Care Center; 260 Easthampton Road Operating Company, LLC,
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      d/b/a Holyoke Rehabilitation Center; 312 Millbury Avenue Operating Company, LLC,
      d/b/a Millbury Health Care Center; 49 Thomas Patten Drive Operating Company, LLC,
      d/b/a Cedar Hill Health Care Center; 548 Elm Street Operating Company, LLC, d/b/a
      Calvin Coolidge Nursing and Rehab. Center for Northhampton; 57 Old Road to Nine
      Acre Corner Operating Company, LLC, d/b/a Concord Health Care Center; 64
      Performance Drive Operating Company, LLC, d/b/a Weymouth Health Care Center; 750
      Woburn Street Operating Company, LLC, d/b/a Wilmington Health Care Center; Park,
      and Marion and Vernon Streets Operating Company, LLC, d/b/a Brookline Health Care
      Center; 265 Essex Street Operating Company, LLC, d/b/a Essex Park Rehabilitation
      Center; and DES Senior Care Holdings LLC, d/b/a Sweet Brook Care Centers,

                                                        Plaintiffs,

     vs.

     United Healthcare Workers East, SEIU 1199;
     New England Health Care Employees Union, District 1199; and
     Service Employees International Union,

                                                        Defendants.

   ______________________________________________________________________________

     SECOND AMENDED COMPLAINT FOR MONETARY AND EQUITABLE RELIEF
   ______________________________________________________________________________


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       SECOND AMENDED COMPLAINT FOR MONETARY AND EQUITABLE RELIEF

          For their Second Amended Complaint against Defendants 1199 SEIU United Healthcare

   Workers East (“UHWE”), New England Health Care Employees Union, District 1199

   (“NEHCEU”), and the Service Employees International Union (“SEIU”) (collectively

   “Defendants” or the “Unions”), the above-captioned Plaintiffs allege as follows:

                                    NATURE OF THE ACTION

          1.     Plaintiffs Care One Management, LLC (“Care One”) and HealthBridge

   Management, LLC (“HealthBridge”) are contract managers of sub-acute care, long term nursing

   care and assisted living healthcare facilities for the elderly. Care One manages or managed or

   managed 23 plaintiff facilities located throughout the State of New Jersey (the “Care One

   Facilities”).1 HealthBridge manages or managed 29 plaintiff facilities located throughout the



   1
     The Care One Facilities are the following plaintiffs: Care One at Birchwood, LLC, d/b/a Care
   One at The Highlands (“the Highlands”); Care One at East Brunswick, LLC, d/b/a Care One at
   East Brunswick (“East Brunswick”); Care One at Hamilton, LLC, d/b/a Care One at Hamilton
   (“Hamilton”); Care One at Madison Avenue, LLC, d/b/a Care One at Madison Avenue
   (“Madison Avenue”); Care One at Mercer, LLC, d/b/a Care One at Ewing (“Ewing”); Care One
   at Parsippany-Troy Hills, LLC, d/b/a Care One at Morris (“Morris”); Care One at Teaneck, LLC,
   d/b/a Care One at Teaneck (“Teaneck”); Care One at Wall, LLC, d/b/a Care One at Wall
   (“Wall”); Care Two, LLC, d/b/a Care One at Livingston (“Livingston”); CareOne at
   Moorestown, LLC, d/b/a Care One at Moorestown (“Moorestown”); Elmwood Evesham
   Associates, LLC, d/b/a Care One at Evesham (“Evesham”); HCC, LLC, d/b/a Care One at
   Holmdel (“Holmdel”); King James Care Center of Middletown, LLC, d/b/a Care One at King
   James (“King James”); Millennium Healthcare Centers II, LLC, d/b/a Care One at Dunroven
   (“Dunroven”); Millennium Healthcare Centers II, LLC, d/b/a Care One at Valley (“Valley”);
   Millennium Healthcare Centers, LLC, d/b/a Care One at Pine Rest (“Pine Rest”); Millennium
   Healthcare Centers, LLC, d/b/a Care One at The Cupola (“the Cupola”);11 History Lane
   Operating Company, LLC, d/b/a Care One at Jackson (“Jackson”); 101 Whippany Road
   Operating Company, LLC d/b/a Care One at Hanover Township (“Hanover”); 301 Union Street,
   LLC, d/b/a Care One at Wellington (“Wellington”); 493 Black Oak Ridge Road, LLC, d/b/a
   Care One at Wayne (“Wayne”); the Rehabilitation Center at Raritan Bay Medical Center, LLC
   dba Care One at Raritan Bay Medical Center (“Raritan Bay”); Care One at Trinitas, LLC, d/b/a
   LTACH – CareOne at Trinitas Regional Medical Center (“Trinitas”); and Care One at Harmony
   Village, LLC, d/b/a CareOne Harmony Village at Moorestown (“Harmony Village”).

                                                  1
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   States of New Jersey, Connecticut, and Massachusetts (the “HealthBridge Facilities”).2 Plaintiff

   Care One, LLC (“COLLC”) owns the Care One facilities. Plaintiff Care Realty, LLC (“Care

   Realty”) owns the HealthBridge facilities. Care One, COLLC, HealthBridge, Care Realty, the

   Care One Facilities, and the HealthBridge Facilities (collectively referred to herein as

   “Plaintiffs”) bring this action under the Racketeer Influenced and Corrupt Organizations Act, 18

   U.S.C. § 1961 et seq. (“RICO”), and under state law, to vindicate their ability to provide safe and

   2
     The HealthBridge Facilities are the following plaintiffs: 600 Kinderkamack Road Operating
   Company, LLC, d/b/a Oradell Health Care Center (“Oradell”); 800 River Road Operating
   Company, LLC, d/b/a Woodcrest Health Care Center (“Woodcrest”); 2 Cooper Plaza Operating
   Company, LLC, d/b/a South Jersey Health Care Center (“South Jersey”); 1621 Route 22 West
   Operating Company, LLC, d/b/a Somerset Valley Rehabilitation and Nursing Center
   (“Somerset”); 341 Jordan Lane Operating Company II, LLC, d/b/a Wethersfield Health Care
   Center (“Wethersfield”); 1 Burr Road Operating Company II, LLC, d/b/a Westport Health Care
   Center (“Westport”); 107 Osborne Street Operating Company II, LLC, d/b/a Danbury Health
   Care Center (“Danbury”); 240 Church Street Operating Company II, LLC, d/b/a Newington
   Health Care Center (“Newington”); 245 Orange Avenue Operating Company II, LLC, d/b/a
   West River Health Care Center (“West River”); 710 Long Ridge Road Operating Company II,
   LLC, d/b/a Stamford Health Care Center (“Long Ridge”); 162 South Britain Road Operating
   Company II, LLC, d/b/a River Glen Health Care Center (“River Glen”); 2028 Bridgeport
   Avenue Operating Company II, LLC, d/b/a Golden Hill Health Care Center (“Golden Hill”); 745
   Highland Avenue Operating Company, LLC, d/b/a The Highlands Health Care Center
   (“Highlands Health Care”); 135 Benton Drive Operating Company, LLC, d/b/a Redstone Health
   Care Center (“Redstone”); 178 Lowell Street Operating Company, LLC, d/b/a Lexington Health
   Care Center (“Lexington”); 19 Varnum Street Operating Company, LLC, d/b/a Lowell Health
   Care Center (“Lowell”); 199 Andover Street Operating Company, LLC, d/b/a Peabody Glen
   Health Care Center (“Peabody”); 2101 Washington Street Operating Company, LLC, d/b/a
   Newton Healthcare Center (“Newton”); 221 Fitzgerald Drive Operating Company, LLC, d/b/a
   New Bedford Health Care Center (“New Bedford”); 260 Easthampton Road Operating
   Company, LLC, d/b/a Holyoke Rehabilitation Center (“Holyoke”); 312 Millbury Avenue
   Operating Company, LLC, d/b/a Millbury Health Care Center (“Millbury”); 49 Thomas Patten
   Drive Operating Company, LLC, d/b/a Cedar Hill Health Care Center (“Cedar Hill”); 548 Elm
   Street Operating Company, LLC, d/b/a Calvin Coolidge Nursing and Rehab. Center for
   Northhampton (“Northhampton”); 57 Old Road to Nine Acre Corner Operating Company, LLC,
   d/b/a Concord Health Care Center (“Concord”); 64 Performance Drive Operating Company,
   LLC, d/b/a Weymouth Health Care Center (“Weymouth”); 750 Woburn Street Operating
   Company, LLC, d/b/a Wilmington Health Care Center (“Wilmington”); Park, Marion and
   Vernon Streets Operating Company, LLC, d/b/a Brookline Health Care Center (“Brookline”);
   265 Essex Street Operating Company, LLC, d/b/a Essex Park Rehabilitation Center (“Essex
   Park”); and DES Senior Care Holdings LLC, d/b/a Sweet Brook Care Centers (“Sweet Brook”).


                                                   2
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   effective care and their right to conduct their businesses free from Defendants’ ongoing

   campaign of intimidation, interference, threats, deceptive trade practices, abuse of process,

   vandalism, and other illegal and extortionate conduct.

          2.      This case is not about traditional labor activity. Rather, it is about the SEIU and

   two of its local unions that have abandoned ordinary labor relations practices in favor of

   extortion and other criminal and fraudulent tactics as a means of enhancing their market share in

   the long term care industry. It is about the “corporate campaign,” a tactic set out in the SEIU’s

   widely publicized “Contract Campaign Manual” (the “Manual”) and scrupulously followed by

   the three Defendants in this case. A copy of the Manual is attached as Exhibit A.

          3.      Defendant SEIU is one of the most powerful labor unions in the United States. It

   seeks continually to expand its jurisdiction and often pursues its goals through unconventional

   and illegal behavior. Its locals are no exception. In this case, Defendants UHWE and NEHCEU,

   facing significant underfunded pension liabilities and other considerable debt, conspired together

   to launch a coordinated and multi-faceted “corporate campaign” against Plaintiffs and Daniel E.

   Straus, who is a direct or indirect owner of the Plaintiffs. The campaign – which the Defendants

   alternatively call “Care One Watch” and/or “HealthBridge Watch” – has three interrelated

   objectives, the first two of which are: (1) bludgeon Plaintiffs into allowing Defendant UHWE to

   unionize Plaintiffs’ non-union employees in New Jersey and elsewhere; (2) force Plaintiffs, on

   behalf of the facilities in Connecticut at which Defendant NEHCEU represents the employees, to

   accept exorbitant, outsized and unnecessary contract demands covering those facilities. In both

   instances, Defendants seek to extort substantial money and property from Plaintiffs in the form

   of increased union membership, union dues, contributions to Defendants’ pension funds,

   unwanted and superfluous labor services and direct payments to Defendants in the form of



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   contributions to their training funds. If those two objectives fail, then the Defendants seek to

   destroy Plaintiffs and drive them out of business.

          4.      In carrying out their scheme against Plaintiffs, Defendants have closely followed

   the tactics set out in the SEIU’s Manual. The Manual represents the antithesis of the orderly

   process established under the National Labor Relations Act, 29 U.S.C. § 151 et seq. (“NLRA”).

   The Manual, which was attached as an exhibit to the pleading in a similar RICO action filed

   against the SEIU and other affiliated unions and individuals, condones and encourages illegal,

   immoral and unethical behavior in the pursuit of the SEIU’s and its local unions’ goals. It

   instructs SEIU members, and members of its local unions, to destroy businesses, ruin

   reputations, and invoke legal process improperly. It candidly admits that breaking the law is

   often required to obtain organizing and bargaining goals and glamorizes extortionate behavior. It

   discourages members from following the advice of counsel and instructs that a lawyer’s job “is

   not to make decisions about when and how to obey the law.” See Exhibit A at 48. It reflects the

   simple fact that the standard operating procedure of the SEIU – and affiliated locals including

   Defendants – is to do whatever it takes to accomplish their goals, however unlawful,

   extortionate, or fraudulent those tactics may be.

          5.      Facing significant underfunded pension liabilities and other considerable debt,

   Defendants launched a coordinated and multi-faceted “corporate campaign” against Plaintiffs

   and Mr. Straus in an effort to extort substantial money and property from Plaintiffs. Defendants’

   members have followed the Manual’s advice to ignore the law in their corporate campaign

   against Plaintiffs.   Their conduct has been extortionate and fraudulent and is part of a

   longstanding pattern of criminal behavior. Their conduct has been endorsed and facilitated by

   elected officials in the State of Connecticut beholden to the Defendants as a result of outsized

   campaign contributions. Their conduct has even gone beyond destroying businesses and the

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   and his family. And most shockingly of all, they took actions against the frail and often helpless

   patients at Defendants’ facilities – patients that the Defendants’ members were legally and

   ethically charged to care for. The message could not be more clear. Agree to the Defendants’

   demands or lives and property would be lost.

          8.      For example, on July 2 and 3, 2012, prior to the start of a strike at the

   HealthBridge Facilities in Connecticut, Defendant NEHCEU members committed numerous

   serious criminal acts designed to harm the elderly and frail patients under their care in an effort

   to force the Plaintiffs to accede to their extortionate demands. These acts included:

          •       Removing patient identification wrist bands from more than 30 patients

          •       Changing name plates on patient doors

          •       Removing name bands on patient wheel chairs

          •       Removing dietary stickers indicating how patients could safely be fed

          •       Switching the names of patients in a memory care unit

          •       Tampering with medication records

          •       Removing handles from equipment used to safely lift patients in and out of bed

          •       Hiding or damaging blood pressure cuffs and stethoscopes

          •       Throwing patient linens on the floor and rendering a facility washing machine
                  inoperable due to damage

          9.      The potential impact of these criminal actions is obvious, severe and life-

   threatening. Many of the memory care patients whose bracelets were removed and whose

   records were tampered with were unable to assist in their care, leaving the patients and

   replacement workers to fend for themselves. As a consequence of Defendants’ criminal acts,

   these patients’ lives were made dependent upon the ability of Plaintiffs to unravel the criminal

   deceit, sort out the tampered records, and discover and remedy the tampered-with equipment


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   before fatal harm occurred. The Defendants were well aware of this fact and, apparently did not

   care. Connecticut Attorney General George Jepsen was well aware of this fact when he spurned

   Plaintiffs’ petition for assistance, but apparently he did not care. Knowing full well of this

   criminal conduct and the risk it imposed on Connecticut’s most vulnerable citizens, he appeared

   on the picket line to support Defendants, and recused himself from the dispute only after

   negative press compelled him to do so. Connecticut Governor Dannell Malloy was aware of this

   fact when he appeared on the picket line with Defendants, and apparently he did not care.

   Defendants contributed approximately $400,000 to his last campaign and organized extensive

   grass roots support.

          10.     As if the aforementioned unspeakable acts were not enough, the NEHCEU

   pressured religious leaders from a church across the street from Plaintiff Newington to

   discontinue providing religious services to Newington’s patients despite repeated requests from

   several patients and Newington for the continuation of such services. Only a plea from the

   Connecticut Long Term Care Ombudsman Program to the Archdiocese in Connecticut finally

   afforded Newington’s patients the dignity of receiving religious services.

          11.     These tactics were not the isolated acts of individual disgruntled strikers. Rather,

   they were coordinated actions by NEHCEU organizers and are part of a long and shameful

   pattern of criminal conduct by Defendant NEHCEU calculated to maximize the devastation to

   the employer when the Union members threaten to, or go on strike. For example, in an April 10,

   2001 report entitled, “Nursing Home Strike Incidents,” the Division of Criminal Justice of the

   Connecticut Chief State’s Attorneys Office determined that numerous similar heinous acts of

   sabotage took place prior to the arrival of replacement workers following a 2001 strike by

   NEHCEU’s members at ten nursing homes unrelated to HealthBridge. A copy of the report is

   attached as Exhibit B. The report noted that “these types of incidents are common during work

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   actions at facilities of this nature.” See Exhibit B at 9. The Connecticut Chief State’s Attorneys

   Office noted that many of these incidents mirrored the actions perpetrated by NEHCEU

   members in the hours leading up to a 1998 strike.

           12.    Similarly, in connection with the 2001 strike by NEHCEU members, law

   enforcement confirmed that the acts of vandalism and sabotage occurred.               However, the

   individuals responsible were not held accountable “due to the heavily politically charged

   environment as well as the fear and inability of patients to assist in the investigation.” Exhibit B

   at 9.

           13.    Defendants’ actions in support of their extortionate demands did not stop with

   their actions against patients. Defendant UHWE interfered with applications for improvements

   to HealthBridge Facilities in Massachusetts designed for the betterment of patients’ and

   employees’ quality of life at those facilities.      UHWE admitted that it has no substantive

   objections to the filed applications, but merely interfered in order to force Plaintiffs to accede to

   the Defendants’ extortionate demands.

           14.    Defendants’ campaign has also involved officials beholden to Defendants

   depriving and seeking to deprive Plaintiffs of their rights under law. For example, Defendants

   caused HealthBridge’s efforts to obtain state approval of a routine closure of a facility in

   Connecticut -- which under law is to be granted within 90 days -- to be delayed for many

   months. The delay was on order from state officials beholden to Defendants, resulting in more

   than six million dollars of damages.

           15.    Defendants have even convinced government officials to threaten baseless legal

   action against Plaintiffs on trumped-up grounds unrelated to any labor-related grievances. True

   to Defendants’ threat that Plaintiffs should agree to a pattern contract or be run out of

   Connecticut, Plaintiffs have been advised of threatened, baseless receivership actions against

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   their facilities in Connecticut and indirectly received an unsolicited message from Governor

   Malloy’s office to contact a prospective purchaser’s counsel for the sale of the Connecticut

   Plaintiffs’ facilities.

           16.      Consistent with their “Manual,” Defendants have also advanced their corporate

   campaign by harming Plaintiffs’ business interests. They have widely disseminated false and

   misleading information – much of it over the Internet and using the mails – for the purpose of

   impugning the Plaintiffs’ quality of care and financial practices. For example, Defendants have

   sought to deflect blame for their acts of sabotage by falsely claiming over the Internet that

   HealthBridge “staged” the vicious acts directed toward the elderly and frail patients of the

   HealthBridge Facilities in Connecticut and by disseminating the baseless and sensational claim

   that non-union workers killed a patient. Defendants engaged in this and other conduct described

   more fully below for the purpose of exerting unfair pressure to force the Plaintiffs to stop

   resisting Defendants’ demands.

           17.      Also consistent with their Manual, Defendants’ campaign has involved personal

   attacks on Mr. Straus and his unrelated business interests designed to invade his privacy, harass

   him, and impede his other business activities. For example, Mr. Straus has been a trustee of New

   York University (“NYU”) School of Law for many years. In September 2009, the school

   inaugurated The Straus Institute for the Advanced Study of Law & Justice, thanks to a generous

   donation from Mr. Straus. The mission of the Straus Institute is to welcome Fellows from around

   the world and facilitate their high level research and scholarship on topics falling within a broad

   definition of law and justice. Defendants enlisted the NYU Student Labor Action Movement to

   apply pressure to the school’s president to remove Daniel Straus as a trustee unless Plaintiffs

   accede to Defendants’ forced unionization and contract demands.



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          18.     Defendants have also enlisted their members to attempt to block Mr. Straus’s

   unrelated real estate ventures in New York. Among other things, they have testified at the New

   York Landmark Commission, in an attempt to block approval of a real estate development

   involving an investment of approximately $100 million dollars. And coincidently, in the days

   leading up to the strike in Connecticut, unknown individuals, impersonating Mr. Straus,

   contacted various financial institutions with which he does business, attempting to obtain his

   account information.

          19.     Defendants’ illegal shakedown of Plaintiffs is not an anomaly. Rather, as the

   Manual professes and Defendants’ recent actions demonstrate, it is their regular and ordinary

   way of conducting business.

          20.     The primary goal of Defendants’ extortionate campaign is self-enrichment.       As

   described further below, Defendants seek to obtain valuable property and property rights from

   Plaintiffs, including, among other things: millions of dollars in payments toward the crushing

   underfunded pension liabilities of the pension plans sponsored by Defendants; physical access to

   properties managed by Plaintiffs; Plaintiffs’ rights under the NLRA to require a secret-ballot

   election for the selection of any collective bargaining representative; and effective control over

   Plaintiffs’ business operations.

          21.     Defendants’ goals are part of a longstanding pattern of unlawful activities. In

   fact, for many years, Defendants have used extortionate and fraudulent methods against facilities

   in the healthcare industry, including those managed by Plaintiffs, to improperly seek to organize

   Defendants’ employees outside of the traditional legal framework for doing so in order to enjoy

   the financial benefits of new dues-paying members.

          22.     As Defendants’ tactics in Connecticut have demonstrated, even gaining a foothold

   into facilities Plaintiffs manage will not stop Defendants’ extortionate, fraudulent, and other

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   unlawful conduct. Rather, under the guise of seeking to obtain collective bargaining agreements,

   Defendants will engage in unlawful conduct in an effort to extort substantial sums of money

   from Plaintiffs to pay down Defendants’ crushing underfunded pension liabilities; to gain

   physical access to properties managed or owned by Plaintiffs; and to gain effective control over

   Plaintiffs’ business operations.

          23.      Moreover, even if Plaintiffs acceded to all of Defendants’ current demands,

   Defendants’ criminal harassment of Plaintiffs would not stop. Defendants will continue to

   harass, intimidate, interfere with, smear and financially injure Plaintiffs until Defendants have

   achieved their organizing and unionization objectives at each of the current and future facilities

   managed by Plaintiffs. Demands change over time, and Plaintiffs will face the same extortionate

   tactics over and over again as long as Defendants are allowed to get away with these tactics.

   Defendants have made it clear that unless Plaintiffs relinquish all of their rights and submit to

   every one of Defendants’ extortionate demands, Defendants will continue to extort money and

   property from Plaintiffs and continue in their myriad attempts to destroy Plaintiffs’ business and

   those of Mr. Straus.

          24.     In an already challenging economy, Defendants’ campaign of fraud and extortion

   has irreparably damaged some of Plaintiffs’ relationships with their customers, impacted patient

   care and caused their employees to spend substantial time and effort dealing with each new

   attack. Plaintiffs are filing this action to bring Defendants’ pattern of illegal conduct to an end

   and to recover the substantial damages they have incurred as a result of Defendants’ unlawful

   actions. This action is not about strikes or union organizing or collective bargaining. It is about

   a corporate campaign, endorsed and effectuated by Defendants and facilitated by the politicians

   they support, that is in its essence a shake-down by a lawless enterprise.



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                             PARTIES AND OTHER PARTICIPANTS

   I.       The Plaintiffs

            25.    Plaintiff Care One is a limited liability company organized and operating under

   the laws of the State of New Jersey and is the contract manager of the Care One Facilities in

   New Jersey. Its principal office is located at 173 Bridge Plaza North, Fort Lee, New Jersey

   07024.

            26.    The Care One Facilities are 23 limited liability companies managed by Care One

   and organized under the laws of the State of New Jersey, each owning and operating a skilled

   nursing facility in the State of New Jersey.

            27.    Plaintiff HealthBridge is a limited liability company organized and operating

   under the laws of the State of New Jersey and is the contract manager of four HealthBridge

   Facilities in New Jersey (Oradell, Woodcrest, South Jersey, and Somerset); nine HealthBridge

   Facilities in Connecticut (Wethersfield, Westport, Danbury, Newington, West River, Long

   Ridge, River Glen, Golden Hill, and Highlands Health Care); and 16 HealthBridge Facilities in

   Massachusetts (Redstone, Lexington, Lowell, Peabody, Newton, New Bedford, Holyoke,

   Millbury, Cedar Hill, Northhampton, Concord, Weymouth, Wilmington, Brookline, Essex Park,

   and Sweet Brook) each organized under the laws of the State of Delaware. Its principal office is

   located at 173 Bridge Plaza North, Fort Lee, New Jersey 07024.

            28.    The HealthBridge Facilities are 29 limited liability companies managed by

   HealthBridge and organized under the laws of the State of Delaware. Four (Oradell, Woodcrest,

   South Jersey, and Somerset) are located in New Jersey. Nine (Wethersfield, Westport, Danbury,

   Newington, West River, Long Ridge, River Glen, Golden Hill, and Highlands Health Care) are

   located in Connecticut. Sixteen (Redstone, Lexington, Lowell, Peabody, Newton, New Bedford,



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   Holyoke, Millbury, Cedar Hill, Northhampton, Concord, Weymouth, Wilmington, and

   Brookline, Essex Park, and Sweet Brook are located in Massachusetts.

          29.     The Plaintiffs are leaders in providing a continuum of care including Post-

   Hospital Care, Rehabilitation, Long-Term Care, Alzheimer’s/Memory Care, Assisted Living,

   Medical Specializations, Respite Care and Long-Term Acute Care.                 Plaintiffs develop

   specialized care coordination programs for outcome-oriented, cost-effective care plans for all

   major diagnoses, and pioneered the “Next Step Home” program for patient and family education

   and discharge preparation.

          30.     The Plaintiffs are directly or indirectly owned in part by Daniel E. Straus, a

   citizen and resident of the State of New Jersey. As part of their coordinated effort to extort

   additional money and concessions from Plaintiffs, Defendants have leveled personal attacks

   against Daniel Straus and other unrelated businesses in which he has an interest.

   II.    The Defendants

          31.     Defendant NEHCEU is an unincorporated labor organization with its principal

   place of business located at 77 Huyshope Ave., Hartford, Connecticut 06106. It is a local

   affiliate of the SEIU. NEHCEU is funded in part by dues collected from its members. Each

   member of NEHCEU pays a fixed percentage of his or her wages to the union as dues.

   NEHCEU has approximately 29,000 members in Connecticut and Rhode Island. NEHCEU

   contributed more than $3.5 million to the SEIU in per capita dues in the fiscal year ending June

   30, 2010. NEHCEU has collective bargaining relationships with six HealthBridge-managed

   facilities located in Newington, Westport, Danbury, Milford, Hartford, and Stamford

   Connecticut. It is abusing those relationships by seeking to extort substantial sums of money

   from Plaintiffs and the facilities managed by Plaintiffs to help the NEHCEU pay down its

   crushing underfunded pension liabilities through its pattern contract. If Plaintiffs do not agree to

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   that pattern contract, NEHCEU is intent on expelling the Connecticut Plaintiffs from doing

   business in that State through its illegal and extortionate conduct as more particularly described

   below and outlined in its Manual. In exchange for fees in the form of union dues, which it

   collects from member-employees, NEHCEU provides services related to the terms and

   conditions of employment as well as other products and services. NEHCEU transacts business

   activities in interstate commerce and on a national scale, including in this judicial district.

          32.     Defendant UHWE is an unincorporated labor organization with its principal place

   of business located at 310 West 43rd Street, New York, New York 10036. It is a local affiliate

   of the SEIU. UHWE is funded in part by dues collected from its members. Each member of

   UHWE pays a fixed percentage of his or her wages to the union as dues. The UHWE is one of

   the largest local unions of the SEIU, with approximately 350,000 members.                The UHWE

   contributed almost $40 million to the SEIU in per capita dues in 2010. UHWE has been actively

   and thus far unsuccessfully seeking to unionize workers of facilities managed by Plaintiff Care

   One to derive the financial benefit of more dues-paying members and to help it pay down its

   severely underfunded pension plan. In exchange for fees in the form of union dues, which it

   collects from member-employees, UHWE provides services related to the terms and conditions

   of employment as well as other products and services. UHWE transacts business activities in

   interstate commerce and on a national scale, including in this judicial district.

          33.     Both NEHCEU and UHWE are affiliated with Defendant SEIU but are legally

   distinct entities. The SEIU is an unincorporated labor organization with its principal office at

   1800 Massachusetts Ave. N.W., Washington, DC 20036.                 Currently, the SEIU claims to

   represent over 2.1 million workers in North America and touts that it is the fastest-growing union

   and the largest healthcare union. The SEIU exists to organize new members and to maintain

   existing members. It provides training to new organizers employed by the local unions affiliated

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   with the SEIU. It does not generate revenue, other than investment income, without its dues-

   paying members.      The SEIU transacts business activities in interstate commerce and on a

   national and international scale, including in this judicial district.

           34.     In addition to making substantial monetary contributions to the SEIU, both

   NEHCEU and UHWE appoint delegates who participate in the SEIU’s governance at

   quadrennial and special SEIU conventions. Although the NEHCEU and the UHWE are legally

   distinct entities from the SEIU, the SEIU’s website explains that each local union “is a chartered

   branch that carries forth the mission and goals of the [SEIU] while representing the specific

   interests of locally based memberships.” (http://www.the SEIU.org/local/). A copy of the

   webpage is attached as Exhibit C. As noted above and as shown further below, the “mission and

   goals” of the SEIU include the expansion of membership and extraction of substantial monies

   from employers through corporate campaigns.

           35.     Indeed, the SEIU’s 2012 Constitution vests in its senior leaders power over

   unionization campaigns, stating that “[t]he International President shall have general supervision

   and direction of the organizing efforts” of SEIU. (Art. VIII, § 1(e)). Additionally, the SEIU’s

   Constitution shows that SEIU’s affiliated locals are constitutionally bound to commit resources

   and finances to the execution of any aggressive unionization efforts SEIU decrees, including

   unlawful unionization campaigns. (Art. VIII, § 1(e), Art. XV, § 16(a)).          In fact, the SEIU’s

   Constitution also: (i) gives the SEIU jurisdiction over the locals and its members (Art. III, §

   2(a)); dictates the very existence of a local union (id., Art. XIV, §§ 1-2); (ii) imposes financial

   requirements upon the locals, including how much money the locals must contribute to the SEIU

   (id., Art. XV, §§ 6(a)-(d)); (iii) determines whether a local is in good standing (id., Art. VIII, §

   3); (iv) dictates the requirements for officers of the locals (id., Art. XV, § 2); and (v) requires the



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          •       Mayrym I. Ramos, Deputy Director, SEIU’s Geography Department. She assists
                  SEIU locals in corporate campaigns against employers in different geographic
                  regions, and she provided substantial information and assistance to the UHWE
                  and NEHCEU in the preparation of a false and misleading radio advertisement
                  campaign in Puerto Rico about Aveta, Inc., another entity for which Plaintiffs’
                  owner/indirect owner Daniel Straus served as Principal Stockholder and a Board
                  Member, and its subsidiary, MMM. Ms. Ramos candidly admitted that the goal
                  of these advertisements was not to organize employees or to obtain collective
                  bargaining concessions, but quite simply, to hurt MMM.

          B.      Elected Officials

          38.     The Non-Party Participants also include elected government officials beholden to

   Defendants as a consequence of outsized campaign contributions.           These elected officials

   include, but are not limited to:

          •       Connecticut Governor Dannell Malloy. Malloy is the beneficiary of $400,000 in
                  campaign expenditures by the SEIU and an affiliated local union for his 2010
                  election campaign. He has assisted the Unions in their corporate campaign
                  against Plaintiffs by, among other things: joining workers on the picket line at the
                  Newington Health Care Center on July 11, 2012 despite the acts of sabotage and
                  vandalism that occurred eight days earlier against the HealthBridge- managed
                  facilities’ patients; and initially refusing to allow HealthBridge’s application to
                  close the Wethersfield facility to be processed until a lockout with union members
                  at another HealthBridge facility was resolved; and threatening to take the assets of
                  the Connecticut facilities managed by Plaintiff HealthBridge under receivership.

          •       Connecticut Attorney General George Jepsen. When HealthBridge reported
                  incidents of strike-related sabotage on July 2 and 3, 2012 to Jepsen’s office, he
                  refused to offer meaningful assistance and directed HealthBridge to file separate
                  police reports with local law enforcement authorities. Then, on July 17, 2012,
                  Attorney General George Jepsen walked the picket lines with striking employees.
                  A day later, he recused himself from matters involving HealthBridge and
                  NEHCEU, citing the apparent conflict of interest.

          •       U.S. Senator Richard Blumenthal, U.S. Congresswoman Rosa DeLauro,
                  Connecticut State Senator John Fonfara, Connecticut State Senator Gayle
                  Slossberg, and Connecticut State Assemblyman Russell Morin. These politicians
                  are among the many elected officials to whom the Defendants directed false and
                  misleading statements about Plaintiffs, and whom the Defendants otherwise
                  influenced and/or sought to influence, in an effort to generate support for their
                  unlawful corporate campaign against Plaintiffs. Senator Blumenthal’s office was
                  particularly receptive to the NEHCEU’s communications, urging the U.S.
                  Department of Health and Human Services to investigate the SEIU’s allegations

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                  of “Questionable Medicare Billing Practices at Connecticut HealthBridge Nursing
                  Homes,” and collaborating with the NEHCEU on a press release and open letter
                  to the National Labor Relations Board on the NEHCEU’s behalf. Previously,
                  Congresswoman DeLauro joined NEHCEU members on the picket line and spoke
                  out publicly against the Plaintiffs in July 2012, just days after the incidents of
                  strike-related sabotage recounted below.        Defendants also enlisted Fonfara,
                  Slossberg, and Morin, among other politicians, to interfere with Plaintiffs’ efforts
                  to close the Wethersfield facility, among other actions.

          C.      Student Groups

          39.     The Non-Party Participants have also included students of New York University

   (“NYU”) and NYU student groups, whom the Unions have enlisted in further support of their

   corporate campaign against Plaintiffs and Mr. Straus. These student and student groups include,

   but are not limited to, members of the NYU for Occupy Wall Street, NYU Student Labor Action

   Movement, and Law Students for Economic Justice.

          D.      Public Relations Consultants and Contractors

          40.     The Non-Party Participants also include public relations consultants and

   contractors retained by the Unions to disseminate false and misleading information about the

   Plaintiffs, including, but not limited to, the following:

          •       Checkmate Consulting Group (“Checkmate”). Checkmate, headquartered in 461
                  Main Street, East Greenwich, Rhode Island 02818, holds itself out as a full-
                  service strategic communications firm specializing in public relations, media
                  relations, political consulting, marketing, advertising, digital communications,
                  government relations, grassroots advocacy, and Netroots advocacy. Upon
                  information and belief, both UHWE and NEHCEU have retained Checkmate to
                  prepare or assist in the preparation, design development, and/or implementation of
                  the numerous false and misleading communications, described more fully below,
                  in furtherance of the Unions’ scheme to defraud and campaign of extortion
                  directed against Plaintiffs.

          •       Gorilla Trucking Company (“Gorilla Trucking”). Gorilla Trucking is a
                  corporation or other legal entity that specializes in leasing trucks containing
                  traveling billboard advertisements. Upon information and belief, UHWE and
                  NEHCEU have retained Gorilla Trucking to transmit the Unions’ numerous false
                  and misleading statements about Plaintiffs throughout New York, New Jersey,
                  Connecticut, and Massachusetts on traveling billboards, described more fully


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   members, retirees, and their family members.

          45.      The 1199 Enterprise is separate and distinct from the Defendants and from each

   of the other members of the 1199 Enterprise. The 1199 Enterprise is an ongoing organization

   and exists to advance the interests of the individual entities that comprise its membership.

          46.     The 1199 Enterprise exists for the legitimate purpose of representing employees

   for collective bargaining and providing pension benefits for UHWE and NEHCEU members,

   retirees, and their family members. However, Defendants conspired to conduct or participate in

   the conduct of the affairs of the 1199 Enterprise through a separate and distinct “pattern of

   racketeering activity” within the meaning of 18 U.S.C. § 1961(5), described more fully in this

   Complaint.

          47.     The 1199 Enterprise has operated as a continuing unit since at least January 1,

   1991, the date on which both the UHWE Pension Plan and the NEHCEU Pension Plan were

   formed. Prior to that date, employees represented by the UHWE and the NEHCEU participated

   in the National Pension Fund for Hospital and Health Care Employees (“Prior Plan”). However,

   on January 1, 1991, the Prior Plan was separated into five regional pension plans: the UHWE

   Pension Plan, the NEHCEU Pension Plan, and three other regional pension plans.

          48.     Each member of the 1199 Enterprise performs a role in the group consistent with

   its organizational structure, which furthers the activities of the 1199 Enterprise. For example, the

   UHWE Pension Plan and the NEHCEU Pension Plan provide pension benefits for UHWE and

   NEHCEU members, retirees, and their family members. The UHWE and NEHCEU seek to

   recruit new members and obtain money from employers in order to adequately fund the UHWE

   Pension Plan and the NEHCEU Pension Plan.

          49.     Moreover, all four entities are associated with the SEIU and frequently work

   together to advance the interests of the 1199 Enterprise. As described more fully below, each

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   Union took actions to advance the interests of the other Defendant and its pension plan.

   Moreover, as noted above, the UHWE Pension Plan and the NEHCEU Pension Plan were

   formed from the Prior Plan and continue to work together to advance the interests of each other

   and the 1199 Enterprise through, inter alia, a reciprocity agreement. The UHWE Pension Plan’s

   address (330 W. 42nd Street, 10th Floor, New York NY 10036) is in close proximity to the

   address of UHWE’s headquarters (310 West 43rd Street, New York, New York 10036), and

   UHWE’s Secretary Treasurer, Maria Castaneda, is also a trustee on the UHWE Pension Plan.

   The NEHCEU Pension Plan’s address (77 Huyshope Ave., Hartford, Connecticut 06106) is the

   same address as that of NEHCEU’s headquarters, and upon information and belief, the

   NEHCEU’s Secretary Treasurer, Almena Thompson, is also a trustee on the NEHCEU Pension

   Plan.

           B.    The UHWE Pension Enterprise and the NEHCEU Pension Enterprise

           50.   At all relevant times, there have been and continue to be smaller-scale bilateral

   association-in-fact enterprises within the meaning of 18 U.S.C. § 1961(4). One such enterprise

   consists of at least the UHWE and the UHWE Pension Plan (the “UHWE Pension Enterprise”).

   Another such enterprise consists of at least the NEHCEU and the NEHCEU Pension Plan (the

   “NEHCEU Pension Enterprise”).

           51.   At all relevant times both the UHWE Pension Enterprise and the NEHCEU

   Pension Enterprise have been and continue to be engaged in activities affecting interstate

   commerce, including but not limited to representing employees for collective bargaining

   purposes and providing pension benefits for UHWE and NEHCEU members, retirees, and their

   family members.

           52.   The UHWE Pension Enterprise is separate and distinct from the Defendants and

   from each of the members of the enterprise, and is an ongoing organization that exists to advance

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   the interests of the entities that comprise its membership. The NEHCEU Pension Enterprise is

   likewise separate and distinct from the Defendants and from each of the members of the

   enterprise, and is an ongoing organization that exists to advance the interests of the entities that

   comprise its membership.

          53.     Both the UHWE Pension Enterprise and the NEHCEU Pension Enterprise exist

   for the legitimate purpose of representing employees for collective bargaining purposes and

   providing pension benefits for UHWE and NEHCEU members, retirees, and their family

   members. However, Defendants conspired to conduct or participate in the conduct of the affairs

   of both the UHWE Pension Enterprise and the NEHCEU Pension Enterprise through a separate

   and distinct “pattern of racketeering activity” within the meaning of 18 U.S.C. § 1961(5),

   described more fully in this Complaint, and have successfully done so.

          54.     The UHWE Pension Enterprise has operated as a continuing unit since at least

   January 1, 1991, the date on which the UHWE Pension Plan was formed. The NEHCEU

   Pension Enterprise has likewise operated as a continuing unit since at least January 1, 1991, the

   date on which the NEHCEU Pension Plan was also formed.

          55.      Moreover, each member of the UHWE Pension Enterprise and the NEHCEU

   Pension Enterprise performs a role in its respective enterprise consistent with its organizational

   structure, which furthers the activities of the respective enterprise. For example, the UHWE

   Pension Plan provides pension benefits for UHWE members, retirees, and their family members;

   the UHWE, in turn, seeks to recruit new members and obtain money from employers in order to

   adequately fund the UHWE Pension Plan. Similarly, the NEHCEU Pension Plan provides

   pension benefits for NEHCEU members, retirees, and their family members; the NEHCEU, in

   turn, seeks to recruit new members and obtain money from employers in order to adequately

   fund the NEHCEU Pension Plan.

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          C.       The UHWE Pension Plan and the NEHCEU Pension Plan

          56.      Since their formation on January 1, 1991, both the UHWE Pension Plan and the

   NEHCEU Pension Plan have also constituted enterprises within the meaning of 18 U.S.C. §

   1961(4).     The UHWE Pension Plan is an independent legal entity and employee welfare plan

   within the meaning of 29 U.S.C. § 1002(2)(A), that exists for the purposes of providing pension

   benefits for UHWE members, retirees, and their family members. The NEHCEU Pension Plan is

   likewise an independent legal entity and employee pension benefit plan within the meaning of 29

   U.S.C. § 1002(2)(A) that exists for the purposes of providing pension benefits for NEHCEU

   members, retirees, and their family members. However, Defendants conspired to conduct or

   participate in the conduct of the affairs of both the UHWE Pension Plan and the NEHCEU

   Pension Plan through a separate and distinct “pattern of racketeering activity” within the

   meaning of 18 U.S.C. § 1961(5), described more fully in this Complaint, and have successfully

   done so.

          D.       The Care One Watch Enterprise

          57.      At all relevant times there has been and continues to be an association-in-fact

   enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Care One Watch Enterprise”). The

   Care One Watch Enterprise consists of the UHWE, NEHCEU, and one or more of the Non-Party

   Participants.

          58.      At all relevant times the Care One Watch Enterprise has been and continues to be

   engaged in activities affecting interstate commerce. While Defendants UHWE and NEHCEU

   separately represent employees for collective bargaining purposes, through the Non-Party

   Participants, the Care One Watch Enterprise functions as the vehicle through which Defendants

   have carried out their conspiracy against Plaintiffs.



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          59.     The Care One Watch Enterprise is separate and distinct from the Defendants

   themselves. Unlike the 1199 Enterprise, the Care One Watch Enterprise has no legitimate

   purpose. It exists only because of the Defendants’ decision to synergize their efforts and enlist

   the aid of the Non-Party Participants in attempt to obtain Plaintiffs’ property rights through an

   unlawful corporate campaign. The Defendants conspired to conduct or participate in the conduct

   of the affairs of the Care One Watch Enterprise through a separate and distinct “pattern of

   racketeering activity” within the meaning of 18 U.S.C. § 1961(5), described more fully in the

   Complaint.

          60.     The Care One Watch Enterprise has operated as a continuing unit since at least in

   or around 2010 when Defendants launched the “Care One Watch” and “HealthBridge Watch”

   internet sites described below.

          61.     Each member of the Care One Watch Enterprise performs a role in the group

   consistent with its organizational structure, which furthers the activities of the Care One Watch

   Enterprise. For example, NEHCEU carries out the majority of the Defendants’ unlawful attacks

   against Plaintiffs in Connecticut; UHWE carries out the majority of Defendants’ unlawful attacks

   against Plaintiffs in New Jersey, New York, Massachusetts and elsewhere; and the Non-Party

   Participants assist the Unions in carrying out these attacks by providing organizational, logistical,

   public relations and political support, among other forms of assistance.

          E.      The SEIU Enterprise

          62.     Defendant SEIU is an enterprise within the meaning of 18 U.S.C. §1961(4). The

   SEIU is an independent legal entity and is an unincorporated labor organization that has a

   separate legal existence from its local unions.

          63.     In this case, Defendants UHWE and NEHCEU have conducted and participated

   directly in the operation and management of the SEIU Enterprise’s affairs through a pattern of

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   racketeering activity, which is described in detail below. Defendants UHWE and NEHCEU

   knowingly furthered the aims of the SEIU Enterprise by participating in and implementing

   management decisions or carrying out the instructions of those in control of the enterprise. As

   described in detail below, such participation has included the appointment of delegates to

   participate in high-level enterprise decision-making related to increasing unionization and, as a

   result, control over the healthcare industry. It has also included the service of some of the Non-

   Party Participants and other officers of the UHWE and NEHCEU, in dual roles on behalf of the

   SEIU Enterprise. Examples include UHWE President George Gresham’s service as a Vice

   President of the SEIU; former UHWE President Dennis Rivera’s service as Chair of the SEIU’s

   Healthcare Division; and NEHCEU President David Pickus’ dual role as President of one of the

   SEIU’s state councils.

          64.     Each of the acts of racketeering activity committed by UHWE and NEHCEU has

   had a relationship to the SEIU Enterprise. The aforementioned Defendants were enabled to

   commit the racketeering activity by virtue of their involvement in the affairs of the SEIU

   Enterprise, and the racketeering activity benefitted the SEIU Enterprise and was in fact

   authorized, promoted and endorsed by the SEIU Enterprise. All of this is demonstrated by

   numerous allegations of fact below, including Defendants UHWE’s and NEHCEU’s use of

   tactics against Plaintiffs that are endorsed by the SEIU in its Contract Campaign Manual, and

   allegations related to the SEIU’s retention of ultimate and centralized control over decisions

   related to corporate and contract campaigns.

          F.      The UHWE and NEHCEU Enterprises

          65.     The UHWE and NEHCEU are also enterprises within the meaning of 18 U.S.C.

   §1961(4). Both the UHWE and NEHCEU are independent legal entities and are unincorporated

   labor organization, each with a separate legal existence from each other and from the SEIU.

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             66.   In this case, the SEIU has conducted and participated directly in the operation and

   management of the UHWE’s and the NEHCEU’s affairs through a pattern of racketeering

   activity, which is described in detail below. The SEIU knowingly furthered the aims of both the

   UHWE and the NEHCEU by participating in and implementing management decisions or

   carrying out the instructions of those in control of the enterprise. As described in detail below,

   such participation has again included the appointment of delegates to participate in high-level

   enterprise decision-making related to increasing unionization and, as a result, control over the

   healthcare industry. Again, it has also included the service of some of the Non-Party Participants

   and other officers of the UHWE and NEHCEU, in dual roles on behalf of the SEIU Enterprise,

   described above. It has also included, among other things, direct involvement by the SEIU in

   training union organizers employed by the SEIU and the NEHCEU, and direct involvement by

   the SEIU in the conception, preparation, and funding of negative advertisements and other false

   and misleading communications about Plaintiffs and other unrelated business interests of Mr.

   Straus.

             67.   Given the SEIU’s role in directing the UHWE’s and NEHCEU’s affairs, it also

   played a role in directing the affairs of other enterprises listed above -- more particularly, the

   1199 Enterprise, the UHWE Pension Enterprise, the NEHCEU Pension Enterprise, and the Care

   One Watch Enterprise, the UHWE Pension Plan and the NEHCEU Pension Plan -- since UHWE

   and NEHCEU are key members of, or (in the case of the pension plan enterprises) key operators,

   of these other enterprises.

             68.   Each of the acts of racketeering activity committed by SEIU has had a

   relationship to the UHWE and the NEHCEU enterprises. The SEIU was enabled to commit the

   racketeering activity by virtue of its involvement in the affairs of both the UHWE and the

   NEHCEU enterprises, and the racketeering activity benefitted the UHWE and NEHCEU and was

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   in fact authorized, promoted and endorsed by the UHWE and the NEHCEU. This is also

   demonstrated by numerous allegations of fact below, including Defendants UHWE’s and

   NEHCEU’s use of tactics against Plaintiffs that are endorsed by the SEIU in its Contract

   Campaign Manual, and allegations related to the SEIU’s retention of ultimate and centralized

   control over decisions related to corporate and contract campaigns.

                                     JURISDICTION AND VENUE

           69.     Plaintiffs’ claims for relief include alleged violations of 18 U.S.C. § 1961 et seq.

   This Court has jurisdiction over the subject matter of this action pursuant to 18 U.S.C. § 1961 et

   seq., 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1337 (commerce jurisdiction) and 28

   U.S.C. § 1367 (supplemental jurisdiction).

           70.     Personal jurisdiction and venue in this district are proper pursuant to 18 U.S.C.

   § 1965 and 28 U.S.C. § 1391(b) because all of the Defendants have sufficient minimum contacts

   with the State of New Jersey and, as alleged below: (i) the Defendants are found in, have agents

   in, and/or transact their business and affairs in this district; (ii) a substantial part of the events or

   omissions giving rise to the claims for relief occurred in this district; and (iii) the ends of justice

   require that those of the Defendants residing outside this district be brought before the Court to

   answer for their conduct engaged in and directed toward this District.

                                      FACTUAL BACKGROUND

   I.      The Unions’ Overarching Goals and Admitted Pattern of Reliance on Criminal
           Activity in Conducting Corporate Campaigns.

           A.      Substantial Financial Pressure Facing the NEHCEU and UHWE

           71.     Organizing campaigns require substantial funds, and the requirement that 20% of

   the annual budget be committed to such campaigns is burdensome, particularly given that many

   unions – including the NEHCEU and the UHWE – spend significant sums of their members’

   dues on political and lobbying activities.
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              72.   In addition, it has been publicly reported that the pension plans sponsored by both

   NEHCEU and the UHWE are substantially underfunded. For example, on April 24, 2009, the

   NEHCEU Pension Plan announced that its enrolled actuary certified that it was in an endangered

   status for the plan year beginning in January 1, 2009. By letter dated July 21, 2009, its actuaries

   informed the NEHCEU Pension Plan that it would require minimum contributions of in excess of

   nine percent of payroll from each of its members in order to avoid endangered or critical status.

   Its Pension Plan Form 5500 for 2010 continued to report accrued liabilities of $471,132,762 far

   exceeding the reported value of assets of $363,664,704 for a total deficit of over 107 million

   dollars.

              73.   Meanwhile, the UHWE Pension Plan also has a history of serious financial

   problems. On March 31, 2009 and again on March 31, 2010, the plan actuary for the UHWE

   Pension Plan certified to the U.S. Department of Treasury that the plan was in critical status for

   the plan years beginning January 1, 2009 and January 1, 2010. According to notices issued by

   the U.S. Department of Labor, the plan was considered to be in “critical status” for those plan

   years because it had “funding or liquidity problems, or both,” and that the “the plan’s actuary

   determined that over the next three Plan years, the plan is projected to have an accumulated

   funding deficiency beginning in the 2011 plan year.”

              74.   Thus, the NEHCEU and the UHWE face considerable pressure to increase their

   revenues and grow their membership. Because union dues are a fixed percentage of members’

   wages, it is politically expedient for affiliates of the SEIU, such as the NEHCEU and the UHWE,

   to increase revenues by growing their membership. Also, the NEHCEU and the UHWE need

   additional members and continuing, increased pension contributions to avoid increasing

   unfunded pension liabilities of the UHWE Pension Plan and the NEHCEU Pension Plan.



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           B.      The Unions’ Growth Strategy

           75.     The Unions’ overarching goal is to expand their membership by organizing non-

   union facilities. The SEIU and its local unions have become particularly aggressive in targeting

   industries for unionization and launching vast and expensive forced unionization campaigns.

           76.     The SEIU purports to be the largest healthcare union in North America, and its

   former president, Andrew Stern, has publicly targeted the healthcare industry as a focus of its

   organizing efforts for more than a decade. (See, e.g., Steve Proffitt, Interview with Andrew

   Stern: Jumping into the Health-Care Fray as the Voice of the Medical Classes, L.A. Times (July

   4, 1999)).

           77.     In 2008, the SEIU amended its constitution to expand the powers of its chief

   officer, the International President, over organizing efforts and to toughen the constitutional

   requirement that local unions devote 20% of their annual budgets on organizing efforts

   consistent with the SEIU’s “union-wide strategic unity plan.” (SEIU Const. Art. XV, Sec. 16).

           78.     The NEHCEU and the UHWE have been heavily involved in the SEIU’s

   aggressive organizing in the healthcare industry, and both have added numerous bargaining units

   at multiple healthcare facilities in recent years.

           79.     The common institutional and individual goal of the Defendants is to increase

   revenues by building dues paying union membership throughout the United States and abroad.

   The SEIU’s and its local unions’ self-governing documents, resolutions and mission statements

   establish: (1) SEIU and its local affiliates, including but not limited to the Union Defendants,

   work together and in concert to achieve their paramount goal through coordinated corporate

   campaigns (described in further detail below); (2) SEIU and its local affiliates, including but not

   limited to the Union Defendants, commit substantial financial resources to corporate campaign



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   efforts; and (3) the Union Defendants are constitutionally obligated to work together and with the

   SEIU on such campaigns in coordinated fashion.

          80.     The SEIU’s Constitution (both in prior versions and in its current form) exposes

   SEIU’s primary organizational goal as achieving increased membership and the resulting

   revenues that go along with such membership at all costs. At its 1996 Convention, SEIU

   amended its Constitution to provide for a commitment of 50% of its financial resources to

   organizing campaigns. This was a greater financial commitment to organizing activities than any

   other labor union had ever made; it effectively diverted funds away from servicing then-current

   SEIU members.

          81.     SEIU again dramatically increased its commitment to organizing at its 2000

   Convention by adopting the so-called “New Strength Unity Plan,” which enabled the union to

   develop new models of organizing that unite workers on a far greater scale than before. The

   SEIU Steward’s Manual describes the “New Strength Unity Plan” as having been established to

   “unit[e] all workers who do the same type of work by bringing into the union many more

   workers who are in the same industries or do the same kind of work” by enabling SEIU and its

   affiliated locals, among other things, “to launch a massive effort to pressure employers not to

   interfere with workers’ freedom to choose a voice at work by forming a union.”

          82.     At its 2008 Convention, SEIU adopted more aggressive constitutional

   amendments aimed at increased membership through corporate campaigns.              In a series of

   recommendations titled “Justice for All” (attached as Exhibit OO), the SEIU and its local leaders

   advocated even greater commitment of resources to, and centralization of, unionization efforts.

   They recommended, for example, that every SEIU local affiliate be made to earmark 20% of its

   post per capita budget (meaning after per capita taxes/dues have been paid to SEIU) for

   organizing. They further recommended that SEIU have one strategy for uniting more workers,

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   including an organizing objective of 500,000 new members, and pledged the International’s

   resources to implement this strategy. Stated plainly, SEIU proposed to pool the resources of its

   locals, including but not limited to the Union Defendants, to increase the use of corporate

   campaigns in lieu of traditional labor organizing and bargaining techniques.

          83.     These recommendations were adopted and incorporated into SEIU’s 2008

   Constitution (attached as Exhibit PP), which greatly consolidates power over organizing

   campaigns.    It provides “[t]he International President shall have general supervision and

   direction of the organizing efforts” of SEIU, and “shall have power to appoint organizers,

   representatives, coordinators and organizing committees and to make such loans or grant such

   subsidies to Local Unions and affiliated bodies as he or she deems necessary.” (Id. at Art. VIII,

   § 1(e)). The Constitution also increased the “New Strength Unity Standard” by requiring every

   local union to “implement an annual local union organizing budget equivalent to 20% of the

   local’s budget (after payment of all per capita tax obligations).” (Id. at Art. XV § 16(a)). This

   shows the SEIU’s affiliated locals, including but not limited to the UHWE and NEHCEU, are

   constitutionally bound to commit their resources and finances to the execution of corporate

   campaign activities ordered by SEIU. Similarly, the governing documents of Defendants UHWE

   and NEHCEU indicate they are to be construed in accordance with the SEIU’s Constitution. (See

   Exhibits QQ, RR).

          84.     The SEIU’s Healthcare Division also adopted a “Strategic Unity Plan and

   Program to Win” at the 2008 convention.        The program sought to organize over 350,000

   members in the healthcare industry over a four year period. Dave Regan, the former president of

   SEIU 1199 (covering several mid-western states) said at the time: “We don’t believe the way we

   get to 350,000 [new employees] is the way we’ve done it previously, which is NLRB elections.

   We have to look to employers in the health systems, long-term care industry and emerging

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   healthcare industries across this country.” Regan’s implication was that the SEIU needed to

   pursue more forced unionization campaigns in the healthcare industry.        Thus, Defendants’

   attempts to bludgeon Plaintiffs into forced unionization in their non-union facilities are an

   expected outgrowth of the aggressive expansion strategy articulated by the SEIU International

   and its Healthcare Division in 2008.

          85.     Defendants’ self-enrichment objectives do not stop at forced unionization of non-

   union employers. While achieving recognition typically leads to an increase in revenues for the

   prevailing union in the form of additional dues-paying members, unions such as Defendants have

   used the collective bargaining process that follows to maximize their economic spoils. For

   example, Defendant NEHCEU has insisted for many years that unionized health care facilities

   agree to a “pattern” set of economic conditions which have resulted in payment of exorbitant

   sums to Defendant NEHCEU or its various funds.            The NEHCEU’s preferred “pattern”

   bargaining demands include contribution of 1% of an employer’s gross payroll to a training fund

   on a monthly basis.       Defendant NEHCEU also demands unrealistically high employer

   contributions to its pension fund.

          86.     Additionally, Defendants have pressured health care employers to maintain

   unreasonably high staffing levels comprised of dues-paying union members. For example, the

   unionized HealthBridge facilities in Connecticut maintain staffing levels that exceed by almost

   double the state’s minimum staffing levels.

          C.      The Use of Corporate Campaigns to Achieve the SEIU’s Organizing
                  Mandates

          87.     The SEIU’s primary method of exacting concessions from an employer is the so-

   called “corporate campaign,” a comprehensive series of maneuvers designed to bring outside

   pressure to bear on the employer. Often, such pressure has nothing whatsoever to do with the


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   actual labor dispute and is designed merely to impede the employer’s business until it gives the

   union whatever it wants.

          88.     Corporate campaigns are designed to destroy public confidence in the target

   employer, dissuade its customers and potential customers from doing business with it, and

   impede its normal business operations. Ray Rogers, who led one of the first successful corporate

   campaigns, has described the method as follows: “The ultimate goal of the corporate campaign

   was, if necessary, to polarize the entire corporate and Wall Street community away from [the

   target employer], thereby pulling that company’s most crucial underpinnings out from

   underneath it.” (Ray Rogers, How to Confront Corporations: The Man Who Devised the

   Corporate Campaign Against JP Stevens Offers Some Advice, Bus. & Soc’y Rev. 1981).

          89.     As courts have noted, a union corporate campaign “encompasses a wide and

   indefinite range of legal and potentially illegal tactics used by unions to exert pressure on an

   employer ... [including] litigation, political appeals, requests that regulatory agencies investigate

   and pursue employer violations of state or federal law, and negative publicity campaigns aimed

   at reducing the employer’s goodwill with employees, investors, or the general public.” Food

   Lion, Inc. v. UFCW, 103 F.3d 1007, 1014 n.9 (D.C. Cir. 1997) (quoted by Smithfield Foods, Inc.

   v. UFCW, 633 F. Supp. 2d 214, 219 (E.D. Va. 2008)).

          90.     Corporate campaigns are different in kind from traditional union organizing and

   contract-negotiating campaigns. In a traditional union organizing campaign, the union seeks to

   convince employees that unionization is in their best interests. The union recognition process

   governed by the NLRA and administered by the National Labor Relations Board (“NLRB”)

   contemplates the union initially making informal contact with a group of non-union employees.

   Once at least 30% of the workers in a potential bargaining unit are convinced, they can require a

   secret-ballot election, which the union must win in order to be certified as the bargaining agent

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   for the employee group. Similarly, in conventional contract negotiations, the union seeks to

   obtain better wages, benefits and working conditions for its constituents through good-faith

   bargaining, and, if necessary, through lawful strikes and pickets. The union may also publicize

   its position in an effort to arouse community support for its position.

          91.     In a corporate campaign, on the other hand, unions seek to avoid the NLRB-

   regulated election process. Instead, they bring outside pressure to bear on the employer in order

   to force the unionization of the employer’s employees without regard to the overall wishes of the

   employee bargaining group, often by forcing the employer to: (1) forego its right to a secret-

   ballot election in favor of a “card-check” system in which the union need only obtain the

   signature of more than 50% of the workers at issue in order for the union to be recognized; (2)

   forego its right to speak to its employees about the disadvantages to unionization during an

   organizing effort; (3) provide the union with open access to its property and facilities, and give

   out confidential information about its employees; and (4) recognize the union outright as the

   bargaining agent for a particular group of employees.

          92.     Similarly, in a corporate campaign relating to union collective bargaining

   demands, the union brings outside pressure unrelated to the workers’ legitimate bargaining

   position in an effort to economically cripple the employer until it accedes to the union’s

   demands. Corporate campaigns often smear the target employer and its owners and managers on

   matters wholly unrelated to wages and working conditions. The goal is not to convince the

   public that the union’s demands on behalf of the bargaining group are reasonable and/or to

   obtain better wages or benefits for the employees. Rather, the goal is to harm the employer’s

   business and/or personally embarrass its managers and owners to force submission to the union’s

   demands for concessions that benefit the union directly, such as monetary contributions to



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   training and pension funds into which the unions do not contribute, but rather rely on an

   employer (or group of employers) to fund by itself.

          93.     Unions employ corporate campaign tactics because of the substantial economic

   benefits that result from battering employers into acquiescence. Union recognition automatically

   gives the union a substantial say over the employer’s operations, and it results in an influx of

   new cash in the form of union dues, pension contributions, training fund contributions, and, in

   some cases, direct payments from the employer to the union. The employer and union must

   engage in bargaining over all terms and conditions of the represented workers’ employment,

   including the most minor details of the workers’ jobs. Most importantly, the union gains access

   to a new revenue stream that is largely under its control, as all wage rates for unionized

   employees must be approved by the union.

          94.     Similarly, collective bargaining negotiations give the union an opportunity to

   couch demands for direct payments and other economically beneficial concessions, such as the

   funding of unfunded liabilities, within the context of “good-faith” bargaining over employee

   wages and benefits. And, because unions are not entitled to dues during any gap periods

   between collective bargaining agreements, unions have a strong incentive to bring contract

   negotiations to a quick close, which makes the use of pressure-driven corporate campaign tactics

   all the more attractive.

          95.     The corporate campaign philosophy was aptly summarized in or around August

   2007 by a representative of Change to Win -- an umbrella organization of which the SEIU is a

   founding member – who stated: “It’s no longer sufficient to use a strike or other work

   disturbance to pressure a company to do the right thing. Increasingly, it’s necessary to pressure a

   company by causing a crisis of confidence among its customers, shareholders, directors or other



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   constituents.” (http://mydd.com/2007/8/10/yearlykos-catching-up-with-change-to-win). A copy

   of the webpage is attached as Exhibit D.

          96.     At bottom, corporate campaigns relieve unions of the burden of persuading

   employees and community members that their demands are reasonable. Instead, they need only

   convince the target employer that the union’s campaign of smear, deception, interference,

   vandalism, and threats will harm the employer’s business and the managers’ and owners’

   personal lives. Through a corporate campaign, union organizing and contract negotiations go

   from being fair processes with uncertain outcomes to being old-fashioned, mafia-style

   shakedowns in which the employer has no choice but to surrender its money to the unions in

   return for a temporary end to the union’s illicit attacks.

          D.      The SEIU and its Affiliated Locals Follow the Manual to Extort Money and
                  Other Concessions from Employers

          97.     The SEIU and its affiliated local unions follow the SEIU’s widely publicized

   Manual in developing and executing corporate campaigns. The Manual candidly admits that

   effective corporate campaigns often require breaking the law. (See Exhibit A, Manual at 3-47).

          98.     In the section called “Pressuring the Employer,” the Manual details how unions

   can bring outside pressure to bear on employers through the use of smear and intimidation

   tactics. According to the Manual, one goal of outside pressure is to “jeopardize[e] relationships

   between the employer and lenders, investors, stockholders, customers, clients, patients, tenants,

   politicians, or others on whom the employer depends for funds.” The Manual advises that: “You

   have to put pressure in many ways so that the total cost of your campaign to the employer begins

   to outweigh the benefits of rejecting your proposals.” (See Exhibit A, Manual at 3-2 to 3-3).

          99.     In a section called “Evaluating Possible Tactics,” the Manual lists the first goal of

   any pressure campaign as “Costing the employer money.” In that vein, the Manual advises

   campaigners to consider whether a potential tactic will:
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            •      Reduce productivity?

            •      Increase costs?

            •      Affect a private company’s relationship with sources of income, such as
                   customers, clients, investors, or lenders?

                   ....

            •      Create bad publicity, which would, in turn, affect the relationships described
                   above?

            •      Cause the courts or regulatory agencies to enforce laws or regulations the
                   employer has failed to obey?

            •      Directly affect the careers or other interests of individual management officials.
                   (See Exhibit A, Manual at 3-6).

            100.   That same section lists another goal as “Making daily life difficult for

   management.” On that front, the Manual advises campaigners to consider whether a proposed

   tactic will:

            •      Distract management officials from other work they need to do?

            •      Embarrass them in front of their superiors, associates, families, neighbors, or
                   friends in the community? (Id.)

            101.   According to the Manual, bringing outside pressure to bear on the employer is

   often the key to a successful corporate campaign. Thus, the Manual notes that employers depend

   on customers and other stakeholders to provide funds to operate the business. “The most

   effective outside pressure tactics are often those which could put that flow of funds in jeopardy.”

   The Manual further notes that owners and managers value their “reputations” and “privacy.” By

   implication, tactics that harm their reputation and invade their privacy are recommended. (Id. at

   3-18).

            102.   With regard to attacking customer relationships, the Manual admits that

   customers are unlikely to care about the union’s demands. “Therefore, it is often necessary to

   show how they [the customers] are affected by employer practices – how prices or taxes are
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   higher, products or services are of lower quality, or public health or safety are threatened.” (Id.

   at 3-19). Notably, these attacks need not have anything to do with the union’s demands. As

   noted above, the goal is simply to “put [the employer’s] flow of funds in jeopardy.”

          103.    The Manual also advises employees to seek out violations of the employer’s legal

   obligations. The purpose in doing so is not to seek legitimate redress of legal violations, but

   rather to ratchet up the expense and negative publicity associated with the campaign. The

   Manual candidly admits that the violations of law may be “completely unrelated to bargaining

   issues.” That is not a problem because the employer will still face:

          •       Extra expense to meet regulatory requirements or qualify for necessary permits or
                  licenses.

          •       Costly delays in operations while those requirements are met.

          •       Fines or other penalties for violating legal obligations.

          •       Damage to the employer’s public image, which could jeopardize political or
                  community support, which in turn could mean less business or public funding.
                  (Id. at 3-21).

          104.    The Manual advises employees to bring political pressure to bear on the

   employer. In particular, the Manual suggests that employees tell management that, if their

   demands are not met, they will push for legislative action in unrelated areas that will adversely

   affect the target employer, such as “changes in the way employers are taxed, awarded public

   funds, or required to provide services.” (Id. at 3-25).

          105.    The Manual further advises exerting outside pressure on individual owners and

   managers. The Manual specifically suggests that employees seek and publicize “dirt” on owners

   and managers, focusing on such things as: (1) involvement in lawsuits, including divorce actions,

   (2) ties to other businesses involved in controversies, (3) past controversial activities, and (4)

   links with politicians. The Manual admits that threatening to release such information if an

   owner or manager does not accede to the union’s demands “may be a violation of blackmail
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   and extortion laws.” Nonetheless, the Manual encourages union members to “uncover and

   publicize” such information about individual owners and managers because “there is no law

   against union members who are angry” engaging in such activities. (Id. at 3-27; emphasis

   added). In other words, the Manual encourages unions to violate extortion laws and then pretend

   that the idea to dig up and disclose “dirt” originated with individual union members.

          106.    The Manual also advises employees to use the media in their campaigns.

   According to the Manual, a primary goal in using the media is to “[g]ive customers, clients,

   investors and others in the community reasons to cut off economic ties with the employer.” In

   keeping with the Manual’s general theme, the media attention need not be related to the union’s

   position or alleged grievances. Rather, it can simply be designed to “make businesses or

   individuals feel that they don’t want to be involved with the employer while it is getting such bad

   publicity,” whatever the cause of such publicity. This tactic is also designed to enhance the

   effect of any potential “dirt” that employees may gather, as the Manual states that “[owners or

   managers who] see that you have the ability to use the media successfully . . . may worry that

   you will be able to publicize unfavorable information about their activities.” (Id. at 3-56).

          107.    Complying with the law is decidedly not the goal of a corporate campaign. To the

   contrary, the Manual notes that pressure tactics may violate laws against “libel, slander, and

   extortion.” Nonetheless, the Manual encourages employees to consider breaking these laws by

   likening their activities to civil disobedience “in the tradition of Dr. Martin Luther King and

   Mahatma Gandhi.” The Manual discourages employees from taking the advice of legal counsel

   by noting that a lawyer’s job “is not to make decisions about when and how to obey the laws.”

   Rather, employees should “weigh the risks and benefits of potential action,” which includes

   weighing the risk of illegal action against the benefits associated with “doing what it takes to win

   a fair contract.” (Id. at 3-47). The Manual further notes that employers may not follow-up on

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   employees’ violations of the law because, among other things, legal action will require the

   employer to engage in discovery, and some illegal acts may raise public sympathy for the union.

   Finally, the Manual urges employees to consider the potential penalty for violating the law,

   overtly suggesting that illegal activity may be worth it if the penalty is low or a judgment against

   the employee would be difficult to collect. (Id. at 3-48).

          108.    The central message of the Manual is clear: the SEIU encourages employees and

   local unions to abandon traditional organizing and bargaining in favor of multi-faceted extortion

   schemes designed to bring pressure entirely unrelated to any legitimate labor-related concerns in

   order to beat employers into submission. No subject is off-limits; in fact, the invasion of owners’

   and managers’ privacy is actively lauded. Legality is, at best, a minor concern that can easily be

   overridden in favor of “doing what it takes to win.”

          E.      The Unions’ Control Over Member Activities

          109.    In carrying out the SEIU’s forced unionization and contract campaign mandates,

   the Defendants exercise almost total control over the actions of their members. The NEHCEU

   bylaws state that its President “shall direct, coordinate, guide and supervise all of the affairs of

   the District and the activities of its Officers, Organizers and personnel.” (See Exhibit QQ, Art.

   VII §2 (a)). The President is in charge of collective bargaining and required to sign all collective

   bargaining agreements on behalf of the Union. (Id. at §2 (h)(k)). He also has the power to

   appoint and terminate Union representatives and organizers.         (Id. at §2 (l)).   NEHCEU’s

   Secretary-Treasurer is responsible for managing NEHCEU’s funds and for administering all of

   its health, welfare and pension programs. (Id. at §3).

          110.    NEHCEU is controlled by an Executive Board which has the power:

          (a)    to approve and authorize the disbursement of funds as necessary to “promote the
          aims and objectives of the [Union];”


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           (b)     to “invest or reinvest the funds of the [Union] in such property, real or personal,
           tangible or intangible, as it shall consider prudent;”

           (c)      to “formulate plans, programs and policies for the [Union];”

           (d)      to “call strikes, subject to the approval of the members directly involved.”

           (Id. at § 10).

           111.     The UHWE exercises similar control over its affairs and the actions of its

   members. Its Constitution notes the President is the “Chief Executive of the Union” and is

   empowered to “direct, coordinate, guide and supervise all of the affairs of the Union and the

   activities of its Officers, Organizers and personnel.” (See Exhibit RR at Art. VII §2 (a)). His

   authority includes signing all “official documents,” making disbursements on behalf of the

   Union, directing collective bargaining, and appointing and assigning organizers. (Id. at § 2).

   The Secretary-Treasurer is responsible for collecting, managing and disbursing all of the

   UHWE’s funds. (Id. at § 3). UHWE also has an Executive Council which has the power:

                    (a)     to formulate all plans, programs and policies for the Union;

                  (b)     to “invest or reinvest the funds of the Union in such property, real or
           personal, tangible or intangible, as it shall consider prudent;”

                   (c)   to “approve and authorize the disbursements of such funds as in its
           discretion may be required to promote the aims and objects of the Union;”

                    (d)     to “appoint and assign organizers;”

                    (e)     to “call strikes, subject to the approval of the members directly involved.”

    (Id. at § 9).

           112.     Thus, and in keeping with the SEIU’s and its Healthcare Division’s decree that

   member unions are constitutionally bound to increase their numbers – and, necessarily, their

   revenues – through aggressive corporate campaigns, the Defendants carry out that mandate with

   almost total control. In other words, the activities and events described herein are not a series of

   disconnected coincidences over which the Defendants had no operational control. None of the

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   events described in this Amended Complaint would ever have taken place had the SEIU not

   made it a constitutional mandate that its local unions use aggressive corporate campaign attacks

   to achieve their goals, and had the Defendants not explicitly authorized and executed such

   events. Moreover, the SEIU is responsible for all organizing activities of all of its locals, as the

   express language of its own constitution makes clear.

          113.




   II.    The Unions’ Corporate Campaign Directed against Plaintiffs

          A.      The Formation of the Conspiracy

          114.    The Defendants’ actions described herein are the result of an illicit conspiracy to

   batter Plaintiffs into providing them with exorbitant forced unionization and contract concessions

   designed to benefit the Defendants economically, or alternatively, to drive Plaintiffs out of

   business. The Defendants’ motives and the manner in which they planned and executed their

   corporate campaign against Plaintiffs are described below.

          115.




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          116.




          117.   The Defendants’ campaign has two interrelated objectives, both rooted in

   Defendants’ self-interest. First, Defendants seek to compel Plaintiffs to agree to NEHCEU’s

   “pattern” agreement or be run out of business in Connecticut. Defendants seek to compel

   Plaintiffs to make millions of dollars in contributions to the grossly underfunded pension

   liabilities of the pension plans they sponsor that would be required under the “pattern”

   agreement, to make recurring contributions to the UHWE Training Fund and NEHCEU Training

   Fund; and to maintain the bloated and unnecessary employee staffing levels that pad Defendants’

   member rolls and bank account.       Second, in the Plaintiffs’ facilities where there are no

   established collective bargaining relationships – including the Care One and HealthBridge

   Facilities in New Jersey; three non-union HealthBridge Facilities in Connecticut; and fifteen

   HealthBridge Facilities in Massachusetts – Defendants want to compel Plaintiffs to unionize

   their non-union employees on terms they dictate, or else be brought to their knees and destroyed.

   Defendants want more unionized facilities which translate into more revenue from dues-paying

   members and more money to pay down the underfunded pension liabilities of the pension plans

   sponsored by Defendants.       Since Plaintiffs have, to date, not capitulated to Defendants’

   demands, Defendants are making good on their threats to drive Plaintiffs out of the State of

   Connecticut and completely destroy Plaintiffs’ businesses wherever found.

          118.   NEHCEU has collective bargaining relationships with six HealthBridge-managed

   facilities in Connecticut.   In the course of seventeen months of ultimately unsuccessful

   negotiations for successor collective bargaining agreements, NEHCEU steadfastly insisted that

   HealthBridge agree to NEHCEU’s “pattern” collective bargaining agreement under which,

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   among other things, HealthBridge would need to keep in place the existing arrangement for the

   HealthBridge Facilities to increase their contribution to NEHCEU’s underfunded pension plan

   and continue making contributions to the NEHCEU Training Fun among other payments.

           119.    UHWE, on the other hand, does not have any collective bargaining relationships

   with Plaintiffs, but seeks them for the same reasons as NEHCEU – to increase its dues-paying

   membership and obtain additional contributions into its own underfunded pension plan and other

   funds. Dissatisfied with the progress it has made to organize Plaintiffs’ non-union facilities

   using the traditional NLRA-sanctioned legal framework for organizing employees into unions,

   Defendant UHWE decided to abandon that process in favor of forced unionization tactics.

           120.    Sensing an opportunity to synergize their efforts, Defendants devised a scheme to

   extort these various concessions out of Plaintiffs. In order to maximize the pressure they could

   apply, Defendants conspired to utilize their collective resources to unleash a wide-ranging and

   illegal corporate campaign. Consistent with the teachings of SEIU’s Manual, Defendants agreed

   to use their combined political, social and financial strength to bring debilitating economic and

   other pressures on Plaintiffs by attacking them in the public arena; unlawfully interfering with

   Plaintiffs’ existing and prospective business relationships; orchestrating baseless legal and

   regulatory actions against Plaintiffs; recruiting third-parties such as consulting firms and college

   students to take part in campaign planning or other events; and engaging in illegal and dangerous

   sabotage of Plaintiffs’ facilities and patients.

           121.    As further described below, Defendants also devised a scheme to defraud the

   general public and Plaintiffs’ patients and other business partners into believing Plaintiffs’

   facilities were unsafe and that they overbill the government, among other things. These smears

   were designed to direct business away from Plaintiffs in an effort to increase the effectiveness of

   the Defendants’ parallel extortionate attacks.

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             122.   To help carry out their illicit plans, Defendants recruited the assistance of several

   Non-Party Participants.       Upon information and belief, Defendants retained Checkmate

   Consulting to prepare or assist in the preparation, design, development and/or implementation of

   numerous campaign communications, described more fully below, in furtherance of Defendants’

   campaign. Defendant NEHCEU compensated Checkmate Consulting for its role in Defendants’

   attacks against Plaintiffs.     Defendant NEHCEU’s LM-2s for 2011 and 2012 reveal that

   NEHCEU made over $200,000 in payments to Checkmate during the time period relevant to this

   action.

             123.   Defendants also recruited the assistance of Gorilla Trucking to help transmit the

   Unions’ numerous false and misleading statements about Plaintiffs throughout New York, New

   Jersey, Connecticut, and Massachusetts on traveling billboards, described more fully below.

   Defendant NEHCEU compensated Gorilla Trucking for its role in Defendants’ attacks against

   Plaintiffs.

             124.




             125.   Defendants secured additional assistance from student groups such as Student

   Labor Action Movement, Law Students for Economic Justice and NYU for Occupy Wall Street

   to assist in their personal attacks against Mr. Straus.

             126.   To maximize the pressure of their campaign, Defendants repeatedly have staged

   “newsworthy” events and then promoted those events through media releases, blog posts and the

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   like. In addition, in or around 2010, Defendants, together with other third parties, launched

   internet sites entitled “Care One Watch” (http://www.careonewatch.org) and “HealthBridge

   Watch” (http://healthbridgewatch.org) (hereinafter “COW”) through which they have

   disseminated false and misleading information about Care One, HealthBridge and Mr. Straus.

   Although COW purports to be a “coalition of concerned citizens and nursing home caregivers

   dedicated to quality care and healthy communities,” in reality these websites are nothing more

   than a vehicle through which Defendants have communicated the majority of their smears and

   attacks.

          127.      Defendants have also directly communicated the objectives of their illicit

   campaign to Plaintiffs on multiple occasions.           For example, during a meeting with

   representatives of Plaintiffs on August 4, 2011 at the Hilton Garden in Milford, Connecticut,

   NEHCEU’s President, David Pickus, stated that HealthBridge would need to agree to

   NEHCEU’s “pattern” collective bargaining agreement and increase payments into the

   underfunded pension plan sponsored by NEHCEU; otherwise it would force HealthBridge to

   leave the State of Connecticut. The relentless illegal corporate campaign was in full force.

          128.      Since HealthBridge did not agree, Defendants have made good on their threat to

   drive HealthBridge out of Connecticut. Among other things, Defendants are: seeking to compel

   the sale of HealthBridge’s Connecticut facilities; filing legal process and prompting regulatory

   and compliance actions in Connecticut for improper purposes, and exerting political pressure

   from elected officials beholden to Defendants as a consequence of outsize campaign

   contributions.

          129.      In addition, in or around the Fall of 2011 and following a meeting of the UHWE

   “brain trust,” UHWE Vice President Ricky Elliot candidly admitted to a now-former high-

   ranking UHWE organizer that UHWE had decided to deemphasize the traditional NLRA-

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   sanctioned election process in favor of coordinated corporate campaign designed to bring

   Plaintiffs “to their knees” so that the Plaintiffs would have no choice but to recognize the UHWE

   as the exclusive collective bargaining representatives at all of the facilities managed by Plaintiff

   Care One, or else have their businesses destroyed.

          130.    Defendant UHWE’s plan was confirmed by Elisabeth L. Daley, another senior

   UHWE official, in a telephone call with a representative of Plaintiffs in September 2012. During

   this call, Daley told Plaintiffs that UHWE would consider withdrawing its baseless hearing

   requests on applications for improvements to HealthBridge Facilities in Massachusetts

   (described below) if HealthBridge would agree to NEHCEU’s contract demands and agree to

   remain “neutral” in response to efforts by the Defendants to organize non-unionized facilities

   managed by Plaintiffs.

          131.     Ultimately, Defendants want Plaintiffs to cede to them the many valuable

   property rights that come along with forced unionization and contract concessions.           These

   include (i) the millions of dollars of Plaintiffs’ money, in the form of contributions to the

   Defendants’ underfunded pension plans, and training and other funds; (ii) unnecessary services

   resulting from Defendants’ demand for unnecessarily high member staffing levels; (iii) dues

   money collected from new union members organized as a result of Defendants’ forced

   unionization scheme; (iv) Plaintiffs’ recognition of both Defendants as the exclusive collective

   bargaining agent of current non-union employees at current and at future facilities managed by

   Plaintiffs; (v) physical access to Plaintiffs’ properties to facilitate Defendants’ forced

   unionization objectives; (vi) Plaintiffs’ communication rights regarding whether their employees

   should unionize or not; and (vii) ultimately, control over Plaintiffs business operations as the

   result of forced union recognition, because recognition of a union as the exclusive bargaining



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   representative of Plaintiffs’ employees gives the union the immediate right to have a significant

   say in the operation of the employer's business affairs.

          132.     Defendants’ endless barrage of corporate campaign attacks, described in detail

   below, is intentionally designed to have a cumulative effect on the Plaintiffs, their patients,

   employees, managers, business partners, and the public. Specifically, Defendants desire that

   their countless sensational allegations regarding Plaintiffs’ business and human relations

   practices, if repeated often enough and in enough places, will cause Plaintiffs’ constituents to

   terminate, or decline to enter, business relationships with Plaintiffs. In this way, each and every

   staged event, internet posting, handbill, and public protest described herein was specifically

   calculated by Defendants and their agents to: (1) create additional pressure on Plaintiffs; (2)

   remind Plaintiffs that Defendants – through their various and diverse attacks – were making good

   on the explicit threats described above.

          B.      Defendants’ Pattern of Racketeering Activity

          133.    Defendants’ acts and threats in furtherance of their corporate campaign, described

   in detail below, represent a pattern of racketeering activity within the meaning of 18 U.S.C. §

   1961(5). Beginning in or around 2010 and continuing up to and including the present, as stated

   more fully herein, the Defendants conspired to and did manage or operate the affairs of the

   SEIU, the 1199 Enterprise, the UHWE Pension Enterprise, the NEHCEU Pension Enterprise, the

   UHWE Pension Plan, and the NEHCEU Pension Plan, through a pattern of racketeering activity.

   As stated more fully herein, the Defendants conspired to receive income from a pattern of

   racketeering activity and to use or invest that income in the operation of the SEIU, the 1199

   Enterprise, the UHWE Pension Enterprise, the NEHCEU Pension Enterprise, the UHWE

   Pension Plan, and the NEHCEU Pension Plan.             Finally, as stated more fully herein, the



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   Defendants conspired to acquire or maintain an interest in, or control of, the Plaintiff Enterprises

   through a pattern of racketeering activity.

          134.    The Defendants’ racketeering activity includes:

          (a)     acts or threats involving extortion that are chargeable under Connecticut law
                  (Conn. Gen Stat. Ann §§53a-48, 119(5), 122(a)) and punishable by imprisonment
                  for more than one year;

          (b)     acts or threats involving extortion that are chargeable under Massachusetts law
                  (Mass. Gen. Laws ch. 265 § 25) and punishable by imprisonment for more than
                  one year;

          (c)     acts or threats involving extortion that are chargeable under New Jersey law (N.J.
                  Stat. Ann. §§ 2C:20-5, 2C:5-1) and punishable by imprisonment for more than
                  one year;

          (d)     acts of mail fraud and wire fraud, in violation of 18 U.S.C. §§ 1341 and 1343;

          (e)     violations of the Travel Act, 18 U.S.C. § 1952.

          135.    Each predicate act of extortion, mail and wire fraud, and violation of the Travel

   Act, is described in detail in Sections III.D and III.E below. The Defendants’ racketeering acts

   together have the following features:

                  1.      Relatedness

          136.    The Defendants’ acts of racketeering are not isolated events. Rather, all are

   related to each other in that they have similar purposes, results, participants, victims, methods of

   commission, and other distinguishing characteristics. Relatedness is also established by the fact

   that all of the acts were done for the benefit and in furtherance of the SEIU’s organizing and

   growth agenda.

          137.    The Defendants’ acts of racketeering were all directed at the same overarching

   goal: maximum market share and control over the healthcare industry, either by causing

   Plaintiffs and other employers to succumb to Defendants’ extortionate demands, or by driving

   then out of business. Market density was and is the paramount goal not only of the UHWE and

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   NEHCEU in their respective jurisdictional regions, but also of the SEIU throughout the United

   States and beyond. (See Exhibit SS, Preamble, identifying the SEIU’s goal to secure “control

   over our industries and labor markets”).

          138.     As described in Section I.B above, acting through the SEIU, the UHWE,

   NEHCEU, and other locals established and approved a “New Strength Unity” Plan, through

   which the Defendants and other local unions in the healthcare industry would pool collective

   resources for use in corporate campaigns directed at employers. New Strength Unity included a

   healthcare industry division plan and involved a specified budget. (See Exhibit SS, Article XV

   §16 (a)).     All of the specific acts described herein were thus related in that they furthered the

   goals of and benefitted the SEIU.

          139.     The Defendants targeted Plaintiffs as part of this broader goal of industry

   dominance. They sought to obtain Plaintiffs’ money and property via forced unionization of

   Plaintiffs’ facilities and through labor contract concessions at those facilities already unionized.

   Defendants have a legal right to none of the property they demanded and used wrongful and

   unlawful means in pursuit of their goals. Defendants also sought to punish Plaintiffs financially

   through a mail and wire fraud scheme, the intent of which was to divert business from Plaintiffs’

   facilities and to damage Plaintiffs economically until Plaintiffs acceded to Defendants’ unlawful

   demands to join the ranks of such facilities. The Plaintiffs are the intended and actual victims of

   each separate act of racketeering described herein.

          140.     The Defendants participated in, authorized, and/or ratified all racketeering activity

   alleged. Defendants and their cohorts, including others in the SEIU, created strategic organizing

   and contract campaign plans to serve as blueprints for achieving their goals through the various

   tactics actually carried out and published information about the tactics on the various websites

   described below. Defendants retain paid employee “organizers” specifically for the purpose of

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   planning and overseeing the tactics described herein. These persons and all other individuals

   who personally committed the acts of racketeering acted at all times as agents of the Defendants.

            141.   The Defendants expressly take credit for much of the racketeering activity. With

   respect to other acts, the evidence (described below) overwhelmingly demonstrates Defendants’

   involvement and coordination. The Defendants, and all of the officers of these entities, approved

   of the racketeering acts, participated actively or by knowing tolerance in the acts, and/or

   intentionally drew upon those acts for their continued and snowballing force. Alternatively, and

   at a minimum, the Defendants and all of their officers were actually made aware of the

   racketeering acts and, despite having the appropriate power and authority to prevent them (see

   Section I.E, above)), failed to act on that knowledge to prevent or to curb further acts of the same

   criminal nature.

            142.   The same methods were used in commission of the acts of racketeering. (See

   Section I above; Section II.E, below).

                   2.     Continuity

            143.   The Defendants’ related racketeering acts have extended over a substantial period

   of time, beginning in at least 2010 as described in Section I above and Section II.E and II.F,

   below.

            144.   The related predicate acts also involve a continued threat of long-term

   racketeering activity. There is no foreseeable ending point to Defendants’ acts of racketeering

   against Plaintiffs or any other victim in the healthcare industry. Rather, the clear threat is of a

   never-ending cycle of forced unionization of Plaintiffs’ existing facilities and any

   purchased/operated in the future, followed by extraction from each of increasingly onerous

   contract concessions indefinitely into the future, or driving Plaintiffs out of business. The

   Defendants’ objective of “securing control over our industries and labor markets” by itself

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   proves that the threat is “long term” because at present Defendants and the SEIU Enterprise fall

   far short of their ambition.

          145.    In addition to the many racketeering acts Defendants have already committed in

   furtherance of their attempts to bludgeon the Plaintiffs into forced unionization and onerous

   contract concessions, Defendants’ scheme contemplates the commission of countless future

   racketeering acts. For example, participation in Defendant NEHCEU’s Training Fund requires a

   monthly contribution to the Fund of one percent of the gross payroll of bargaining unit

   employees. Much like the store owner who is forced to pay “protection money” to organized

   crime on a regular basis, each monthly contribution by Plaintiffs to the Fund represents a

   separate transfer of property from Plaintiffs to Defendant NEHCEU, and therefore a separately

   indictable act of extortion under applicable state law.

          146.    In addition, as described in detail in Section II.F below, the predicate acts and

   offenses described herein are the Defendants’ regular way of doing business and thereby threaten

   long-term criminal conduct against other employers in the healthcare industry.

          C.      The Unions’ Scheme to Defraud

          147.    As part of their overall pattern of racketeering activity, Defendants committed

   multiple acts of mail and wire fraud in violation of 18 U.S.C. §§ 1341 and 1343. As set forth

   below, Defendants: (a) used the mails and wire communications services; (b) in the foreseeable

   furtherance; (c) of a scheme or artifice to defraud; (d) involving material deceptions; (e) with the

   intent to deprive Plaintiffs of property.

          148.    As described above, Defendants’ scheme has been to deceive third parties into

   believing that the Plaintiffs are bad companies that mistreat residents and cause other harm to

   their communities for the purpose of inducing those persons to discontinue or refrain from doing

   business with Plaintiffs.      This would serve to advance Defendants’ overarching goal of

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   maximizing market share in the healthcare industry in one of two ways. Ideally to Defendants,

   the loss of business would compel Plaintiffs to capitulate to their demands for forced

   unionization and contract concessions. Alternatively, however, the acts of fraud would increase

   market share by diverting Plaintiffs’ existing and future customers to Defendants’ preferred

   unionized facilities—to the point of driving Plaintiffs out of business entirely so that Plaintiffs

   would no longer exist as a competitor and the same services could instead be provided by a

   favored unionized partner of the Defendants.

          149.    Defendants, and their officers and agents, used the wires and mails to effectuate

   this scheme by transmitting material misrepresentations and/or omissions about Plaintiffs to third

   parties related to the overarching themes of their extortionate corporate campaign.            These

   misrepresentations include, but are not limited to, claims that Plaintiffs’ facilities are not safe;

   that Plaintiffs mistreat their patients; and that Plaintiffs’ overbill their patients. Defendants have

   disseminated such misrepresentations in furtherance of their scheme to defraud on dozens of

   separate occasions. The time, place, and nature of these misrepresentations are described more

   fully in Section II.E below (including, inter alia, in Paragraphs 197, 198, 200, 201, 202, 208,

   209, 213, 214, 215, 216, 217, 218, 219, 220, 221, 222, 223, 224, 226, 227, 248, 251, and in

   Plaintiffs’ discovery responses to date, including but not limited to Plaintiffs’ First Supplemental

   Response to Defendants’ Interrogatory No. 7 (copy annexed hereto as Exhibit AAA) and the

   documents referenced therein; and many of Defendants’ misrepresentations are reprinted in their

   entirety as exhibits to this Complaint (see, e.g., Exhibits F, L, M, N, O, P, U, AA, BB, CC, DD,

   TT, UU, VV, WW, XX, YY, ZZ).

          150.    Defendants’ false representations were material in that they were capable of

   influencing the decisions of those to whom the statements were directed in ways having a direct

   financial impact on Plaintiffs. Deprivation of Plaintiffs’ property was not only foreseeable, but

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   was the specifically intended result of Defendants’ scheme of deception. Defendants intended

   for those persons deceived to act in reliance on their material misrepresentations by

   discontinuing and/or refusing to enter contractual relationships with Plaintiffs or by convincing

   their friends, families, and loved ones to act in the same manner.

          151.    In fact, many deceived third parties have relied on Defendants’ material

   misrepresentations to Plaintiffs’ detriment, precisely as Defendants intended.             Based on

   Defendants’ factual misrepresentations about the Plaintiffs and their businesses, residents have

   moved out of Plaintiffs’ facilities, prospective residents have selected other living arrangements,

   and referral sources have stopped referring patients and residents to Plaintiffs’ facilities.

   Plaintiffs were thereby deprived of money and other property via lost contracts and business

   opportunities with persons deceived into believing Defendants’ lies—the direct and intended

   result of Defendants’ scheme of deception.

          152.    These acts do not merely satisfy the elements of a claim for defamation (or any

   other hypothetical state law claim). They also satisfy the additional legal elements of a claim for

   mail and wire fraud.    Defendants acted: (1) with the specific intent to deceive, and (2) for the

   purpose of depriving Plaintiffs of property, both of which are elements of mail and wire fraud

   and not elements of defamation.          Defendants’ fraudulent scheme did not involve mere

   reputational injury, but it also injured Plaintiffs in their other legal rights and interests, such as

   Plaintiffs’ contract rights and business expectancies. Defendants specifically intended to cause

   Plaintiffs to suffer such a deprivation of their property.

          153.    Defendants are legally responsible for all of the acts of mail and wire fraud

   alleged below, each of which was performed by persons acting as agents on behalf of the

   Defendants. Defendants funded the acts of mail and wire fraud. In fact, Defendants expressly

   take credit for many of the acts of mail and wire fraud—their names litter the many corporate

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   campaign handbills, flyers, legal complaints and other publications made in furtherance of their

   deceptive scheme.

          D.      The Property Rights Defendants Seek to Obtain

          154.    Through their vicious corporate campaign attacks, Defendants have obtained, or

   attempted to obtain, the following property from Plaintiffs:

          •       Wages and benefits to be paid pursuant to labor contracts;

          •       Millions of dollars in contributions to the underfunded UHWE Pension Plan and
                  NEHCEU Pension Plan;

          •       Payment of 100% of employees’ health insurance costs;

          •       Substantial monetary contributions to the NEHCEU Training Fund and UHWE
                  Training Fund;

          •       Wages and benefits for unwanted, unnecessary, and superfluous labor in the form
                  of bloated and unnecessary staffing levels at Plaintiffs’ unionized facilities;

          •       Inflated wages for needed labor at rates higher than market value;

          •       Dues moneys, agency fees, and per capita taxes for the Defendants and their
                  associates, including the SEIU International;

          •       Access to Plaintiffs’ private property;

          •       Control over Plaintiffs’ business assets in the form of participation in the
                  corporate governance process;

          •       Confidential business information; and

          •       Plaintiffs’ communication rights.

                  1.     The Transferable Nature of the Property Defendants Seek

          155.    Defendants did not engage in their vicious corporate campaign attacks merely to

   harm the Plaintiffs for no reason. Instead, Defendants at all times acted with pecuniary motive.

   They used the extortionate and other illegal tactics described herein in an attempt to obtain the

   above-described property for themselves and their associates. Each of these property rights

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   constitutes something of value that can be exercised, transferred, or sold. With respect to the

   demanded interests in property that are intangible, Defendants intended to obtain those rights in

   order to exercise them in a way that would profit Defendants and their associates financially.

           156.   All of the property demanded by Defendants is transferable from Plaintiffs to

   Defendants under well-settled principles of property, commercial, and contract law.               The

   property demanded is either: (1) money or another, similar tangible item, or (2) a right or legal

   interest in property that is intangible, but of a type: commonly bought and sold in exchange for

   money; licensed or assigned; or otherwise capable of passing from one person to another. Here,

   Defendants demanded a direct transfer of all of the listed tangible and intangible property from

   Plaintiffs to Defendants and their associates in the manner described below and in Plaintiffs’

   discovery responses to date, including but not limited to Plaintiffs’ First Supplemental Response

   to Defendants’ Interrogatory No. 13 (copy annexed hereto as Exhibit BBB) and the documents

   referenced therein.

                  2.      Money and Other Tangibles

           157.   Defendant NEHCEU’s collective bargaining demands require the transfer of

   substantial sums of money from Plaintiffs directly to Defendant NEHCEU and its associates.

   This money is in the form of Union dues paid directly from Plaintiffs to Defendants, increased

   wages    for   represented    members,     contributions    to   Defendant    NEHCEU’s        severely

   underperforming pension funds, payment of health plan fees and coverage costs, and

   contributions to the NEHCEU Training Fund, all of which infuse the Defendant NEHCEU and

   its various funds with more cash.

           158.   Defendant NEHCEU’s collective bargaining strategy also includes demands that

   Plaintiffs maintain staffing levels at their unionized facilities in Connecticut that are far in excess

   of the nurse-patient ratios needed to maintain patient and worker safety. As described above, the

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   staffing ratios to which Defendant NEHCEU has demanded Plaintiffs agree far outpace those

   required by Connecticut state law. In this way, Defendant NEHCEU has made demands that

   impose unwanted, unnecessary and superfluous labor on Plaintiffs.

          159.    A transfer from Plaintiffs to Defendants and their associates of substantial sums of

   money would also flow directly from recognition of UHWE as the exclusive bargaining agent for

   the employees in Plaintiffs’ non-unionized facilities. The moneys transferred would be similar to

   those transferred from Plaintiffs to Defendant NEHCEU in organized facilities: union dues to the

   UHWE; agency fees and per capita taxes to the SEIU; well as additional wages and benefits for

   unwanted, unneeded, and superfluous labor; additional pension fund contributions; additional

   fees for health plans, and contributions to the UHWE Training Fund.

          160.    The transfer of these moneys from Plaintiffs to Defendants, their pension funds,

   and their agents, is not hypothetical. It is instead the specific object of Defendants’ corporate

   campaign attacks and would result directly and proximately from Plaintiffs’ capitulation to

   Defendants’ contract and forced unionization demands.

                  3.      Access to Private Property

          161.    Plaintiffs have a well-established right to exclusive occupancy of their private

   property, a corresponding right to exclude others from their property, and the right to demand

   consideration in exchange for access to their property. The right of access is an interest that can

   be transferred via leasehold agreements, easements, and other similar rights of way. Defendants’

   various demands for property access – either to handle union affairs in unionized facilities or to

   accost Plaintiffs’ non-union employees into joining the Unions – are akin to demands that

   Plaintiffs transfer to Defendants a portion of Plaintiffs’ occupancy rights. This transfer is similar

   to the transfer involved in a rental agreement, except in this case Defendants have demanded



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   physical access to Plaintiffs’ property on their own, dictated terms and without payment of any

   “lease” or “rental” moneys to Plaintiffs.

                  4.      Control Over Use of Business Assets

          162.    Plaintiffs also have a long-recognized property right to exclusive control over the

   use of their business assets. Control over a business and a voice in the affairs of that business are

   transferable rights commonly bought and sold, such as the right to vote on matters of corporate

   governance and to share in business profits and losses. These rights are bought and sold in the

   form of Company stock, buy-in as a business partner, and the like.

          163.    Defendants demanded a transfer of Plaintiffs’ control over the use of their

   business assets similar to the transfer of control involved in the sale of an ownership interest in

   an existing business to a new business partner. Specifically, Defendants demanded the right to

   participate in significant business planning on issues having a direct impact on Plaintiffs’ profits

   and losses. Defendants’ objective, of course, was to secure a portion of Plaintiffs’ profits for

   themselves, except without having to invest anything of their own in order to gain entitlement to

   those profits. In essence, Defendants attempted to obtain these rights for free through their

   various demands and corporate campaign attacks.

          164.    The connection between Plaintiffs’ ability exclusively to control the operation of

   its business affairs, and Plaintiffs’ concrete profits and losses—as well as the allocation of profits

   between Plaintiffs on the one hand and Defendants and their associates on the other—is not

   attenuated or hypothetical. Causation is direct. Defendants had a specific pecuniary motive in

   demanding the transfer of control that necessarily results from unionization and collective

   bargaining concessions, which syphon substantial sums of money from Plaintiffs to Defendants.




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                   5.      Confidential Business Information

           165.    Confidential business information is a property right having objective and

   monetary value. It is commonly bought, sold, or otherwise transferred. Proprietary information

   demanded by Defendants, such as lists of, and contact information for, Plaintiffs’ non-union

   employees, is a property right that is capable of being sold, similar to the sale of lists of

   customers and contact information for solicitation purposes. Here, Defendants demanded that

   Plaintiffs transfer to Defendants and their associates, for free, confidential business information

   in the form of names and contact information for Plaintiffs’ non-unionized employees.

   Defendants did so with the specific intent to use this property for financial gain.

                   6.      Communication Rights

           166.    Communication rights are commonly transferred between people and entities.

   This is demonstrated by various types of contractual provisions requiring the silence of one or

   both parties, such as non-disparagement clauses, confidentiality clauses, and non-solicitation

   agreements. These types of obligations are often enforced through litigation and liquidated

   damages provisions, reflecting the concrete monetary value of the rights accorded through and

   protected by such transactions.

           167.    Defendant UHWE demanded transfer of control over Plaintiffs’ communications,

   like the right often transferred in confidentiality and noncompetition agreements, by demanding

   that Plaintiffs refrain from lawfully voicing their opinions related to labor unions generally and

   to the Defendant UHWE specifically during future organizing campaigns.                By demanding

   Plaintiffs’ silence and/or their affirmative statements of support for unionization, Defendant

   UHWE attempted to effectuate a transfer of control over this legal right to itself, with no intent to

   compensate Plaintiffs in return for transfer of the right. Defendant UHWE did so with the

   specific intent to exercise this right for its own financial gain.

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          E.      The Illegal Tactics Employed by the Unions

          168.    Defendants’ corporate campaign has utilized four (4) principal tactics: (1)

   engaging in vandalism and other criminal acts to endanger patients and disrupt Plaintiffs’ ability

   to provide quality services and bring about negative outcomes before the Connecticut regulatory

   authorities; (2) disseminating false, misleading, and defamatory information about Plaintiffs

   designed to dissuade patients, their family members, and referral sources from doing business

   with Plaintiffs; (3) publicly smearing Mr. Straus and his other businesses concerning items

   completely unrelated to any labor-related grievances; and (4) abusing the legal process on

   unrelated matters solely to drive up costs for Plaintiffs.

                  1.      Criminal Acts of Sabotage

          169.    On July 3, 2012, NEHCEU members employed by the Connecticut facilities

   managed by Plaintiff HealthBridge went on strike. In connection with the strike, at the direction

   of lead organizers employed by NEHCEU, employees committed numerous criminal acts that

   jeopardized the lives and safety of the elderly and frail patients of these facilities. These acts

   included but were not limited to the following:

          •       At the Newington Health Care Center, employees: (1) purposefully mixed up
                  names on patient’s doors for the Alzheimer’s ward and the photos attached to
                  their medical records, making it nearly impossible to identify and care for
                  patients; (2) removed dietary stickers which provided how patients could safely
                  be fed; (3) lost, hid, or stole all stethoscopes and blood pressure cuffs; (4)
                  vandalized half the building’s Hoyer lifts; (5) lost or stole patient safety lift
                  handles, pads and foot rests; (6) removed the label from a wheelchair; (7)
                  removed photos; (8) mismatched cushions; (9) removed labels from all of the
                  flow books; (10) placed screwdrivers in the ceiling tiles; and (11) removed June
                  2012 activities of daily living flow sheets.

          •       At the Danbury Health Care Center, employees: (1) dropped clean linens on the
                  floor; (2) placed patients’ clean personal laundry in the laundry chute; (3)
                  removed approximately 30 patients’ identification wristbands; (4) removed
                  patient identifiers from room doors and wheelchairs; (5) placed clean patient
                  safety lift pads and linens in garbage bags; and (6) tampered with washing
                  machine settings so that soap was not dispensed during wash.

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          •       At the Stamford facility, employees: (1) smashed a washing machine door; and
                  (2) removed a call-bell cord.

          170.    These acts of sabotage put the lives and safety of the patients at these facilities in

   grave danger. They delayed and disrupted the medical treatment for these patients and exposed

   these patients to injury and unsanitary conditions.         Moreover, they constitute attempted

   violations of Connecticut’s elder abuse statute, Conn. Gen. Stat. § 53a-320 et seq.

          171.    These acts of sabotage were authorized in advance by lead organizers employed

   by NEHCEU, who as a result came under criminal investigation by the Connecticut Chief State’s

   Attorney’s office. All of these lead organizers were acting on behalf of NEHCEU when they

   directed these acts of sabotage. Moreover, upon information and belief, these lead organizers

   were acting at the direction of NEHCEU, SEIU, and/or UHWE in furtherance of their campaign

   of extortion directed against Plaintiffs. Indeed, not only were the tactics employed by the

   strikers on July 3, 2012, consistent with acts of sabotage that occurred on the eve of prior

   NEHCEU strikes, these tactics are consistent with tactics employed by numerous SEIU locals

   following the Corporate Campaign Model.

          172.    In this regard, Defendant NEHCEU’s Bylaws specifically provide Union

   members may be disciplined for engaging in “conduct calculated to bring [the NEHCEU] into

   disrepute.” To Plaintiffs’ knowledge, not a single Union member has been charged under this

   section of Defendant NEHCEU’s Bylaws as a result of the blatant criminal activity engaged in

   during the strikes. The Bylaws themselves strongly suggest that Defendants authorized these

   actions. In fact, only the NEHCEU’s Executive Board may call for a strike and members may be

   punished for “refusing to participate in a duly organized strike or other collective job action.”

          173.    HealthBridge reported each of these incidents to the state and local authorities,

   including the Connecticut Department of Public Health and the Connecticut Attorney General’s


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   office. The Attorney General refused to offer meaningful assistance and directed HealthBridge

   to file separate police reports with local law enforcement authorities. Copies of these police

   reports are attached as Exhibit E. Then, on July 17, 2012, Attorney General George Jepsen

   walked the picket lines with striking employees. A day later the Attorney General recused

   himself from matters involving HealthBridge and NEHCEU, citing the apparent conflict of

   interest. Following Jepsen’s recusal and at Healthbridge’s request, the Connecticut Chief State’s

   Attorney opened a criminal investigation into the strike-related sabotage by NEHCEU members.

          174.    While the Chief State’s Attorney’s office, in a letter to Plaintiff’s counsel dated

   February 21, 2013, advised that it was unsuccessful in identifying the specific individuals

   responsible for these acts of sabotage, it was able to substantiate the allegations that “1) some

   patient nametags had been removed or switched; 2) some dietary restriction stickers had been

   removed or defaced; and 3) stethoscopes and sphygmomanometers had been misplaced.” Given,

   inter alia, the timing of the acts of sabotage in relation to the NEHCEU’s strikes, the similarity

   of these acts of sabotage to those that occurred on the eve of prior NEHCEU strikes, and the fact

   that striking NEHCEU members had exclusive access to the work areas where these acts of

   sabotage occurred, there can be no question that these acts of sabotage were carried out on

   Defendants’ behalf.

          175.    Despite the fact that Plaintiffs first reported these incidents on July 3, 2012,

   Deborah Chernoff, NEHCEU’s Communications Director, falsely claimed, in a Connecticut

   News blog that she posted on the Internet on July 20, 2012, that HealthBridge “staged” the

   sabotage to make the union look bad and falsely asserted that HealthBridge waited for “two

   whole weeks” after the sabotage to report the incidents. A copy of the blog post is attached as

   Exhibit F.



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          176.   Meanwhile, Ms. Chernoff knew full well that HealthBridge had not “staged” the

   sabotage.




          177.   Instead, NEHCEU ratified the misconduct.




          178.   These acts of sabotage are jarringly similar to those conducted by NEHCEU

   members during the 2001 strikes, making it all the more obvious that these acts were a

   coordinated effort orchestrated by the Defendants,



          179.   On the heels of these events, on August 23, 2012, Defendants bused

   approximately 100 members from Connecticut who were joined by several UHWE members to

   participate in a further public disruption targeting Plaintiffs’ headquarters in Fort Lee, New

   Jersey. In order to create maximum chaos and further Defendants’ extortionate goals, the

   protestors marched across the George Washington Bridge to get to Plaintiffs’ headquarters.

   Approximately 16 members of Defendants then gained unauthorized access to the building and

   attempted to confront Daniel Straus and other senior Care One and HealthBridge Management

   officials and present them with their extortionate demands, including their demand to continue

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   contributing to the NEHCEU’s underfunded pension. The police had to be called to remove the

   trespassers from the building.

                  2.     Abusing the Legal Process

                         a.         Interfering with Straus’s development projects in New York

          180.    Defendants have also attempted to compel agreement to their demands by

   disrupting and attempting to block a condominium development planned by JZS Madison, a

   company in which Daniel Straus has an interest. On October 18, 2011, Defendants attempted to

   block required approvals for the project by staging a satirical street theater performance and

   having members of Defendants protest outside the Landmark Preservation Committee hearing on

   the project at One Centre Street in New York City. Flyers calling the project a “DISRUPTIVE,

   TASTELESS, MONSTROSITY with the charm of a railroad boxcar” and promoting the COW

   website were distributed outside the hearing.        Attached as Exhibit G is a copy of the

   “DISRUPTIVE, TASTELESS, MONSTROSITY” flyer distributed outside the Landmark

   Preservation Committee hearing on October 18, 2011.

          181.    Another flyer, paid for by SEIU, NEHCEU and UnitedNY.org and distributed at

   the event, disparaged Daniel Straus’ development project, claiming that “[h]e can afford to put

   people before profits.” Attached as Exhibit H is a copy of the “99% of Americans are struggling

   but Daniel Straus is not one of them” flyer. Defendants also had former employees testify before

   the Committee. One former employee of a facility managed by HealthBridge and an agent of

   Defendants, who protested outside the Landmark Preservation Committee hearing, testified

   under oath that it was her understanding from one of the Defendants that “the purpose of going

   there was to block business activities of Mr. Straus.” Neither the protest nor testimony had

   anything to do with the merits of the project or anything germane to the Committee. Both were

   merely attempts by the Unions to interrupt and abuse the process, for the purpose of compelling

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   agreement to their demands or to cause Daniel Straus to suffer embarrassment, increased costs,

   delay and loss of the benefit of a substantial investment, for the ultimate purpose of enriching the

   Defendants.

                          b.      “Ten Taxpayer” Petitions in Massachusetts

          182.     In the Fall of 2011, several HealthBridge-managed facilities located in Brookline,

   Concord and Lexington, Massachusetts submitted Applications for Need with the Massachusetts

   Department of Public Health (“DPH”). These Applications for Need were filed to enable these

   facilities to complete necessary upgrades and renovations to provide better care for the patients

   in these facilities. The requested renovations include: (i) transitioning to electronic medical

   record systems to improve the quality of care and reduce the risk of medication errors, among

   other benefits; (ii) important upgrades to these facilities’ power generators and heating, air

   conditioning, and electrical systems; and (iii) other upgrades and renovations designed to

   enhance the safety and quality of life of these facilities’ patients and employees.

          183.     Seeking to apply additional pressure on Plaintiffs, Defendant UHWE attempted to

   interfere with HealthBridge’s planned facility improvements.         The Union filed three “Ten

   Taxpayer” petitions with the State to object to Healthbridge’s Applications. Attached as Exhibit

   I are letters from the Commonwealth of Massachusetts acknowledging receipt of the “Ten

   Taxpayer” petitions.

          184.     By filing Ten Taxpayer petitions, UHWE delayed the processing of the

   Applications for nearly a year, substantially increased the costs associated with the Applications

   for Need, created costly and unnecessary delays in their approval, and dissuaded potential

   patients from these facilities.   Hearings on the proposed applications, which generally are

   approved expeditiously, were significantly delayed, and the applications were not approved until

   January 2013.

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          185.    Moreover, as a consequence of these petitions, Applications for Need submitted

   by other HealthBridge-managed facilities in Massachusetts were also delayed.

          186.    UHWE candidly admitted to the governmental agency authorized to process the

   applications that it had no substantive objection to the Applications for Need. In fact, in an e-

   mail exchange and telephone conversation between September 20-24, 2012, Elisabeth L. Daley,

   UHWE’s Senior Research Analyst, openly admitted to HealthBridge’s outside auditor that the

   UHWE filed the “Ten Taxpayer” petitions in response to HealthBridge’s collective bargaining

   disputes with the NEHCEU. The UHWE representative stated that the UHWE would consider

   withdrawing its objections and request for a hearing if Plaintiffs would agree to the NEHCEU’s

   contract demands – including the demand that Plaintiffs help pay down the NEHCEU’s

   underfunded pension liabilities as part of its pattern contract – and if Plaintiffs would agree to

   remain “neutral” in response to efforts by the Defendants to organize non-unionized facilities

   managed by Plaintiffs. (See Exhibit K).

          187.    Since Healthbridge refused Defendants’ extortionate demands, Ms. Daley

   confirmed in her ominous email to DPH dated September 20, 2012 that UHWE intended to

   proceed with hearings on the baseless “Ten Taxpayer Petitions.” Thus, these petitions were

   admitted abuses of the legal process by Defendants that had no purpose other than to compel

   Plaintiffs’ agreement with Defendants’ demands by causing Plaintiffs to suffer increased costs,

   delay, the loss of the benefit of a substantial investment and, worst of all, the negative impact

   upon the quality of life of Plaintiffs’ patients and employees.

          188.    In fact, in staff summaries on the Determinations of Need dated December 12,

   2012, the Massachusetts DPH commented on the so-called “objections” raised by the UHWE as

   part of these “Ten Taxpayer Petitions,” and found them to be completely irrelevant to the

   Determinations of Need applications.

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   declaring a receivership over any of the HealthBridge-managed facilities. Upon information and

   belief, this receivership threat has been made at the behest of Defendant NEHCEU as part of

   Defendants’ corporate campaign against Plaintiffs.

                          d.     Baseless Claims to Connecticut Regulators

          197.    In February 2012, one or more of the Defendants sent a memo dated February 7,

   2012, authored by the SEIU’s Healthcare division, entitled “Questionable Medicare Billing

   Practices at Connecticut HealthBridge Nursing Homes,” to the office of U.S. Senator Richard

   Blumenthal. ” A copy of the Memo is attached as Exhibit L. Upon information and belief, the

   Unions sent this memo to Senator Blumenthal’s office via e-mail, fax, and/or U.S. mail.

          198.    The memo falsely accuses HealthBridge of engaging in fraudulent Medicare

   billing practices. The Unions claim that HealthBridge receives the highest standardized daily

   payment rate of any system in Connecticut, resulting in “over $15 million in potentially excess

   payments” from 2006-2010. (See Exhibit L at 1). It also alleges that HealthBridge receives $50

   more per patient per day from Medicare than the average Connecticut facility despite the SEIU’s

   conclusion that there is no significant difference in HealthBridge’s patients that could explain the

   “questionable billing.” (Id.) Following the Manual’s guidance yet again, the memo also raises a

   completely unrelated claim concerning another entity where Daniel Straus is also the Principal

   Stockholder and a Board member, Aveta, Inc. (the largest Medicare Advantage plan in Puerto

   Rico). (Id. at 2). The Memo falsely suggested that the existence of an investigation of the

   company necessitated a thorough investigation of management decisions at HealthBridge.

          199.    As a result, on February 22, 2012, at the behest of one or more of the Defendants,

   Senator Blumenthal authored a letter to the Hon Kathleen Sebelius, Secretary of the U.S.

   Department of Health and Human Services (copied to, among others, HHS Inspector General

   Daniel R. Levinson, and Attorney General Eric Holder), repeating almost verbatim the SEIU’s

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   allegations on the first page of the SEIU’s “Questionable Medicare Billing Practices”

   memorandum. Senator Blumenthal added that, “Initial inquiries made by my staff have led me

   to be concerned that this amount may be only a small fraction of potential overpayments

   occurring at HealthBridge, and its sister company, Care One, which operate more than 70

   nursing homes and other healthcare facilities in ten states around our nation.”    However, to

   Plaintiffs’ knowledge, Senator Blumenthal never directed any of these “[i]nitial inquiries” to

   Plaintiffs or anyone acting on behalf of Plaintiffs. Nonetheless, Senator Blumenthal urged

   Secretary Sebelius to “immediately audit HealthBridge's billing practices to Medicare, and take

   any necessary enforcement actions.”

           200.   On June 21, 2012, one day after Connecticut union members met to vote on a

   strike, one or more of the Defendants resent this memo to the Connecticut Department of Public

   Health, to the Connecticut Department of Social Services and, upon information and belief, to

   the U.S. Department of Health and Human Services - Office of Inspector General.           Upon

   information and belief, the Unions sent this memo to these agencies via e-mail, fax, and/or U.S.

   mail.

           201.   In addition, sometime prior to July 5, 2012, upon information and belief, one or

   more of the Defendants sent the “Questionable Medicare Billing Practices” memorandum to the

   offices of U.S. Congressman Chris Murphy, via e-mail, fax, and/or U.S. mail. As a result, on

   July 5, 2012, at the behest of one or more of the Defendants, Representative Murphy also

   authored a letter to Secretary Sebelius asking her to examine the billing practices of

   HealthBridge again repeating the SEIU’s allegations on the first page of its memorandum. Like

   Senator Blumenthal, Representative Murphy concluded his letter by urging Secretary Sebelius to

   conduct an audit of HealthBridge’s billing practices.



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          202.    Upon information and belief, and as a result of the Unions’ memo, the United

   States Attorney’s Office for Connecticut issued a subpoena to the HealthBridge managed facility

   River Glen Health Care Center (“River Glen”) seeking information concerning its billing

   practices. River Glen has expended a substantial amount of time and money in responding to the

   U.S. Attorney’s Office’s inquiry and that inquiry is ongoing.

                  3.      Dissemination of False and Misleading Information about Plaintiffs

          203.    Despite Plaintiffs’ laudable record for patient care, and consistent with the

   extortionate practices described in the SEIU’s Manual, Defendants have engaged in a

   coordinated scheme to disseminate false, fraudulent, and misleading information about Plaintiffs.

   Defendants have often disseminated this false and misleading information over through the wires

   (for example, by facsimile, by e-mail, over the Internet, and over the radio) and via U.S. mail, in

   furtherance of Defendants’ scheme to defraud described more fully in Section II.C above. Upon

   information and belief, Defendants engaged the services of Checkmate Consulting Group and




          204.    Defendants have engaged in this scheme of disseminating the false, fraudulent,

   and misleading information about Plaintiffs in furtherance of their larger corporate campaign

   objectives with the specific intent of discouraging the community, patients, potential patients,

   and their family members from doing business with Plaintiffs, and increasing the costs through

   frivolous filings, on the theory that such illegal tactics will eventually force them to accede to

   Defendants’ extortionate demands or force Plaintiffs out of business.

          205.    Not only were many of these false and misleading statements made in furtherance

   of Defendants’ scheme to defraud described more fully in Section II.C above, they were also in

   furtherance of Defendants’ efforts to extort Plaintiffs.

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          206.




          207.




                                                                               ”

                         a.     “Care One Watch” and “HealthBridge Watch” Websites

          208.   As described above, a central feature of Defendants’ illegal campaign includes

   dissemination of false, misleading, and/or incendiary allegations regarding Plaintiffs and Mr.

   Straus through websites called “CareOne Watch” (http://careonewatch.org/) and “HealthBridge

   Watch” (http://HealthBridgewatch.org) (hereinafter “COW”). While COW purports to be “a

   coalition of concerned citizens and nursing home caregivers dedicated to quality care and healthy

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   communities” and both sites are deceptively designed to look like a grassroots community effort,

   they are actually created by UHWE, NEHCEU, and/or one or more of the Non-Party

   Participants. The express purpose of the COW websites, as acknowledged by Defendants in

   internal e-mails, is to cause Plaintiffs’ customers to “reconsider” Plaintiffs’ nursing homes as a

   place for their loved ones.

          209.    The COW websites contain numerous false and misleading statements about

   Plaintiffs transmitted over the wires in furtherance Defendants’ scheme to defraud described

   more fully in Section II.C above. These attacks include:

          •       A page on the COW website entitled, “Who is in Charge at Care One Nursing
                  Homes,” citing alleged turnover at Care One-managed facilities, falsely and
                  misleadingly suggests that there is a quality-of-care problem at Care One facilities
                  by claiming that turnover in a nursing home’s administrator “has been linked to
                  quality-of-care deficiencies including higher rates of bed sores.” The page
                  concludes with: “Should we be concerned for our loved ones in Care One nursing
                  homes?” (See Exhibit M at 1).

          •       A page on the COW website entitled, “About CareOnewatch,” states that
                  “[o]verbilling and violations of labor law at Care One and HealthBridge facilities
                  may indicate a pattern of valuing profits above people.” The page makes the false
                  representation that the Plaintiffs have engaged in a “pattern” of “overbilling” and
                  have jeopardized the care of their patients. (See Exhibit M at 2).

          •       A page on the COW website entitled “Management Forces Concessions on
                  Caregivers” states that “HealthBridge chose to put quality of care at risk by
                  removing caregivers from the bedsides of their patients,” falsely suggesting that
                  HealthBridge left its patients uncared for when the union members elected to go
                  on strike. (See Exhibit M at 3-4).

          •       A page on the COW website entitled “Overbilling” advises customers to “Check
                  Your Bill!” and asks: “Have you or a loved one been overbilled at a Care One or
                  HealthBridge facility?” The page further implies that customers have suffered
                  “unexplained charges,” “charges for services you did not consent to or did not
                  receive,” “charges for equipment you did not receive,” “calculation errors,”
                  “sharp increases in charges from your previous bill,” “increase in charges for the
                  same or lesser services,” or “charges for services provided to another resident”
                  and provides a link for customers to “tell their overbilling story.” The only basis
                  cited for these inflammatory inquiries and implied accusations is a single alleged
                  billing issue at a single facility managed by Care One wherein no overbilling even
                  occurred. This page is designed to provoke a visceral reaction against Care One
                  and HealthBridge for alleged financial mismanagement and overbilling and to
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                  deter patients from using their facilities lest they be overcharged. This page is
                  extremely misleading and misrepresents the facts of one isolated alleged case at
                  an assisted living facility. In that instance, the resident involved required an
                  immediate change to a higher level of care. The family was informed, and while
                  at first there was a misunderstanding about the applicable charges for this higher
                  level of care, the bill was in fact 100% accurate and fair. (See Exhibit M at 5).

          210.    Contrary to these false and misleading statements on COW’s website, there is

   neither a quality-of-care problem nor an overbilling problem at facilities managed by Care One

   or HealthBridge. Nearly 60% more centers managed by Plaintiffs and their affiliates have been

   awarded Five Star or Four Star ratings from the Centers for Medicare & Medicaid Services than

   the average statewide. 94% of patients at facilities managed by Plaintiffs report high satisfaction

   with their rehabilitation program. Further, patients at facilities managed by Plaintiffs realized a

   90% discharge rate to their prior living situation following a sub-acute stay, versus an average of

   39.5% nationwide. They also realized 94.6% of goal in Functional Mobility and exceeded 100%

   of goal in Activities of Daily Living and Speech and Language. Facilities managed by Plaintiffs

   surpassed national averages on key quality measures, in some instances by over 50%. For

   example, they performed 52.5% better than the national average in annual quality surveys on

   keeping patients safe and secure in 2011. Moreover, the fall rate at these centers averaged 16.9%

   less than the national average in 2011.

          211.    Additionally, Plaintiffs coordinate and manage more than 120,000 claims for

   payment each year. Every bill is subject to a pre-bill validation and reconciliation process,

   involving up to four disciplines and up to 29 separate verifications. Financial statements for

   Plaintiffs’ facilities are certified annually by independent auditors for accuracy and compliance.

   Plaintiffs have never been cited by any consumer protection agency for billing errors.

                         b.      False and Misleading Print and Media Advertisements

          212.    In addition to the misinformation on the COW website, Defendants have

   distributed flyers and taken out media advertisements urging patients to check their bills, falsely
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   insinuating that patients of facilities managed by Care One and HealthBridge are regularly

   overbilled when they are not. Many of these advertisements have been transmitted over the mail

   and wires in furtherance Defendants’ scheme to defraud described more fully in Section II.C

   above.

            213.   For example, on or about September 17, 2011, Union organizers in Connecticut

   and New Jersey provided patients’ family members with a flyer inquiring whether they were

   “Overbilled at a Care One Facility?” and encouraging them to look for various errors in their

   Care One bills.     Upon information and belief, copies of these flyers were sent to family

   members of patients via U.S. mail. Copies of that same flyer were distributed to families of

   patients at some of the non-unionized facilities managed by Care One in New Jersey on

   November 4, 2011. Again, upon information and belief, copies of that flyer were sent to these

   family members of patients via U.S. mail. A copy of that flyer is attached as Exhibit N.

            214.   Despite the fact that NEHCEU does not represent any of the employees at any of

   the facilities managed by Plaintiff HealthBridge in Massachusetts, on November 17, 2011,

   NEHCEU sponsored an advertisement in the Boston Herald urging people to check their

   HealthBridge bills for overbilling, and listing each of HealthBridge-managed facilities in

   Massachusetts. Upon information and belief, one or more of the Unions disseminated this

   advertisement to the Boston Herald via e-mail, fax, and/or U.S. mail before the Boston Herald

   printed it.

            215.   On November 23, 2011, NEHCEU sponsored a similar advertisement in the

   Hartford Courant and Milford Mirror. On December 2, 2011, NEHCEU sponsored a similar

   advertisement in the Newington Town Crier, urging patients and their families to check their bill

   and directing them to HealthBridgeWatch.org for more information. Attached as Exhibits O, P

   and Q are copies of the November 17, 2011 Boston Herald, November 23, 2011 Hartford

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   Courant and Milford Mirror, and December 2, 2011 Newington Town Crier advertisements,

   respectively. Again, upon information and belief, one or more of the Unions disseminated these

   advertisements to these publications via e-mail, fax, and/or U.S. mail before these publications

   printed them.

          216.     As part of its media blitz, in or around November 2011, Defendants sponsored a

   radio advertisement in the New York metropolitan area, on CBS affiliate 880am, falsely stating

   that Care One and HealthBridge were engaged in overbilling the elderly.          In addition, an

   advertisement with the same content aired on New England Cable News (NECN). Several

   family members of patients heard these advertisements on or around November 22, 2011, and

   reported to Plaintiffs that they were upset by their content.

          217.     This “overbilling” smear campaign is intentionally false and deceptive because it

   is based on a single alleged miscommunication at one private pay assisted living facility

   managed by Care One in New Jersey (a facility in which Defendants do not represent any of the

   employees), when no such overbilling took place. The flyers and advertisements have been

   distributed far and wide. Defendants know they lack evidence of an overbilling problem at any

   of the facilities managed by Plaintiffs and are merely attempting to destroy public confidence in

   Plaintiffs and the facilities they manage.

          218.     In addition to the false representations on the COW website that the facilities

   managed by Plaintiffs were overbilling and jeopardizing the care of patients, Defendants

   distributed flyers with similar false and deceptive statements – carrying out the practice as

   suggested by the Manual – of scare tactics, fear-mongering and illegal behavior, including, but

   not limited to, the following:

          •        On April 6, 2011, a NEHCEU sponsored flyer entitled “BUSTED” was found at
                   the Danbury Health Care Center.     The flyer stated that “HealthBridge
                   Management / Care One LLC will do ANYTHING – even violate labor law-in

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                 their ruthless pursuit of more profit.” The flyer further “reported” that
                 HealthBridge / Care One accepts hundreds of millions of dollars in public funding
                 from Medicaid and Medicare and stated that “[t]hese dollars should be used for
                 patient care-not lining the pockets of the owners,” falsely and maliciously
                 suggesting that the Owners are engaging in Medicaid and Medicare fraud. The
                 flyer further stated that HealthBridge / Care One were “exploiting the elderly…to
                 boost their own bottom line.” On April 13, 2011, a similar “BUSTED” leaflet
                 was distributed outside HealthBridge’s Wethersfield, Stamford and Milford
                 unionized facilities. That same day, the “BUSTED” flyer was also distributed
                 outside HealthBridge’s Southbury non-unionized facility. The following day,
                 April 14, 2011, a similar “BUSTED” leaflet was distributed at the Westport
                 Health Care Center. Copies of the “BUSTED” flyer distributed at the
                 HealthBridge’s Danbury and Westport facilities are attached as Exhibits R and S,
                 respectively.

          •      As part of its scheme to instill fear in Plaintiff’s customers and the public, the
                 Defendants also sponsored “BUSTED” advertisements in various media
                 platforms. On April 6, 2011, the History Channel aired a television commercial
                 sponsored by Defendants that specifically named each of the HealthBridge’s six
                 unionized Connecticut facilities and alleged that there was poor quality of care at
                 those facilities. Defendants sponsored the television commercial again during a
                 baseball game on ESPN on April 10, 2011.

          •      Defendants also sponsored “BUSTED” advertisements in the Newington Town
                 Crier and the Stamford Advocate on April 8, 2011, suggesting that HealthBridge
                 was engaged in “scare tactics, fear-mongering and illegal behavior to get their
                 way.” A similar “BUSTED” advertisement appeared in the Danbury News-Times
                 around April 7, 2011. A copy of the “BUSTED” advertisement from the
                 Newington Town Crier is attached as Exhibit T.

          219.   Defendants used their rhetoric to increase the pressure on Plaintiffs by continuing

   to republish this inflammatory content by different means through multiple media outlets, to

   reach a wider audience. Many of these flyers and other statements were also transmitted over

   the mail wires in furtherance Defendants’ scheme to defraud described more fully in Section II.C

   above. For example:

          •      On May 2, 2011, NEHCEU distributed a brochure entitled “HealthBridge Nursing
                 Home Negotiations:        The Real Story—Demands Destroy Standards for
                 Caregivers and Patients” to Plaintiffs’ staff physicians, purporting to summarize
                 the status of the negotiations at the Danbury Health Care Center.           Upon
                 information and belief, NEHCEU disseminated this brochure over the Internet,
                 via facsimile, and/or by U.S. mail. The brochure included baseless accusations of
                 “reckless behavior” on the part of HealthBridge and claimed that they “continue[]
                 to violate both the law and all standards of human decency.” The back page of
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               the brochure further inaccurately suggests that resident care had suffered or was
               suffering with the section title “Cuts for workers = decline in quality care.” A
               copy of the “Real Story” brochure is attached as Exhibit U.

         •     NEHCEU repurposed and reused the content of the same brochure at the
               HealthBridge-managed Westport Health Care Center and Newington Health Care
               Center on or about May 13, 2011, when it distributed a brochure entitled “A
               Mother’s Day Message For Our Patients, Families and Friends From the
               Caregivers at Westport Health Care Center.” This Mother’s Day Message was
               designed to provoke anxiety and alarm concerning the baseless allegations of
               “reckless behavior” and substandard care that a reader would infer the
               HealthBridge provided. A copy of the “Mother’s Day Message” is attached as
               Exhibit V.

         •     On or about December 16, 2011 NEHCEU distributed a flyer at the HealthBridge-
               managed Danbury, Connecticut facility entitled “What Kind of Employer Locks
               Out Trusted Caregivers And Leaves Patients Alone With Strangers on
               Christmas?” inviting recipients of the flyer to “Call HealthBridge …Tell them
               that stable care comes from stable caregivers.” A copy of this flyer is attached as
               Exhibit W. Without justification, this flyer recklessly and falsely suggests that
               HealthBridge provides substandard care to its patients.

         •     On December 19, 2011, NEHCEU issued an invitation to a Candlelight Vigil,
               which stated that HealthBridge was “forcing caregivers into the cold and leaving
               patients alone with total strangers 12 days before Christmas.” To further incite
               sympathy and fear, the flyer intimated that HealthBridge had “put our frail and
               elderly at risk.” A copy of the Candlelight Vigil invitation is attached at Exhibit
               X.

         •     On February 8, 2012, residents of the town of Milford, Connecticut received a
               flyer designed to provoke fear and distrust. The flyer sought a Milford citizens
               call to action and declared as its central premise that “RESIDENTS ARE AT
               RISK.” The flyer falsely claimed that “The Residents at West River Health Care
               Center are in Real Danger and in the Hands of Strangers…,” that patients were
               “being dropped on the floor,” and that “wrong medications given – patients
               hospitalized.” The flyer provided contact information for the local mayor, state
               senator, state representative, congresswoman, and a United States senator. Along
               with that flyer, patients received a NEHCEU flyer purporting to provide a status
               update on negotiations that again denounced the quality of care given by
               “strangers” to nursing home patients. Upon information and belief, Defendants
               distributed these flyers via U.S. mail to Milford citizens’ homes. A copy of the
               “PATIENTS ARE AT RISK” and status update flyers are attached as Exhibit Y.

         •     In February 2012, Defendants distributed a flyer at an open house at a non-union
               facility in Morris, New Jersey managed by Care One. This flyer falsely suggests
               that high levels of administrator turnover at Care One’s facilities led to “higher
               rates of catheterization, pressure sores, psychoactive drug administration, and
               more quality-of-care deficiencies” and directed those concerned to the COW
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                 website for more information. A copy of the “Who’s in charge?” flyer is attached
                 as Exhibit Z. A billboard truck carrying a similar message was driven in front of
                 several facilities managed by Care One, as discussed infra.

          •      On May 2, 2012, NEHCEU issued a press release in which its President David
                 Pickus falsely and defamatorily accused HealthBridge of showing willingness to
                 “destroy workers’ lives and sacrifice the quality of care for the frail elderly
                 entrusted to their care, all to increase investors’ profits” and, without any basis,
                 claimed that HealthBridge was “siphoning off millions of taxpayer dollars in
                 Medicaid and Medicare reimbursement for elder care.” A copy of the press
                 release is attached as Exhibit AA.

          220.   On or about July 4, 2012, NEHCEU sponsored a flyer entitled, “Thinking about

   Where to Turn for your loved ones” aimed at HealthBridge’s Westport Health Care Center in

   Westport, Connecticut.    The flyer incites fear by making unfounded claims that “[d]uring

   negotiations this corporation repeatedly exploited the concerns of nursing home patients and

   their families, just so they could maximize their bottom-line profits-at workers’ expense.” A

   similar flyer was distributed near HealthBridge’s West River Health Care Center the next day, as

   well as at the Milford Post Mall on July 17, 2012. Attached as Exhibit BB is a copy of the flyer

   entitled, “Thinking about Where to Turn for your loved one’s.”

          221.   Also on July 17, 2012, NEHCEU sponsored a similar flyer aimed at family

   members of patients at the Newington Health Care Center.          This flyer questions whether

   HealthBridge can be trusted “to care for your loved ones” in Newington or at any facility and

   suggests that replacement workers are “strangers, creating fear, mistrust and uncertainty about

   the future of resident care.” Attached as Exhibit CC is the flyer titled “Who should you trust to

   care for your loved ones?”

          222.   On July 30, 2012, NEHCEU posted a headline on the social media Internet site,

   Facebook, entitled, “Did ‘replacement’ care lead to one resident’s death at a HealthBridge

   nursing home?” (https://www.facebook.com/NEHCEU1199/timeline?filter=3). A screenshot of

   the Facebook post is attached as Exhibit DD. NEHCEU’s Facebook post links to a newspaper

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   story with a different headline. The text of the story neither states nor implies that replacement

   care led to a patient’s death.     Accordingly, the NEHCEU post is false, defamatory, and

   intentionally deceptive. It is designed to erode public confidence in the Plaintiffs and the

   facilities they manage.

          223.    In or around September 2012, the NEHCEU sent to multiple people via U.S. mail

   a flyer that warned, “It might be time to think twice about West River Health Care Center … or

   any HealthBridge facility.” In this flyer, NEHCEU falsely claimed that replacement workers at

   the facility created “fear, mistrust and uncertainty about the future of resident care.” A copy of

   this mailer, which was received at the Westport and West River Health Care Center on or around

   Septembe 11, 2012, is attached as Exhibit TT.

          224.    The Unions’ tactics did not stop even after Plaintiffs filed this action.

   Commencing in or around December 2012, the Unions began an offensive in which they

   disseminated false and misleading statements over the mail and wires, in furtherance of the

   scheme to defraud described more fully in Section II.C above, falsely suggesting that the quality

   of care at Plaintiffs’ facilities was deficient because these facilities allegedly administered anti-

   psychotic drugs at rates higher than state and national averages. These false and misleading

   statements included, but were not limited to, the following:

          •       An article posted on the COW website on or around December 14, 2012 (attached
                  as Exhibit UU), describing supposedly high rates of anti-psychotic drug use at
                  HealthBridge and Care One-managed facilities in Massachusetts, Connecticut,
                  and New Jersey, including: Holyoke Rehabilitation Center; Lowell Health Care
                  Center; Newton Health Care Center; Highlands Health Care Center; Care One at
                  Madison Avenue.

          •       An advertisement sponsored by UHWE and published in the Cheshire Herald on
                  December 18, 2012 (attached as Exhibit VV), entitled, “Is HealthBridge Giving
                  Your Loved Ones Antipsychotic Drugs?” describing supposedly high rates of anti-
                  psychotic drug use at Danbury Health Care Center and “other homes run by
                  HealthBridge.”


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         •     A nearly identical advertisement sponsored by UHWE and published in the Boston
               Globe on December 18, 2012, describing supposedly high rates of anti-psychotic
               drug use at Holyoke Rehabilitation Center, Lowell Health Care Center, Newton Health
               Care Center, and other HealthBridge-managed facilities.

         •     A similar advertisement sponsored by UHWE and published in the Bergen
               Record on December 23, 2012 (attached as Exhibit WW), entitled “Is Care One
               Giving Your Loved Ones Anti-Psychotic Drugs?” describing supposedly high rates
               of anti-psychotic drug use at Care One at Madison Avenue and Somerset Valley
               Rehabilitation Center.

         •     A similar advertisement sponsored by UHWE and published in the Hartford
               Courant on December 30, 2012 (attached as Exhibit XX), describing supposedly
               high rates of anti-psychotic drug use at Danbury Health Care Center.

         •     Radio advertisements sponsored by UHWE and/or NEHCEU on or about
               December 18, 2012, played on radio station 93.1 WHYN, describing supposedly
               high rates of anti-psychotic drug use at HealthBridge and Care One-managed
               facilities.  UHWE and NEHCEU also published audio files of these
               advertisements on the COW website. (See Exhibit UU).

         •     A radio commercial sponsored by UHWE that aired on February 1, 2013, on
               Radio 101.5; another radio commercial sponsored by UHWE that aired on Radio
               1010 WINS on February 4, 2013; and another radio commercial sponsored by
               UHWE that aired on KC 101 on February 4, 2013; describing supposedly high
               rates of anti-psychotic drug use in dementia patients at Care One at Madison.

         •     A full page advertisement sponsored by UHWE and published in the February 28,
               2013 issue of the Cheshire Herald, describing supposedly high rates of anti-
               psychotic drug use at The Highlands Health Care Center.

         •     Another full page advertisement sponsored by UHWE and published in the
               Hartford Courant on March 2 or 3, 2013, describing supposedly high rates of anti-
               psychotic drug use at The Highlands Health Care Center.

         •     Another full page advertisement sponsored by UHWE and published in the
               Boston Globe on March 3, 2013, describing supposedly high rates of anti-psychotic
               drug use at HealthBridge-managed facilities.

         •     Another full page advertisement sponsored by UHWE and published in the
               Bergen Record on March 3, 2013, by describing supposedly high rates of anti-
               psychotic drug use at Plaintiffs’ facilities.

         •     A link on NEHCEU’s Facebook page, placed by NEHCEU on March 6, 2013,
               (https://www.facebook.com/NEHCEU1199/photos), linking to some of the
               aforementioned advertisements relating to anti-psychotic drug use at Plaintiffs’
               facilities.
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          225.




          226.    Defendants’ statements regarding anti-psychotic drug use at Plaintiffs’ facilities

   are false and misleading and are in furtherance of Defendants’ overall scheme to defraud

   described more fully in Part III.B. Moreover, as described above, Defendants disseminated these

   statements using the mail and wires, including, but not limited to: in text and audio format on

   the COW website (see Exhibit UU); in radio advertisements; on NEHCEU’s Facebook page;

   and, upon information and belief, by sending the print advertisements described above via e-

   mail, fax, and/or U.S. mail to the newspapers that printed them.

          227.    The Defendants’ pattern of racketeering activity continues to this day.         For

   example, in November 2013, the Defendants engaged in another offensive using the mails and

   wires in which they continued to falsely impugn the quality of care at Plaintiffs’ facilities based

   on allegedly low staffing levels. These false and misleading statements have included, but are

   not limited to, a full page advertisement sponsored by UHWE and published in the Hartford

   Courant on November 17, 2013, entitled, “HealthBridge Nursing Homes Employing Enough

   Care Givers for our loved ones?” (copy attached as Exhibit YY), falsely claiming that staffing

   levels are below state and national averages.        Defendant UHWE sponsored very similar


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   advertisements published in the Boston Globe and Star Ledger on or about November 17, 2013.

   Again, upon information and belief, one or both Unions sent these advertisements via e-mail,

   fax, and/or U.S. mail to the newspapers that printed them. The UHWE and NEHCEU posted a

   similar article on the COW website on or about November 17, 2013 (copy attached as Exhibit

   ZZ).

                  c.     False and Misleading Statements on Traveling Billboards

           228.   The Unions have also engaged in their pattern of disseminating false and

   misleading information about Plaintiffs by hiring trucks – in at least some cases driven by non-

   union drivers – displaying billboards containing false and misleading information about the

   Plaintiffs.

           229.   For example, in or around November 2011, the Unions hired a billboard truck to

   drive throughout Connecticut and New Jersey and display the “overbilled” message outside

   facilities managed by Plaintiffs. The billboard also directed the public to the COW website.

   That truck was spotted in front of the Highlands Health Care Center on November 18, 2011, and

   was at each of the Connecticut facilities managed by HealthBridge – both union and non-union –

   over the course of the next several days following the November 18th sighting.

           230.   In or around May 2012, the Unions hired additional trucks containing the

   billboard entitled, “Who’s in Charge at HealthBridge Nursing Homes?” The billboard suggested

   that substandard care at HealthBridge facilities led to “higher catheterization rates, bed sores”

   and other deficiencies. This billboard truck was at HealthBridge’s Wethersfield Health Care

   Center in Wethersfield, Connecticut on May 1, 2012.

           231.   The same or a similar billboard truck was outside HealthBridge’s West River

   facility in Milford, Connecticut on May 2, 2012; at its River Glen facility in Southbury,

   Connecticut on May 3, 2012; at its Westport Health Care Center on May 4, 2012; and at its

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   Newington facility on May 9, 2012. These billboards falsely and maliciously insinuate that

   administrator turnover at the HealthBridge-managed facilities has led to chaos and poor care.

   Attached as Exhibit EE is a photo of this truck. In fact, Defendants know that they lack any

   evidence of substandard care linked to administrator turnover and are merely attempting to

   destroy public confidence in HealthBridge and the facilities it manages.

          232.    In or around August 2012, the Unions again hired billboard trucks to park at or

   near facilities in New Jersey managed by Care One. The billboards attempt to dissuade patients

   and their family members from doing business with Care One by falsely insinuating that Care

   One-managed facilities provide low-quality care. For example, one billboard asks, “Should we

   be concerned for our loved ones in Care One nursing homes?” The only evidence cited for such

   concern is an incident that allegedly occurred at a North Carolina facility managed by an affiliate

   of Plaintiffs, but the billboard implies that “quality of care problems” are prevalent throughout

   “all” of Plaintiffs operations. The billboard directs viewers to the COW website for additional

   information.

          233.    On August 8 and 9, 2012, a truck displaying this billboard message was parked

   outside Care One’s headquarters in Fort Lee, New Jersey.             Attached as Exhibit FF is a

   photograph of the billboard truck. On August 10, the same or similar billboard sign trucks were

   parked outside Care One’s Moorestown and Hamilton, New Jersey facilities.             Attached as

   Exhibits GG and HH are photos of these billboard sign trucks seen outside the Moorestown and

   Hamilton facilities, respectively. The billboards are designed to evoke a visceral reaction against

   doing business with Care One and HealthBridge despite the absence of evidence of poor-quality

   care at any of the facilities at which the billboard is displayed.

          234.    In addition to the defamatory content of the billboards, the trucks intentionally

   impeded Care One and HealthBridge’s businesses by trespassing on the property of the facilities

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   it manages, blocking access to the facilities, and forcing residents and visitors to park in fire

   lanes and/or away from the facility on certain occasions. For example, on August 10, 2012, the

   driver of the billboard truck parked outside of the Hamilton facility obstructed traffic, interfered

   with parking the facility, and forced some visitors to park in the fire zone. The police were

   called after the driver refused to move when asked to do so by the Administrator. Upon the

   arrival of the police, the driver confirmed that he was a non-union driver employed by “Gorilla

   Trucking Company” located in southern New Jersey. He stated that drivers employed by his

   company had been ordered to stay in front of specific Care One sites for one hour and then move

   on to the next site, and he had one more Care One site to visit that day.

          235.    On August 23, 2012, Defendants again unleashed their COW billboard trucks

   carrying the billboards asking “Should we be concerned for our loved ones in Care One nursing

   homes?” and deceptively suggesting that Care One has prevalent “quality of care problems” that

   put patients in “immediate jeopardy.” This billboard was seen at various locations throughout

   northern New Jersey on August 22nd, 23rd and 24th, 2012. A photograph of the billboard truck is

   attached as Exhibit HH.

          236.    Commencing on or around December 17, 2012, Defendants unleashed billboard

   trucks carrying the above-described advertisements falsely suggesting that the quality of care at

   Plaintiffs’ facilities was deficient because these facilities allegedly administered anti-psychotic

   drugs at rates higher than state and national averages.         Billboard trucks containing such

   advertisements were seen at various locations throughout New Jersey, Connecticut, and

   Massachusetts, including:

          •       On December 17, 2012, at the Woodcrest Healthcare Center in New Jersey;

          •       On February 26, 2013, again driving past the Woodcrest HealthCare Center in
                  New Jersey;


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          •       On February 27, 2013, at Lexington Health Care Center in Massachusetts;

          •       On March 3, 2013, across the street from The Highlands Health Care Center in
                  Connecticut

          •       On Wednesday, March 6, 2013, parked near the front entrance of the Weymouth
                  Health Center in Massachusetts

          •       On March 7, 2013, and at least one other time that week, parked at the Lowell
                  Health Care Center in Massachusetts

          237.    None of the false or misleading statements disseminated by Defendants are

   motivated by legitimate concern for patient care or well-being. Rather, their purpose is to

   deceive the community, patients, prospective patients, and their family members into thinking

   that facilities managed by Plaintiffs are unsafe and/or run improperly so that all of the facilities

   will lose money and be forced to accede to Defendants’ extortionate demands or be driven out of

   business.

                  4.      Attacks on Mr. Straus

          238.    In an effort to place additional pressure on Plaintiffs, Defendants have targeted

   Mr. Straus for personal attacks designed to embarrass him, invade his privacy, and impede his

   business ventures completely unrelated to Plaintiffs.

          239.    For example, a page on the COW website entitled “Bad Neighbors?” focuses on a

   Manhattan development planned by JZS Madison, a company in which Daniel E. Straus has an

   ownership interest.   The page claims that “neighbors and representatives of neighborhood

   community groups” have unidentified “concerns” with the project. Without any factual basis,

   the page insinuates that there is something wrongful or nefarious about the project. It is designed

   to discourage members of the public from doing business with Daniel Straus or Plaintiffs. A

   copy of the page is attached as Exhibit II. The Defendants have also distributed flyers and other

   materials to the same effect and enlisted their members in a campaign to sabotage Daniel Straus’


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   unrelated businesses, and to force him to have Plaintiffs accede to their demands in bargaining or

   be deprived of the benefits of his substantial investment in JZS.

             240.   Defendants have also sought to embarrass Mr. Straus, who served as a trustee of

   NYU Law School, by disparaging him in front of the NYU community. A page on the COW

   website entitled “Institute for Injustice” promoted a demonstration conducted by the Defendants

   and others outside NYU Law School on September 8, 2011. At the event, performers staged a

   mock opening of the “Straus Institute for Worker Injustice,” contending that it was replacing the

   presently named Straus Institute for the Advanced Study of Law and Justice, which is endowed

   by Daniel Straus. The Defendants further attempted to shame Daniel Straus by distributing

   flyers welcoming people to the newly-named facility. Attached as Exhibit JJ is a copy of the

   “Welcome to the Straus Institute for Worker Injustice” flyer distributed at the event. According

   to the page on COW’s website, “[o]ne performer proposed to do a project on how to get workers

   to work for longer hours with less pay. ‘Free no-doze and Red Bull for everyone,’ she said.

   Another suggested cutting staffing ratios because, ‘What nursing home resident needs more than

   30 seconds of care in a day?’ She explained how to best fire workers without getting in trouble –

   ‘You just hire them back at lower wages!’” The page claims that the performance “drew largely

   from real occurrences in the nursing homes.” Thus, the page falsely charges that Care One and

   HealthBridge provide low-quality service that endangers the lives of their patients. The page is

   designed to discourage members of the public from doing business with Plaintiffs or Daniel

   Straus.

             241.   Following their attack on Mr. Straus at NYU on September 8, 2011, the Unions

   distributed a flyer describing its efforts to publicly denigrate him and the Institute for the

   Advanced Study of Law & Justice at NYU that he endowed. The Unions acknowledged that they

   “distributed leaflets to passing NYU students, tourists and neighbors” to attempt to dissuade

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   them from supporting the Institute. In the September 8, 2011 flyer, the Unions revealed that

   their true motive and plan was that it was going to continue the campaign of extortion against

   Plaintiffs and Mr. Straus in any way that they could, including lodging accusations at Mr.

   Straus’s entirely unrelated business ventures until they forced the Plaintiffs to accede to their

   demands. The flyer stated that the Unions were “taking this fight to them, wherever they

   are.” (emphasis in original). A copy of this flyer is attached as Exhibit KK.

          242.    On September 24, 2011, NEHCEU President David Pickus emailed Straus

   Institute Fellows, explaining why Defendants staged the “Welcome to the Straus Institute for

   Worker Injustice” event in an attempt to further embarrass Straus in front of esteemed NYU

   officials. Again following the Manual’s suggested extortion procedures, on October 30, 2011,

   David Pickus emailed Straus Institute Fellows, requesting that they use their position of

   influence (albeit entirely unrelated to the on-going labor negotiations between Defendants and

   Plaintiffs) to contact Daniel Straus about Defendants’ disputes with Plaintiffs. Both emails to the

   Straus Institute Fellows contained false, misleading, and defamatory information about Plaintiffs

   designed to gain sympathy and assistance from high-ranking officials in the NYU community.

   For example, both emails referenced LPNs in New Jersey who allegedly were wrongfully

   terminated for standing up for their patients and themselves, when in fact, LPNs like Jillian

   Jacques were terminated for grave errors in patient care. This was in furtherance of Defendants’

   corporate campaign described throughout this Complaint. It was also transmitted over the wires

   in furtherance of Defendants’ scheme to defraud described more fully in Section II.C above.

          243.    The Defendants repeated their threats in a document entitled, “1199 Nursing

   Home Contract Update,” discussing the status of NEHCEU’s new contracts with other nursing

   homes in Connecticut. In that publication issued on October 18, 2011, NEHCEU confirmed that

   it was building support for its campaign “among family members, patients and local clergy and

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   elected officials, isolating HealthBridge and demanding that they follow the pattern” set in other

   nursing homes. A copy of this publication is attached as Exhibit LL.

          244.    On January 30, 2012, Defendants coordinated a street performance of “Sheriff

   99% and the 1% Corporate Outlaw” outside NYU law school. At the event, members of the

   Unions, students and street performers ominously announced a “manhunt” against Daniel Straus,

   handing out flyers and displaying posters that “NYU Law School Trustee and Corporate Outlaw

   Daniel Straus” was “Wanted for Corporate Greed & Robbing Workers of Their Rights.”

   Attached as Exhibit MM is a copy of the “Wanted for Corporate Greed & Robbing Workers of

   Their Rights” flyer.

          245.    The Defendants have worked in concert with NYU students, including members

   of the Student Labor Action Movement, Law Students for Economic Justice and NYU for

   Occupy Wall Street to advance their agenda. For example, NYU students worked in tandem

   with the Defendants in providing pre and post-promotion of the “manhunt” event. On January

   29, 2012, NYU for Occupy Wall Street, a student group that worked in concert with the Unions

   on numerous occasions, issued a press release promoting the event, which contained a number of

   links to the NEHCEU’s website. On January 31, 2012, the NYU Local, a pro-union student

   blog, published an article entitled, “Sheriff 99% And The 1% Corporate Outlaw: NYU Law

   School,” further advancing the Unions’ agenda.

          246.    Approximately 50 NEHCEU and UHWE members protested alongside students

   near NYU Law School on July 25, 2012. During the protest, an undergraduate student delivered

   a letter on behalf of NEHCEU to Professor J.H.H. Weiler, Director of the Straus Institute,

   seeking to induce HealthBridge to continue paying into NEHCEU’s severely underfunded

   pension plan and stating,” [w]hile caregivers are seeing $30 million in wages, pensions and

   health benefits destroyed, their boss continues to endow NYU Law with money unlawfully taken

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   from their pockets.” Attached as Exhibit NN is a copy of the Appeal to Prof J.H.H. Weilman,

   Director of the Straus Institute delivered on July 25, 2012.

          247.    The Defendants have also enlisted NYU students to support their effort to have

   NYU remove Mr. Straus from his position as a trustee at NYU Law School. In a February 12,

   2012 email sent to the Law Students for Economic Justice distribution list, a representative of the

   student organization solicited help “[o]btaining the by-laws regarding the process by which

   trustees are appointed to the NYU law school board.” The email alleges that “Care One has been

   engaging in some pretty terrible union-busting tactics” and offers to put interested parties “in

   touch with our contacts at SEIU 1199, who is organizing the labor force.”

          248.    In furtherance of the Unions’ objective to remove Straus as a trustee, on March

   19, 2012 the NYU Local published a union-friendly article “Know Your Trustees: Daniel E.

   Straus.” The article is eerily similar to the propaganda promulgated by the Unions in their

   crusade against Plaintiffs. For example, the article misrepresents the aforementioned termination

   of employees in Care One’s New Jersey facilities. The article also falsely reports of “inaccurate

   medications and stress resulting from the replacement of familiar comfortable caregivers with

   temporary labor,” without providing any basis for such reports. On March 26, 2012, NEHCEU

   provided a link to the article on its Facebook page.

          249.    An NYU student group, the Law Students for Economic Justice, subsequently

   petitioned the law school to oust Daniel Straus from its board. In fact, when Mr. Straus

   announced on May 1, 2014, that he was stepping down from the Board, NEHCEU President

   David Pickus publicly hailed this action as a “victory” for the Defendants. The Defendants’

   efforts to remove Mr. Straus as a trustee of NYU Law School is another example of their

   willingness to use any means to compel Straus and Plaintiffs to cede to unionization and

   negotiation extortionate demands.

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           250.




                                                             .

           251.    In addition, in the Fall of 2012, the SEIU, the UHWE, and the NEHCEU

    cooperated on a campaign of disparaging radio advertisements in Puerto Rico targeting Aveta,

    Inc. and MMM, unrelated businesses owned by Daniel Straus. The goal of this campaign,

    according to one of the SEIU’s directors, was not to obtaining legitimate labor goals, to carry out

    the specific and illegitimate purpose of harming Aveta and MMM.

                   5.     Defendants’ Efforts to Conceal their Misconduct

           252.




           253.




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           257.    Set forth below are descriptions of several of Defendants’ attempts to extort other

    various forms of property from other employers:

                   1.      Beth Israel Deaconess Medical Center

           258.    Beth Israel Deaconess Medical Center (“BIDMC”) is a major teaching hospital

    located in Boston, MA. In or around October 2008, Defendant UHWE launched a corporate

    campaign against BIDMC in an effort to extort the hospital into a forced unionization agreement.

           259.    Following the SEIU’s standard corporate campaign modus operandi, Defendant

    UHWE’s campaign, which it called “Eye On BI,” involved widespread publication of negative

    and baseless information about BIDMC over the internet, and through protests and media events.

    Most of the Eye On BI campaign conduct and its associated allegations and complaints, on their

    face, were completely unrelated to union or labor issues such as wages and conditions of

    employment. The union’s purpose in conducting their attacks and publicizing these tangential

    concerns was not to promote any change with respect to the actual issues addressed, but to

    disparage BIDMC and impose such a high cost on BIDMC’s operations that it would have no

    choice but to cede to Defendant UHWE’s unionization demands.

           260.    In furtherance of its corporate campaign, Defendant UHWE launched a website

    called www.EyeOnBI.org, the content of which was devoted almost exclusively to the

    disparagement of BIDMC. On this website, Defendant UHWE makes many outrageous and

    baseless claims against the hospital administration, including allegations the hospital overcharges

    patients, taxpayers, state and federal governments, fails to offer charitable care to the poor, and

    suffers from “serious patient care issues.”

           261.    Defendant UHWE’s slanderous website postings also contain accusations that:

    (a) certain hospital departments are without “permanent leadership,” which has led to “serious

    patient care problems;” (b) the hospital inappropriately charges a “late night” ER fee; (c)

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    BIDMC runs the most expensive ER for medicare in all of Massachusetts; and (d) BIDMC

    overcharged Medicare in 2005 – an accusation the Defendants have hurled at Plaintiffs. The

    website also includes personal attacks against then CEO Paul Levy.

           262.    In addition to this website, Defendant UHWE leveled these same public

    disparagements through the use of other multi-media ads, including radio, television, and print as

    well as billboard and bus shelters. For instance, Defendant UHWE published full page ads in

    various newspapers claiming that BIDMC had a higher readmission rate than the national

    average – this accusation was made with the intent of frightening the public about trusting their

    healthcare to BIDMC. Defendant UHWE also publically questioned the quality of BIDMC’s

    patient care and its commitment to follow-up care after discharging patients from the hospital.

    All of these public statements and efforts to publically disparage BIDMC were calculated to hurt

    BIDMC financially, embarrass its senior executives, and turn public sentiment against the

    hospital in order to force BIDMC to unionize its employees and pay the monies associated with

    unionization including dues, higher wages and pension payments.

           263.    Defendant UHWE, through some or all of the conduct described above, engaged

    in acts or threats involving extortion and/or attempted extortion chargeable under State law and

    punishable by imprisonment for more than one year, at least including, but not limited to, Mass.

    Gen. Laws. Ch. 265 § 25.

                   2.     Yale-New Haven Hospital

           264.    Yale-New Haven Hospital (“Y-NH”) is part of the Yale University hospital

    system and is located in Southern Connecticut.       For over ten years, Defendant NEHCEU

    engaged in a relentless corporate campaign against Y-NH in an effort to force the hospital into

    unionizing its employees with Defendant by giving up its rights under the NLRA and agreeing to

    card check and neutrality.

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           265.   In furtherance of its corporate campaign, Defendant NEHCEU filed or caused to

    be filed baseless lawsuits and regulatory actions against Y-NH. For instance, in 2003, Defendant

    SEIU filed a lawsuit against Y-NH for allegedly overcharging low-income patients and

    “harassing” them to pay their bills. The Union also publically claimed that despite Y-NY having

    “free-care funds” available to low income individuals, the hospital “has hidden these funds from

    those who need them.” In 2004, Defendant NEHCEU filed a complaint with the Occupational

    Safety and Health Administrator (OSHA) challenging the hospital’s selection of safety syringes.

    Defendant NEHCEU accused Y-NH of making its selection of safety syringes based on a

    restrictive buying agreement with a Group Purchasing Organization (GPO).             The Union

    criticized Y-NH for not having based its decision on employee feedback.

           266.   In 2004, Defendant NEHCEU also took egregious measures to block N-YH’s

    attempted construction of a $430,000,000 cancer center. The center, which represented the most

    comprehensive cancer center of its kind in New England, was designed to consolidate cancer

    services into a central location and establish Y-NH as a major force in cancer research. Caring

    nothing for the fact that its obstructionism might prevent the delivery of cancer treatment

    services to patients in the New Haven area, Defendant NEHCEU cynically used the cancer

    center project as leverage to bludgeon Y-NH into recognizing the Union as the exclusive

    bargaining agent of Y-NH’s 1,800 hospital workers. In doing so, Defendant NEHCEU created

    fake issues to block approval of the project. It raised concerns with neighborhood parking,

    criticized employee hiring and training proposals, and advocated for zoning amendments that

    would have imposed such high costs on the project that it would not have been financially viable.

           267.   Defendant NEHCEU also used surrogates to increase the pressure on Y-NH’s

    project. For instance, the Union solicited the assistance of U.S. Representative Rosa DeLauro

    (D-Conn.) and Representative George Miller of California to pressure on Y-HN. Rep DeLauro

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    and Miller held “hearings” in New Haven purportedly to “learn” from the workers at Y-NH

    about their difficulties in securing unionization.

           268.    At the direction of Defendant NEHCEU, surrogate Community Organized for

    Responsible Development (“CORD”) held public rallies demanding that the hospital contribute

    money to housing, job training and youth recreation needs to compensate the community for the

    development of the proposed cancer center. CORD also publically demanded free parking and

    higher wages for future workers, a first right of refusal to new jobs for city residents, and that the

    community be given access to affordable treatment. CORD canvassed the community gathering

    “input” from over 800 community members on the hospital’s cancer project. Not surprisingly,

    CORD reported that these community members wanted certain demands met before the

    hospital’s proposal was approved.

           269.    The Mayor of New Haven, John DeStefano Jr., who was publically backed by the

    SEIU for governor during this time, also impeded the approval of the cancer center as a means to

    force Y-NH into agreeing to Defendant NEHCEU’s unionization demands. DeStefano met with

    SEIU members and union surrogates, including the SEIU Health Care Division Director Larry

    Fox, 1199 spokesman William Meyerson, and Andrea van den Heever, the president of the

    Connecticut Center for a New Economy (an advocacy organization underwritten by the SEIU).

    These meetings were purportedly held to discuss the union’s possible “proposals for

    amendments” to the hospital’s plans. Immediately thereafter, DeStefano reiterated the union’s

    threats to Y-NH by publically stating that he did not feel “optimistic” the project would happen

    unless the parties found common ground. In the end, DeStafano shamelessly used his political

    position to aid the Union in delaying the project for over eighteen months, a delay that was

    estimated to add another $1.5 million each month to Y-NH’s construction costs. The project was

    only approved and allowed to begin once Y-NH capitulated to the public pressure created by

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    Defendant NEHCEU’s corporate campaign assault, and ceded to the Union’s organization

    demands.

           270.    Defendant NEHCEU, through some or all of the conduct described above,

    engaged in acts or threats involving extortion and/or attempted extortion chargeable under State

    law and punishable by imprisonment for more than one year, at least including, but not limited

    to, Conn. Gen. Stat. Ann. § 53a-48, -119, -122(a).

                   3.      Iroquois Nursing Homes

           271.    In or around March 2008, Defendant UHWE won an election at Iroquois Nursing

    Homes, a skilled nursing facility in upstate New York. When the negotiations for an initial

    collective bargaining agreement did not proceed to the union’s liking, it launched a corporate

    campaign against a third party, Community General Hospital, a hospital located in Syracuse,

    New York, with the intent to cause Community to bring pressure on Iroquois during the

    negotiation process.

           272.    In September 2008, members of UHWE picketed the home of Tom Quinn,

    President and CEO of Community General Hospital. UHWE did so to exert pressure over Mr.

    Quinn so that he would assert his influence over one of his employees who also served on the

    Board of Iroquois Nursing Home. Furthermore, Al Davidoff, SEIU Vice President, personally

    harassed Mr. Quinn by calling him and confronting him face to face. When Mr. Quinn informed

    Mr. Davidoff that Community did not view Board members at Iroquois as puppets of

    Community’s administration and that he would not succumb to the union’s tactics, Mr. Davidoff

    threatened that the union would continue to publically disparage Community General Hospital,

    until Mr. Quinn capitulated and exerted his influence over the Iroquois Board.

           273.    Defendant UHWE through some or all of the conduct described above, engaged

    in acts or threats involving extortion and/or attempted extortion chargeable under State law and

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    punishable by imprisonment for more than one year, at least including, but not limited to, N.Y.

    Pen. Law. § 155.05(e).

                   4.      Other Examples

           274.    These and other examples demonstrate that the campaign against Plaintiffs is not

    an anomaly; rather, the extortionate tactics used are the Defendants’ ordinary and regular means

    of conducting unionization drives and contract negotiations.

           275.    Likewise, the concerted sabotage and vandalism carried out at the HealthBridge

    Connecticut facilities is typical of the Unions’ regular way of doing business designed to extort

    employers in the course of strikes.

           276.    For example, in March 2001, in an effort to extort collective bargaining

    concessions from ten Connecticut healthcare facilities unrelated to Plaintiffs, members of

    Defendant NEHCEU purportedly committed numerous criminal acts prior to the arrival of

    replacement workers designed to endanger the patients and impede business operations at the

    striking facilities. These unlawful acts were documented in an April 10, 2001 report of the

    Connecticut Chief State’s Attorneys Office – Division of Criminal Justice entitled, “Nursing

    Home Strike Incidents,” which noted that these types of incidents are common during work

    actions at facilities of this nature.” (See Exhibit B at 9). These acts, which are strikingly similar

    to those perpetrated against patients in Plaintiffs’ HealthBridge Facilities in Connecticut in July

    2012, included:

           •       Patient wristbands were removed from 67 patients

           •       Patient photographs were removed from Kardex

           •       Damage to blood pressure cuffs

           •       The removal or theft of mechanical patients lift chains



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          •      The loosening of bolts to a mechanical patients lift resulting in its collapse while
                 being used to lift a patient

          •      Non-narcotic medications were found missing from a medcart on one of the wings

          •      Doors to offices and the oxygen storage room had super glue or its equivalent
                 injected into the lock mechanism

          •      A shower was smeared with feces

          •      The distribution of chocolates by a staff member to patients despite their dietary
                 restriction

          •      The pulling of a false fire alarm (a suspect was arrested)

          •      The theft of license plates from an employee’s car

          •      Patient name plates were switched

          •      The jamming of fax machines

          •      The loosening of a door jam and the removal of a hinge pin in a patient’s room

          •      Towels and face clothes that were thrown into a dumpster

          •      The puncture of inner seals of formula feeding bottles (with the outer seals being
                 replaced concealing the contamination)

          •      The use of an unsterile urethral catheter kit on a patient. The kit’s condition was
                 not discovered as punctures to it had been concealed. Multiple kits were found to
                 have been damaged in this manner

          •      Patient’s narcotics cards were put in disarray

          •      Johnny coats (hospital gowns) were tied in knots

          •      A supply room was ransacked and sprayed with shaving cream

          •      The temperature log which reflects daily temperature readings of water was
                 missing from the kitchen

          •      The thermostats were turned up in various patient rooms

          277.    Although law enforcement authorities determined that NEHCEU members

    perpetrated these heinous acts in the hours leading up to the 2001 strike, the individuals

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    responsible were not held accountable “due to the heavily politically charged environment as

    well as the fear and inability of patients to assist in the investigation.” (See Exhibit B at 9).

           278.    Prior to these incidents, in 1998, NEHCEU members purportedly engaged in

    similar heinous conduct in the hours leading up to another strike, again with the goal of seeking

    to extort substantial monetary concessions from the employers involved in this 1998 strike.

           279.    Moreover, Defendants’ unlawful tactics are consistent with the SEIU’s and its

    other affiliated locals’ regular way of doing business. For example, the SEIU and its affiliated

    locals have engaged in the following conduct:

           •       Launching a brutal smear campaign against Sodexo USA, utilizing a myriad of
                   tactics designed to harm the company including but not limited to: throwing
                   plastic roaches onto food at a high-profiled event catered by Sodexo; scaring
                   hospital patients by insinuating that Sodexo food contained bugs, rat droppings,
                   mold and flies; lying to interfere with Sodexo business and sneaking into
                   elementary schools to avoid security; violating lobbying laws to steer business
                   away from the company; and threatening Sodexo employees with public exposure
                   of alleged wrongdoing, all to force Sodexo to recognize the SEIU, to the
                   exclusion of other unions, without a secret-ballot election. Sodexo filed a RICO
                   action against the SEIU in March 2011 (1:2011cv00276) and the matter settled in
                   September 2011 following the denial of the SEIU’s motion to dismiss.

           •       Threatening criminal charges against Prime Healthcare Services’ senior
                   executives unless they agreed to the SEIU’s contract demands, and, after Prime
                   refused, the SEIU made numerous false public claims about the safety of Prime’s
                   facilities.

           •       Attempting to divert customers from Beverly Enterprises by publishing false
                   reports about workers tying nursing home patients to their beds and allowing them
                   to remain in their own urine and excrement for hours, all because Beverly did not
                   accede to the SEIU’s unionization demands.

           •       Attempting to strong-arm Executive Management Services, Inc. (“EMS”) into
                   signing a neutrality agreement and telling EMS’s Chief Executive Officer, “[w]e
                   enjoy conversation, but we embrace confrontation. We are going to attack you,
                   your employees, and your customers in the next 90 days.”

           •       Attempting to force the unionization of the employees of Sutter Health in
                   Northern California through numerous tactics including blocking development
                   projects, calling on the state to revoke its tax-exempt status, and urging donors to
                   stop contributing to the organization.

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         •     Launching a smear campaign in numerous cities (including New Haven) against
               Aramark, disseminating falsehoods that the company does not practice safe food
               distribution as part of the SEIU’s effort to obtain a card-check neutrality
               agreement and gain union recognition.

         •     Organizing a rally and press conference to release a report misrepresenting the
               workforce of the Enloe Medical Center outside the office of the investment firm
               owned by the vice chair of Enloe’s board of trustees as a ploy during a disputed
               the SEIU election.

         •     Launching a smear campaign against the Catholic Healthcare Partners (“CHP”) in
               which the SEIU disseminated publications with misrepresentations about the
               hospitals’ financial arrangements for the uninsured and questioned CHP’s
               charitable purpose to advance the SEIU’s goal of unionizing CHP workers.

         •     Launching a smear campaign against the non-profit healthcare system, Advocate
               Health Care, disseminating falsehoods that Advocate overcharges the uninsured
               and harasses patients who cannot pay with the goal of organizing Advocate’s
               healthcare workers.

         •     Launching a smear campaign against Tenet Healthcare Corp.; distributing
               publications that questioned Tenet’s patient safety and nurse staffing levels; and
               exerting political influence over California regulators and lawmakers leading to
               scrutiny that Tenet effectively gouged Medicare and charged excessive hospital
               rates.

         •     Disseminating a report disparaging the quality of patient care at Genesis Health
               Ventures Inc. (“GHV”) in an effort to damage the reputation and stock value of
               GHV that GHV would unilaterally allow the SEIU to unionize all of its facilities
               unopposed.

         •     Launching a smear campaign against healthcare provider Vencor, Inc. to
               influence insurers and investors to turn against the company and force Vencor out
               of California. After initially claiming that the “Vencor/Hillhaven Family &
               Advocates Network” was established by “a group of family members” and was
               “not related to contract negotiations,” the SEIU later admitted that the network
               was created as an economic weapon to achieve their bargaining goals in labor
               negotiations with Vencor.

         •     Targeting equity buyout funds, including the Carlyle Group in a “Behind the
               Buyouts” smear campaign (www.behindthebuyouts.org) with the motive of
               winning union representation at Plaintiffs partly or fully owned by the equity
               firms. Union members wearing business suits busted into a conference at
               Manhattan’s Waldorf-Astoria Hotel, where the Carlyle Group’s co- founder was
               giving a speech, holding up a sign “Why does he pay taxes at a lower rate than the
               hotel’s doorman?” One Halloween, union members wore masks in the likeness of
               the Carlyle Group’s co-founder and paraded in front of Carlyle offices handing
               out Sugar Daddy candy bars.
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           •       Launching a campaign of extortionate assaults against Prime Healthcare Services,
                   Inc. (“Prime”), a California-based hospital management company, targeting
                   Prime’s relationships with its patients, business partners, future business partners,
                   and the core of Prime’s business, and offering to stop these activities only if
                   Prime agrees to the SEIU’s and its affiliated local’s forced unionization demands.
                   This conduct is recounted more fully in a lawsuit recently filed by Prime in the
                   United States District Court for the Northern District of California, and captioned,
                   Prime Healthcare Services, Inc. v. Service Employees International Union et al.,
                   Case No. 3:14-cv-3831 (N.D. Cal. filed Aug. 25, 2014).

           G.      The Effects of the Defendants’ Illegal Campaign

           280.    Defendants’ corporate campaign onslaught has caused Plaintiffs to suffer

    significant financial harm. In addition to the pecuniary losses described above, Plaintiffs have

    suffered millions of dollars in lost or reduced business generally and lost potential new business

    opportunities. In this regard, an untold number of prospective patients have declined to enter

    Plaintiffs’ facilities as a result of Defendants’ sensational corporate campaign attacks. Plaintiffs

    have additionally incurred millions of dollars in time, person-hours and other administrative

    expenses in defending against Defendants’ unlawful attacks.           As alleged throughout the

    Amended Complaint, Defendants have desired to cause Plaintiffs precisely these types of

    devastating business losses.

           281.    The severe economic harm Plaintiffs have suffered, unfortunately, is not the only

    fallout from Defendants’ illegal conduct. In already difficult economic times, particularly in the

    elder care industry, continued attacks by the Defendants have interfered with Plaintiffs’

    relationships with their patients. These attacks are also likely to lead to unprofitable facilities

    that may be forced to close, layoffs of union and non-union employees, and additional monetary

    losses for the owners of the Plaintiffs.

           282.    Worst of all, there is no end in sight to Defendants’ campaign against Plaintiffs.

    In fact, in accordance with the Manual’s emphasis on constant escalation of activity, the



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    campaign grows bigger and more obtrusive by the day. It will not stop until the Courts or law

    enforcement officials compel an end to it.

           283.    Even acceding to Defendants’ current demands would not end the pattern of

    extortionate behavior. Plaintiffs manage numerous non-union facilities in several states. It will

    take the Defendants many years of sustained effort to unionize them all. Even then, collective

    bargaining agreements are not static, and, in each round of contract negotiations, whether they

    occur when a contract expires or simply when Defendants’ demand change, Defendants will

    bring the same extortionate conduct to bear on Plaintiffs and Daniel Straus.       The cycle of

    extortion will continue indefinitely.

           284.    Although the NEHCHU currently represents some workers in Connecticut in five

    currently operating facilities managed by HealthBridge, these union employees represent a very

    small fraction of the total number of employees who work at Plaintiffs’ facilities. Defendants

    have no legal right to engage in collective bargaining with, or make demands of the Plaintiffs on

    behalf of the non-union employees in Plaintiff’s facilities.

           285.    Nonetheless, Defendants’ extortionate corporate campaign will continue until the

    Plaintiffs accept their demands and accord recognition to each of the Defendants in this case or,

    as Defendants hope, Plaintiffs are driven out of business.

           286.    And even if Defendants succeed in driving Plaintiffs out of business, Defendants’

    conduct will still continue. Consistent with their regular way of doing business and their own

    internal e-mails, Defendants will simply turn their attention to another employer and use the

    example of what happened to Plaintiffs “as a signal to other employers who may want to take us

    on.”




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                                     FIRST CAUSE OF ACTION
                  Violation of 18 U.S.C. § 1962(d) by Conspiring to Violate § 1962(a)
                                      (Against Each Defendant)

           287.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

           288.    Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).

           289.    Each of the Defendants is a “person” under 18 U.S.C. § 1961(3).

           290.    The 1199 Enterprise is an “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(a). The 1199 Enterprise was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

           291.    The UHWE Pension Enterprise is another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(a). The UHWE Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           292.    The NEHCEU Pension Enterprise is another “enterprise” within the meaning of

    18 U.S.C. §§ 1961(4) and 1962(a). The NEHCEU Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           293.    The UHWE Pension Plan is an “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(a). The UHWE Pension Plan was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

           294.    The NEHCEU Pension Plan is an “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(a). The NEHCEU Pension Plan was engaged in activities affecting interstate

    and foreign commerce at all times relevant to this Complaint.

           295.    Defendant UHWE is an “enterprise” within the meaning of meaning of 18 U.S.C.

    §§ 1961(4) and 1962(a). Defendant UHWE was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

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           296.    Defendant NEHCEU is an “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(a). The NEHCEU Pension Plan was engaged in activities affecting interstate

    and foreign commerce at all times relevant to this Complaint.

           297.    Each of the Defendants conspired among themselves and/or with one or more

    Non-Party Participants or other co-conspirators within the meaning of 18 U.S.C. § 1962(d) to

    violate 18 U.S.C. § 1962(a). Specifically, each of the Defendants, and/or each of the Defendants

    with one or more Co-Conspirators, agreed and intended, and/or adopted the goal of furthering or

    facilitating, the following endeavor(s): that income, in the form of employer payments, union

    dues, pension and training fund contributions, unwanted or superfluous labor, and other

    payments and financial concessions, would be received by Defendants; such income would be

    derived from a pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5). An object of

    Defendants’ conspiracy to violate 18 U.S.C. §1962(a) was and is that the income described

    herein, or the proceeds of such income, would thereafter be used and invested in the operation of

    the aforementioned enterprises for numerous legitimate and illegitimate purposes including, inter

    alia, the conduct of additional extortionate corporate campaigns against Plaintiffs and other

    employers, the payment of salaries and fees to co-conspirators for their participation in the

    corporate campaign against Plaintiffs described herein, and the ongoing operation of the

    enterprises described above.

           298.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    result in the obtaining by Defendants of Plaintiffs’ property rights described above, at least

    including, but not limited to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a);



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    Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the

    foregoing statutes are punishable by imprisonment for more than one year.

           299.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343.        As set out more fully above, Defendants have engaged in a

    coordinated scheme to disseminate false, fraudulent, and misleading information about Plaintiffs

    to a large number of recipients. Defendants have engaged in this scheme with the specific intent

    to defraud – specifically, to deceive the community, patients, prospective patients, and their

    family members into thinking that the facilities managed by Plaintiffs are unsafe and/or run

    improperly so that Plaintiffs will lose money and be forced to accede to the Defendants’

    extortionate demands. Moreover, Defendants have disseminated these false and misleading

    communications through the wires (for example, by facsimile, by e-mail, over the Internet, and

    over the radio) and via U.S. mail.

           300.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, Defendants have: (i) travelled in interstate commerce, and used the

    mails and other facilities in interstate commerce; (ii) with the intention of promoting, managing,

    establishing, carrying on, or facilitate the promotion, management, establishment or carrying on

    their unlawful activity within the meaning of 18 U.S.C. § 1952; and (iii) have performed or

    attempted to perform one or more additional acts in furtherance of this unlawful activity. This

    unlawful activity includes extortion and attempted extortion in violation of Conn. Gen. Stat.

    Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5,

    2C:5-1.



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           301.    Defendants’ activities described herein have obstructed, delayed, or otherwise

    affected commerce.

           302.    As a direct result of Defendants’ racketeering activity and/or otherwise wrongful

    or unlawful acts undertaken in furtherance of Defendants’ unlawful conspiracy described herein,

    the Plaintiffs have suffered substantial injury to their business or property within the meaning of

    18 U.S.C. § 1964(c), including, but not limited to: (i) lost revenue from patients leaving the

    Plaintiffs’ facilities and prospective patients being dissuaded from joining the Plaintiffs’

    facilities, and (ii) the costs in time, person-hours and other administrative expense because of

    Defendants’ unlawful attacks described herein.

                                    SECOND CAUSE OF ACTION
                  Violation of 18 U.S.C. § 1962(d) by Conspiring to Violate § 1962(b)
                                       (Against Each Defendant)

           303.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

           304.    Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).

           305.    Each of the Defendants is a “person” under 18 U.S.C. § 1961(3).

           306.    Plaintiffs are each an “enterprise” within the meaning of 18 U.S.C. §§ 1961(4)

    and 1962(b). Each was engaged in activities affecting interstate commerce at all times relevant

    to this Complaint.

           307.    Each of the Defendants conspired among themselves and/or with one or more

    Non-Party Participants or other co-conspirators within the meaning of 18 U.S.C. § 1962(d) to

    violate 18 U.S.C. § 1962(b). Specifically, each of the Defendants agreed and intended, and/or

    adopted the goal of furthering or facilitating, the following endeavor: to acquire or maintain,

    directly or indirectly, an interest in or control of Plaintiffs through a pattern of racketeering

    activity under 18 U.S.C. § 1961(1) and (5).

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           308.      The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    result in the obtaining by Defendants of Plaintiffs’ property rights described above, at least

    including, but not limited to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a);

    Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the

    foregoing statutes are punishable by imprisonment for more than one year.

           309.      The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343.        As set out more fully above, Defendants have engaged in a

    coordinated scheme to disseminate false, fraudulent, and misleading information about Plaintiffs

    to a large number of recipients. Defendants have engaged in this scheme with the specific intent

    to defraud – specifically, to deceive the community, patients, prospective patients, and their

    family members into thinking that the facilities managed by Plaintiffs are unsafe and/or run

    improperly so that Plaintiffs will lose money and be forced to accede to Defendants’ extortionate

    demands. Moreover, Defendants have disseminated these false and misleading communications

    through the wires (for example, by facsimile, by e-mail, over the Internet, and over the radio) and

    via U.S. mail.

           310.      The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, Defendants have: (i) travelled in interstate commerce, and used the

    mails and other facilities in interstate commerce; (ii) with the intention of promoting, managing,

    establishing, carrying on, or facilitate the promotion, management, establishment or carrying on

    their unlawful activity within the meaning of 18 U.S.C. § 1952; and (iii) have performed or

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    attempted to perform one or more additional acts in furtherance of this unlawful activity. This

    unlawful activity includes extortion and attempted extortion in violation of Conn. Gen. Stat.

    Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5,

    2C:5-1.

           311.    Defendants’ activities described herein have obstructed, delayed, or otherwise

    affected commerce.

           312.    As a direct result of Defendants’ racketeering activity and/or otherwise wrongful

    or unlawful acts undertaken in furtherance of Defendants’ unlawful conspiracy described herein,

    Plaintiffs have suffered substantial injury to their business or property within the meaning of 18

    U.S.C. § 1964(c), including, but not limited to: (i) lost revenue from patients leaving the

    Plaintiffs’ facilities and prospective patients being dissuaded from joining the Plaintiffs’

    facilities, and (ii) the costs in time, person-hours and other administrative expense because of

    Defendants’ unlawful attacks described herein.

                                     THIRD CAUSE OF ACTION
                                     Violation of 18 U.S.C. § 1962(c)
                                    (Against UHWE and NEHCEU)

           313.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

           314.    Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).

           315.    Defendants UHWE and NEHCEU are each a “person” under 18 U.S.C. § 1961(3).

           316.    The SEIU is an “enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and

    1962(c). The SEIU was engaged in activities affecting interstate and foreign commerce at all

    times relevant to this Complaint.




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           317.    The 1199 Enterprise is another “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(c). The 1199 Enterprise was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

           318.    The UHWE Pension Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           319.    The NEHCEU Pension Enterprise is yet another “enterprise” within the meaning

    of 18 U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Enterprise was engaged in

    activities affecting interstate and foreign commerce at all times relevant to this Complaint.

           320.    The UHWE Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           321.    The NEHCEU Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). NEHCEU Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           322.    The Care One Watch Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§1961(4) and 1962(c). The Care One Watch Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           323.    UHWE and NEHCEU were each and are associated with the SEIU, and each has

    conducted or participated, directly or indirectly, in the management and operation of the affairs

    of the SEIU in relation to the Plaintiffs through a pattern of racketeering activity under 18 U.S.C.

    § 1961(1) and (5).

           324.    UHWE and NEHCEU also were each and are associated with the 1199

    Enterprise, and each has conducted or participated, directly or indirectly, in the management and

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    operation of the affairs of the 1199 Enterprise in relation to the Plaintiffs through a pattern of

    racketeering activity under 18 U.S.C. § 1961(1) and (5).

           325.    UHWE and NEHCEU, or at least Defendant UHWE, was and is associated with

    the UHWE Pension Enterprise and/or the UHWE Pension Plan and has conducted or

    participated, directly or indirectly, in the management and operation of the affairs of the UHWE

    Pension Enterprise and/or the UHWE Pension Plan in relation to the Plaintiffs through a pattern

    of racketeering activity under 18 U.S.C. § 1961(1) and (5).

           326.    UHWE and NEHCEU, or at least Defendant NEHCEU, was and is associated

    with the NEHCEU Pension Enterprise an/or the NEHCEU Pension Plan, and has conducted or

    participated, directly or indirectly, in the management and operation of the affairs of the

    NEHCEU Pension Enterprise and/or the NEHCEU Pension Plan in relation to the Plaintiffs

    through a pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5).

           327.    UHWE and NEHCEU were each and are associated with the Care One Watch

    Enterprise and have conducted or participated, directly or indirectly, in the management and

    operation of the affairs of the Care One Watch Enterprise in relation to Plaintiffs through a

    pattern of racketeering activity under 18 U.S.C. §1961(1) and (5).

           328.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    have resulted in obtaining the property rights described above, at least including, but not limited

    to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 §

    25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the foregoing statutes are

    punishable by imprisonment for more than one year.



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           329.     The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343. As set out more fully above, UHWE and NEHCEU have engaged in a

    coordinated scheme to disseminate false, fraudulent, and misleading information about Plaintiffs

    to a large number of recipients. UHWE and NEHCEU have engaged in this scheme with the

    specific intent to defraud – specifically, to deceive the community, patients, prospective patients,

    and their family members into thinking that the facilities managed by Plaintiffs are unsafe and/or

    run improperly so that Plaintiffs will lose money and be forced to accede to the Defendants’

    demands.      Moreover, UHWE and NEHCEU have disseminated these false and misleading

    communications through the wires (for example, by facsimile, by e-mail, over the Internet, and

    over the radio) and via U.S. mail.

           330.     The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, NEHCEU and UHWE have: (i) travelled in interstate commerce,

    and used the mails and other facilities in interstate commerce; (ii) with the intention of

    promoting, managing, establishing, carrying on, or facilitate the promotion, management,

    establishment or carrying on their unlawful activity within the meaning of 18 U.S.C. § 1952; and

    (iii) have performed or attempted to perform one or more additional acts in furtherance of this

    unlawful activity. This unlawful activity includes extortion and attempted extortion in violation

    of Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J.

    Stat. Ann. §§ 2C:20-5, 2C:5-1.

           331.     UHWE’s and NEHCEU’s activities described herein have obstructed, delayed, or

    otherwise affected commerce.



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            332.     As a direct result of UHWE’s and NEHCEU’s violation of 18 U.S.C. § 1962(c),

    the Plaintiffs have suffered substantial injury to their business or property within the meaning of

    18 U.S.C. § 1964(c), including, but not limited to: (i) lost revenue from patients leaving the

    Plaintiffs’    facilities and prospective patients being dissuaded from joining the Plaintiffs’

    facilities, and (ii) the costs in time, person-hours and other administrative expense because of

    UHWE’s and NEHCEU’s unlawful attacks described herein.

                                     FOURTH CAUSE OF ACTION
                                     Violation of 18 U.S.C. § 1962(c)
                                             (Against SEIU)

            333.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

            334.     Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).

            335.     Defendant SEIU is a “person” under 18 U.S.C. § 1961(3).

            336.     UHWE and NEHCEU are each an “enterprise” within the meaning of 18 U.S.C.

    §§ 1961(4) and 1962(c).       UHWE and NEHCEU were both engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

            337.     The 1199 Enterprise is another “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(c). The 1199 Enterprise was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

            338.     The UHWE Pension Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

            339.     The NEHCEU Pension Enterprise is yet another “enterprise” within the meaning

    of 18 U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Enterprise was engaged in

    activities affecting interstate and foreign commerce at all times relevant to this Complaint.

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           340.    The UHWE Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           341.    The NEHCEU Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). NEHCEU Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           342.    The Care One Watch Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§1961(4) and 1962(c). The Care One Watch Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           343.    The SEIU was and is associated with both the UHWE and NEHCEU, and the

    SEIU has conducted or participated, directly or indirectly, in the management and operation of

    the affairs of both the UHWE and the NEHCEU in relation to the Plaintiffs through a pattern of

    racketeering activity under 18 U.S.C. § 1961(1) and (5).

           344.    The SEIU also was and is associated with the 1199 Enterprise, and each has

    conducted or participated, directly or indirectly, in the management and operation of the affairs

    of the 1199 Enterprise in relation to the Plaintiffs through a pattern of racketeering activity under

    18 U.S.C. § 1961(1) and (5).

           345.    The SEIU was and is associated with the UHWE Pension Enterprise and/or the

    UHWE Pension Plan and has conducted or participated, directly or indirectly, in the management

    and operation of the affairs of the UHWE Pension Enterprise and/or the UHWE Pension Plan in

    relation to the Plaintiffs through a pattern of racketeering activity under 18 U.S.C. § 1961(1) and

    (5).

           346.    The SEIU was and is associated with the NEHCEU Pension Enterprise an/or the

    NEHCEU Pension Plan, and has conducted or participated, directly or indirectly, in the

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    management and operation of the affairs of the NEHCEU Pension Enterprise and/or the

    NEHCEU Pension Plan in relation to the Plaintiffs through a pattern of racketeering activity

    under 18 U.S.C. § 1961(1) and (5).

           347.    The SEIU was and is associated with the Care One Watch Enterprise and has

    conducted or participated, directly or indirectly, in the management and operation of the affairs

    of the Care One Watch Enterprise in relation to Plaintiffs through a pattern of racketeering

    activity under 18 U.S.C. §1961(1) and (5).

           348.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    have resulted in obtaining the property rights described above, at least including, but not limited

    to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 §

    25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the foregoing statutes are

    punishable by imprisonment for more than one year.

           349.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343. As set out more fully above, the SEIU has engaged in a coordinated

    scheme to disseminate false, fraudulent, and misleading information about Plaintiffs to a large

    number of recipients. The SEIU has engaged in this scheme with the specific intent to defraud –

    specifically, to deceive the community, patients, prospective patients, and their family members

    into thinking that the facilities managed by Plaintiffs are unsafe and/or run improperly so that

    Plaintiffs will lose money and be forced to accede to the Defendants’ demands. Moreover, the

    SEIU has disseminated these false and misleading communications through the wires (for

    example, by facsimile, by e-mail, over the Internet, and over the radio) and via U.S. mail.

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           350.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, the SEIU has: (i) travelled in interstate commerce, and used the

    mails and other facilities in interstate commerce; (ii) with the intention of promoting, managing,

    establishing, carrying on, or facilitate the promotion, management, establishment or carrying on

    their unlawful activity within the meaning of 18 U.S.C. § 1952; and (iii) has performed or

    attempted to perform one or more additional acts in furtherance of this unlawful activity. This

    unlawful activity includes extortion and attempted extortion in violation of Conn. Gen. Stat.

    Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5,

    2C:5-1.

           351.    The SEIU’s activities described herein have obstructed, delayed, or otherwise

    affected commerce.

           352.    As a direct result of the SEIU’s violation of 18 U.S.C. § 1962(c), the Plaintiffs

    have suffered substantial injury to their business or property within the meaning of 18 U.S.C. §

    1964(c), including, but not limited to: (i) lost revenue from patients leaving the Plaintiffs’

    facilities and prospective patients being dissuaded from joining the Plaintiffs’ facilities, and (ii)

    the costs in time, person-hours and other administrative expense because of the SEIU’s unlawful

    attacks described herein.


                                     FIFTH CAUSE OF ACTION
                  Violation of 18 U.S.C. § 1962(d) by Conspiring to Violate § 1962(c)
                                   (Against UHWE and NEHCEU)

           353.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

           354.    Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).


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           355.    Defendants UHWE and NEHCEU are each                 a “person” under 18 U.S.C. §

    1961(3).

           356.    The SEIU is an “enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and

    1962(c).   The SEIU was engaged in activities affecting interstate and foreign commerce at all

    times relevant to this Complaint.

           357.    The 1199 Enterprise is another “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(c). The 1199 Enterprise was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

           358.    The UHWE Pension Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           359.    The NEHCEU Pension Enterprise is yet another “enterprise” within the meaning

    of 18 U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Enterprise was engaged in

    activities affecting interstate and foreign commerce at all times relevant to this Complaint.

           360.    The UHWE Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           361.    The NEHCEU Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           362.    The Care One Watch Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§1961(4) and 1962(c). The Care One Watch Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.



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           363.    UHWE and NEHCEU each conspired among themselves and/or with one or more

    of the Non-Party Participants or other co-conspirators, within the meaning of 18 U.S.C. §

    1962(d) to violate 18 U.S.C. § 1962(c), by agreeing, intending, and/or adopting the goal of

    furthering or facilitating, the following endeavor(s):      to conduct or participate, directly or

    indirectly, in the management and operation of the affairs of the SEIU in relation to the Plaintiffs

    through a pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5).

           364.    UHWE and NEHCEU each conspired among themselves and/or with one or more

    of the Non-Party Participants or other co-conspirators, within the meaning of 18 U.S.C. §

    1962(d) to violate 18 U.S.C. § 1962(c). Specifically, UHWE and NEHCEU each agreed and

    intended, and/or adopted the goal of furthering or facilitating, the following endeavor: to conduct

    or participate, directly or indirectly, in the management and operation of the affairs of the 1199

    Enterprise in relation to the Plaintiffs through a pattern of racketeering activity under 18 U.S.C. §

    1961(1) and (5).

           365.    The UHWE and NEHCEU, or at least Defendant UHWE, conspired with the

    other and/or with one or more of the Non-Party Participants or other co-conspirators, within the

    meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c). Specifically, UHWE and

    NEHCEU, or at least Defendant UHWE, agreed and intended, and/or adopted the goal of

    furthering or facilitating, the following endeavor: to conduct or participate, directly or indirectly,

    in the management and operation of the affairs of the UHWE Pension Enterprise and/or the

    UHWE Pension Plan in relation to the Plaintiffs through a pattern of racketeering activity 18

    U.S.C. § 1961(1) and (5).

           366.    UHWE and NEHCEU, or at least Defendant NEHCEU, conspired with the other

    and/or with one or more of the Non-Party Participants or other co-conspirators, within the

    meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c). Specifically, UHWE and

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    NEHCEU, or at least Defendant NEHCEU, agreed and intended, and/or adopted the goal of

    furthering or facilitating, the following endeavor: to conduct or participate, directly or indirectly,

    in the management and operation of the affairs of the NEHCEU Pension Enterprise and/or the

    NEHCEU Pension Plan in relation to the Plaintiffs through a pattern of racketeering activity 18

    U.S.C. § 1961(1) and (5).

           367.    The UHWE and NEHCEU conspired among themselves and/or with one or more

    of the Non-Party Participants or other co-conspirators, within the meaning of 18 U.S.C. §1962(d)

    to violate 18 U.S.C. §1962(c). Specifically, UHWE and NEHCEU agreed and intended, and/or

    adopted the goal of furthering or facilitating, the following endeavor: to conduct or participate,

    directly or indirectly, in the management and operation of the affairs of the Care One Watch

    Enterprise in relation to the Plaintiffs through a pattern of racketeering activity under 18 U.S.C. §

    1961(1) and (5).

           368.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    have resulted in obtaining the property rights described above, at least including, but not limited

    to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 §

    25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the foregoing statutes are

    punishable by imprisonment for more than one year.

           369.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343. As set out more fully above, UHWE and NEHCEU have engaged in a

    coordinated scheme to disseminate false, fraudulent, and misleading information about Plaintiffs

    to a large number of recipients. UHWE and NEHCEU have engaged in this scheme with the

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    specific intent to defraud – specifically, to deceive the community, patients, prospective patients,

    and their family members into thinking that the facilities managed by Plaintiffs are unsafe and/or

    run improperly so that Plaintiffs will lose money and be forced to accede to Defendants’

    demands.      Moreover, UHWE and NEHCEU have disseminated these false and misleading

    communications through the wires (for example, by facsimile, by e-mail, over the Internet, and

    over the radio) and via U.S. mail.

           370.     The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, UHWE and NEHCEU have: (i) travelled in interstate commerce,

    and used the mails and other facilities in interstate commerce; (ii) with the intention of

    promoting, managing, establishing, carrying on, or facilitate the promotion, management,

    establishment or carrying on their unlawful activity within the meaning of 18 U.S.C. § 1952; and

    (iii) have performed or attempted to perform one or more additional acts in furtherance of this

    unlawful activity. This unlawful activity includes extortion and attempted extortion in violation

    of Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J.

    Stat. Ann. §§ 2C:20-5, 2C:5-1.

           371.     UHWE’s and NEHCEU’s activities described herein have obstructed, delayed, or

    otherwise affected commerce.

           372.     As a direct result of UHWE’s and NEHCEU’s             racketeering activity and/or

    otherwise wrongful or unlawful acts undertaken in furtherance of UHWE’s and NEHCEU’s

    unlawful conspiracy described herein, Plaintiffs have suffered substantial injury to their business

    or property within the meaning of 18 U.S.C. § 1964(c), including, but not limited to: (i) lost

    revenue from patients leaving the Plaintiffs’ facilities and prospective patients being dissuaded



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    from joining the Plaintiffs’     facilities, and (ii) the costs in time, person-hours and other

    administrative expense because of UHWE’s and NEHCEU’s unlawful attacks described herein.

                                     SIXTH CAUSE OF ACTION
                  Violation of 18 U.S.C. § 1962(d) by Conspiring to Violate § 1962(c)
                                            (Against SEIU)

           373.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

           374.    Each of the Plaintiffs is a “person” under 18 U.S.C. § 1961(3).

           375.    Defendants SEIU is a “person” under 18 U.S.C. § 1961(3).

           376.    UHWE and NEHCEU are each an “enterprise” within the meaning of 18 U.S.C.

    §§ 1961(4) and 1962(c). UHWE and NEHCEU were both was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           377.    The 1199 Enterprise is another “enterprise” within the meaning of 18 U.S.C. §§

    1961(4) and 1962(c). The 1199 Enterprise was engaged in activities affecting interstate and

    foreign commerce at all times relevant to this Complaint.

           378.    The UHWE Pension Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           379.    The NEHCEU Pension Enterprise is yet another “enterprise” within the meaning

    of 18 U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Enterprise was engaged in

    activities affecting interstate and foreign commerce at all times relevant to this Complaint.

           380.    The UHWE Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The UHWE Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.



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           381.    The NEHCEU Pension Plan is yet another “enterprise” within the meaning of 18

    U.S.C. §§ 1961(4) and 1962(c). The NEHCEU Pension Plan was engaged in activities affecting

    interstate and foreign commerce at all times relevant to this Complaint.

           382.    The Care One Watch Enterprise is yet another “enterprise” within the meaning of

    18 U.S.C. §§1961(4) and 1962(c). The Care One Watch Enterprise was engaged in activities

    affecting interstate and foreign commerce at all times relevant to this Complaint.

           383.    The SEIU conspired with one or more of the Non-Party Participants or other co-

    conspirators, within the meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c), by

    agreeing, intending, and/or adopting the goal of furthering or facilitating, the following

    endeavor(s): to conduct or participate, directly or indirectly, in the management and operation of

    the affairs of the UHWE and NEHCEU in relation to the Plaintiffs through a pattern of

    racketeering activity under 18 U.S.C. § 1961(1) and (5).

           384.    The SEIU conspired with one or more of the Non-Party Participants or other co-

    conspirators, within the meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c).

    Specifically, the SEIU agreed and intended, and/or adopted the goal of furthering or facilitating,

    the following endeavor: to conduct or participate, directly or indirectly, in the management and

    operation of the affairs of the 1199 Enterprise in relation to the Plaintiffs through a pattern of

    racketeering activity under 18 U.S.C. § 1961(1) and (5).

           385.    The SEIU conspired with one or more of the Non-Party Participants or other co-

    conspirators, within the meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c).

    Specifically, the SEIU agreed and intended, and/or adopted the goal of furthering or facilitating,

    the following endeavor: to conduct or participate, directly or indirectly, in the management and

    operation of the affairs of the UHWE Pension Enterprise and/or the UHWE Pension Plan in

    relation to the Plaintiffs through a pattern of racketeering activity 18 U.S.C. § 1961(1) and (5).

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           386.    The SEIU conspired with one or more of the Non-Party Participants or other co-

    conspirators, within the meaning of 18 U.S.C. § 1962(d) to violate 18 U.S.C. § 1962(c).

    Specifically, the SEIU agreed and intended, and/or adopted the goal of furthering or facilitating,

    the following endeavor: to conduct or participate, directly or indirectly, in the management and

    operation of the affairs of the NEHCEU Pension Enterprise and/or the NEHCEU Pension Plan in

    relation to the Plaintiffs through a pattern of racketeering activity 18 U.S.C. § 1961(1) and (5).

           387.    The SEIU conspired with one or more of the Non-Party Participants or other co-

    conspirators, within the meaning of 18 U.S.C. §1962(d) to violate 18 U.S.C. §1962(c).

    Specifically, the SEIU agreed and intended, and/or adopted the goal of furthering or facilitating,

    the following endeavor: to conduct or participate, directly or indirectly, in the management and

    operation of the affairs of the Care One Watch Enterprise in relation to the Plaintiffs through a

    pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5).

           388.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) includes

    multiple, repeated, and continuous acts or threats involving extortion and/or attempted extortion,

    chargeable under the laws of each State in which Defendants’ conspiracy, if successful, would

    have resulted in obtaining the property rights described above, at least including, but not limited

    to, the following: Conn. Gen. Stat. Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 §

    25; and N.J. Stat. Ann. §§ 2C:20-5, 2C:5-1. Violations of each of the foregoing statutes are

    punishable by imprisonment for more than one year.

           389.    The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous acts of mail fraud and wire fraud, in violation of 18

    U.S.C. §§ 1341 and 1343. As set out more fully above, the SEIU has engaged in a coordinated

    scheme to disseminate false, fraudulent, and misleading information about Plaintiffs to a large

    number of recipients. The SEIU has engaged in this scheme with the specific intent to defraud –

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    specifically, to deceive the community, patients, prospective patients, and their family members

    into thinking that the facilities managed by Plaintiffs are unsafe and/or run improperly so that

    Plaintiffs will lose money and be forced to accede to Defendants’ demands, or else, be driven out

    of business. Moreover, the SEIU has disseminated these false and misleading communications

    through the wires (for example, by facsimile, by e-mail, over the Internet, and over the radio) and

    via U.S. mail.

           390.      The pattern of racketeering activity under 18 U.S.C. § 1961(1) and (5) also

    includes multiple, repeated, and continuous violations of the Travel Act, 18 U.S.C. § 1952. As

    discussed more fully above, the SEIU has: (i) travelled in interstate commerce, and used the

    mails and other facilities in interstate commerce; (ii) with the intention of promoting, managing,

    establishing, carrying on, or facilitate the promotion, management, establishment or carrying on

    their unlawful activity within the meaning of 18 U.S.C. § 1952; and (iii) have performed or

    attempted to perform one or more additional acts in furtherance of this unlawful activity. This

    unlawful activity includes extortion and attempted extortion in violation of Conn. Gen. Stat.

    Ann. §§ 53a-48, -119(5), -122(a); Mass. Gen. Laws ch. 265 § 25; and N.J. Stat. Ann. §§ 2C:20-5,

    2C:5-1.

           391.      The SEIU’s activities described herein have obstructed, delayed, or otherwise

    affected commerce.

           392.      As a direct result of the SEIU’s racketeering activity and/or otherwise wrongful or

    unlawful acts undertaken in furtherance of the SEIU’s unlawful conspiracy described herein,

    Plaintiffs have suffered substantial injury to their business or property within the meaning of 18

    U.S.C. § 1964(c), including, but not limited to: (i) lost revenue from patients leaving the

    Plaintiffs’ facilities and prospective patients being dissuaded from joining the Plaintiffs’



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    facilities, and (ii) the costs in time, person-hours and other administrative expense because of

    UHWE’s and NEHCEU’s unlawful attacks described herein.

                                      SEVENTH CAUSE OF ACTION
                                               Defamation
                                         (Against Each Defendant)

            393.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

            394.    As set forth above, Defendants have made, published, and/or caused to be

    published intentionally false statements tothe public, to current and prospective customers of

    Plaintiffs, to government agencies, and others, concerning the Plaintiffs, the facilities Plaintiffs

    manage, the quality of health care Plaintiffs provide, their billing practices, and other matters, all

    designed to interfere with customer’s relationships with the Plaintiffs, to deter potential

    customers from doing business with Plaintiff, and otherwise to harm Plaintiffs.

            395.    Defendants made, published, and/or caused to be published these intentionally

    false statements with actual malice. That is, Defendants knew the statements they made to be

    false, and/or made these statements with reckless disregard for their truth or falsity. Defendants

    did not enjoy any privilege to make these intentionally false statements.

            396.    As a result of Defendants’ conduct, the Plaintiffs have suffered damages,

    including but not limited to (i) lost revenue from patients leaving Plaintiffs’ facilities and

    prospective patients being dissuaded from joining the Plaintiffs’ facilities, (ii) reputational injury,

    and (iii) the costs in time, person-hours and other administrative expense because of Defendants’

    unlawful attacks described herein.

            397.    Defendants’ engaged in the foregoing practices willfully, wantonly, intentionally,

    and maliciously, for the express purpose of causing Plaintiffs the above losses.



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                                       EIGHTH CAUSE OF ACTION
                                               Trade Libel
                                         (Against Each Defendant)

            398.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

    preceding paragraphs as if fully set forth herein.

            399.    The Plaintiffs and the Defendants are engaged in the conduct of trade and/or

    commerce.

            400.    As set forth above, Defendants have made, published, and/or caused to be

    published intentionally false statements the public, to current and prospective customers of

    Plaintiffs, to government agencies, and others, concerning the Plaintiffs, the facilities Plaintiffs

    manage, the quality of health care Plaintiffs provide, their billing practices, and their overall

    business practices, all designed to interfere with customer’s relationships with the Plaintiffs, to

    deter potential customers from doing business with Plaintiff, and otherwise to harm Plaintiffs.

            401.    Defendants made, published, and/or caused to be published these intentionally

    false statements with actual malice. That is, Defendants knew the statements they made to be

    false, and/or made these statements with reckless disregard for their truth or falsity. Defendants

    did not enjoy any privilege to make these intentionally false statements.

            402.    As a result of Defendants’ conduct, the Plaintiffs have suffered damages,

    including but not limited to (i) lost revenue from patients leaving Plaintiffs’ facilities and

    prospective patients being dissuaded from joining the Plaintiffs’ facilities, (ii) reputational injury,

    and (iii) the costs in time, person-hours and other administrative expense because of Defendants’

    unlawful attacks described herein.

            403.    Defendants’ engaged in the foregoing practices willfully, wantonly, intentionally,

    and maliciously, for the express purpose of causing Plaintiffs the above losses.



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                                          PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for relief and judgment against all Defendants, jointly and

    severally, as follows:

             1.       Compensatory and consequential damages resulting from injury to Plaintiffs’

    business and property in the millions of dollars, as set forth above and to be further established at

    trial;

             2.       Treble the damages sustained by Plaintiffs as described above;

             3.       The costs of this suit (including reasonable attorneys’ fees) and post-judgment

    interest;

             4.       Exemplary and/or punitive damages under applicable State law for Defendants’

    intentional, willful, wanton, outrageous or malicious misconduct, characterized by their evil or

    rancorous motive, ill will and intent to injure Plaintiffs; or Defendants’ gross recklessness or

    gross negligence evincing a conscious disregard for Plaintiffs’ rights;

             5.       Equitable relief as might be appropriate pursuant to applicable law, including but

    not limited to enjoining Defendants from continuing their scheme to extort Plaintiffs as follows:

                      i.     Enjoining Defendants from continuing to interfere unlawfully with the

    Plaintiffs’ contractual and/or economic business relationships by wrongfully inducing the

    Plaintiffs’ patients to end and/or not renew their contractual and/or business relationships with

    the Plaintiffs;

                      ii.    Enjoining Defendants from continuing to make threats to harm the

    Plaintiffs unless and until Plaintiffs deliver to Defendants the property described herein;

                      iii.   Enjoining Defendants from engaging in independent violations of federal,

    state and local laws with regard to Plaintiffs’ business relations, including but not limited to the

    violations of the manner and type described in the Complaint;

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                      iv.    Imposing reasonable restrictions on the future activities and conduct of

    any of the Defendants; and

                      v.     Any other and further relief as the Court deems just and proper.

                                              JURY DEMAND

               Plaintiffs hereby demand a trial by jury for each and every one of the foregoing claims so

    triable.

                                                    Respectfully submitted,

                                                    K&L GATES LLP

                                                    One Newark Center, Tenth Floor
                                                    Newark, New Jersey 07102
                                                    Tel: (973) 848-4000
                                                    Fax: (973) 848-4001

                                                    Attorneys for Plaintiffs Care One Management,
                                                    LLC, HealthBridge Management, LLC, Care One,
                                                    LLC, and Care Realty, LLC

                                                    By: /s/ Rosemary Alito________
                                                          Rosemary Alito

                                                    CRITCHLEY, KINUM & VAZQUEZ, LLC

                                                    75 Livingston Avenue
                                                    Roseland, New Jersey 07068
                                                    (973) 422-9200

                                                    Attorneys for all other Plaintiffs

                                                    By: /s/ Michael Critchley_______
                                                          Michael Critchley


    Dated: June 16, 2015




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                             CERTIFICATION UNDER L. CIV. R. 11.2

           I certify that the matter in controversy is not the subject matter of any other action

    pending in any court or of any pending arbitration or administrative proceeding.

                                                 Respectfully submitted,

                                                 K&L GATES LLP

                                                 One Newark Center, Tenth Floor
                                                 Newark, New Jersey 07102
                                                 Tel: (973) 848-4000
                                                 Fax: (973) 848-4001

                                                 Attorneys for Plaintiffs Care One Management,
                                                 LLC, HealthBridge Management, LLC, Care One,
                                                 LLC, and Care Realty, LLC

                                                 By: /s/ Rosemary Alito________
                                                       Rosemary Alito

                                                 CRITCHLEY, KINUM & VAZQUEZ, LLC

                                                75 Livingston Avenue
                                                Roseland, New Jersey 07068
                                                (973) 422-9200

                                                 Attorneys for all other Plaintiffs

                                                 By: /s/ Michael Critchley_______
                                                       Michael Critchley


    Dated: June 16, 2015




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                               LOCAL RULE 201.1 CERTIFICATION

           I certify under penalty of perjury that the matter in controversy is not eligible for

    compulsory arbitration because the damages recoverable by Plaintiffs exceed the sum of

    $150,000, exclusive of interest and costs.

                                                 Respectfully submitted,

                                                 K&L GATES LLP

                                                 One Newark Center, Tenth Floor
                                                 Newark, New Jersey 07102
                                                 Tel: (973) 848-4000
                                                 Fax: (973) 848-4001

                                                 Attorneys for Plaintiffs Care One Management,
                                                 LLC, HealthBridge Management, LLC, Care One,
                                                 LLC, and Care Realty, LLC

                                                 By: /s/ Rosemary Alito________
                                                       Rosemary Alito

                                                 CRITCHLEY, KINUM & VAZQUEZ, LLC

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                                                 (973) 422-9200

                                                 Attorneys for all other Plaintiffs

                                                 By: /s/ Michael Critchley_______
                                                       Michael Critchley

    Dated: June 16, 2015




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